Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 1 of 184. PagelD #: 442

EXHIBIT C

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 2 of 184. PagelD #: 443

LOUISVILLE LEXINGTON LONDON  PLORENCE CCINCIRNATD INDIANAPOLIS ORLANIXNS JACKSONVILIT TAMIA

KENTUCKIANA

$< COURT REPORTERS

CASE NO. 21-61491
IN RE: SQUIRRELS RESEARCH LABS, LLC, ET AL.
CONFIDENTIAL
DEPONENT:

DAVID STANFILL

DATE:
April 13, 2022

gy schediildcchentuckianaceponersconr

AFT rebon

powerhouse

SS 877.808.5856 | A02,599,2978

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 3 of 184. PagelD #: 444

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF OHIO
CASE NO, 21-61491
CHAPTER 11
JOINTLY ADMINISTERED

JUDGE RUSS KENDIG

IN RE:
SQUIRRELS RESEARCH LABS, LLC, ET
AL. ,

Debtors

CONFIDENTIAL

DEPONENT: DAVID STANFILL
DATE : APRIL 13, 2022

REPORTER: TAYLOR VENEMAN

502.589.2273 Phone
5G2,584.0L19 Fax
schedute@kentuckianareporters.com

KENTUCKI ANA wow. kentuckianareporters.com

—— COURT REPORTERS

Keatuckiana Reporiers
P.O. Box 3983
Louisville, K¥ 40203

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 4 of 184. PagelD #: 445

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 2

APPEARANCES

ON BEHALF OF THE CREDITOR, CARL FORSELL:
Bryan J. Sisto, Esquire

Frost Brown Todd LLC

400 West Market Street

Suite 3200

Louisville, Kentucky 40202

Telephone No,: (502) 589-5400

E-mail: bsisto@fbtlaw.com

(Appeared via Videoconference}

ON BEHALF OF THE DEBTORS, SQUIRRELS RESHARCH LABS AND
MIDWEST DATA CENTERS LLC:

Marc Merklin, Esquire

Brouse McDowell LPA

388 South Main Street

Suite 500

Akron, Ohio 44311

Telephone No.: (330) 535-5711

E-mail: mmerklin@brouse.com

(Appeared via Videoconference)

502,589,2273 Phone
502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

— COURT REPORTERS ~~~

Kentickiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 5 of 184. PagelD #: 446

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

APPEARANCES (CONTINUED)

SUB CHAPTER 5 TRUSTEE:

Frederic P. Schwieg, Esquire
Frederic P. Schwieg, Attorney at haw
19885 Detroit Road

Suite 239

Rocky River, Ohio 44116

Telephone No.: (440) 499-4506
B-mail: fschwieg@schwieglaw.com

(Appeared via Videoconference)

Also Present: Carl Forsell, Creditor

Kentuckiana Reporters 502.589.2273 Phone

502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentackianareporters.com

+= COURT REPORTERS

PQ. Box 3983
Louisville, KY 40201
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 6 of 184. PagelD #: 447

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential
INDEX

Page
PROCEEDINGS 6
DIRECT BXAMINATION BY MR. SISTO 7

EXHIBITS

Exhibit Page
1 - Discord Statements 42

11 - SORL Assets 8-31-2021 Bid Final

2 - Invoice from Creditor (1 Page)

24 - Profit and Loss Statement 2018
25 - Profit and Loss Statement 2019
26 - Profit and Loss Statement 2020
40 - CHASE Bank Statement 1770

[ Will forward exhibits upon receipt ]

14 - Reconciliation Report **UNDER PROTECTIVE ORDER 51

61

102

162

113

123

141

Kentuckiana Reporters
P,G, Box 3983

Louisville, KY 40201 KENTUCKIANA

— COURT REPORTERS

402.589.2273 Phoue
502,584,0119 Fax
schedule@kentuckianareporters.com
www. kentuckianareporters.com

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 7 of 184. PagelD #: 448

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

STIPULATION

The Rule 2004 examination of DAVID STANFILL was taken at
KENTUCKIANA COURT REPORTERS, LLC, 730 WEST MAIN STREET,
SUITE 101, LOUISVILLE, KENTUCKY 40202, via
videoconference in which all participants attended
remotely, on WEDNESDAY the 13th day of APRIL 2022 at
approximately 9:35 a.m.; said deposition was taken
pursuant to the CHIO Rules of Civil Procedure. The oath
in this matter was administered remotely pursuant to

7/31/2020 administrative actions, 2020-OHIO-3861.

It is agreed that TAYLOR VENEMAN, being a Notary Public
and Court Reporter for the State of OHIO, may swear the
witness and that the reading and signing of the

completed transcript by the witness is not waived.

502,589,2273 Phone
502.584.0159 Fax
schedufe@kentuckianareporters.com

KENTUCKI ANA ww. kentucklanareporters.cant

men COURT REPORTERS.

Kentuckiana Reporters
P.O, Box 3983
Louisville, K'Y 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 8 of 184. PagelD #: 449

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 6

PROCEEDINGS

COURT REPORTER: Okay. We are on record, Will
all parties, except for the witness, please state
your appearance, how you're attending, and the
location you're attending from?

MR. MERKLIN: Sure. This is Marc Merklin with
the firm of Brouse McDowell. We're counsel for the
debtors in the chapter 11 proceedings. And I am
present in my office in Akron, Ohio.

MR. SISTO: Bryan Sisto here for Carl Forsell,
the creditor, in the case. I am in my office in
Louisville, Kentucky.

MR. SCHWIEG: Fred Schwieg. I'm the sub
chapter five trustee. I'm in my office in Rocky
River, Ohio.

COURT REPORTER: All right, thank you.

Mr. Stanfill, will you please state your name for
the record?

THE WITNESS: Yes. David Andrew Stanfill.

COURT REPORTER: ‘Thank you. And then like we
talked about off record, are all attorneys okay with
stipulating he is who he says he is?

MR. SISTO: Yes, ma'am.

MR, MERKLIN: Yes.

COURT REPORTER: All right.

502,589,2273 Phone
502.584.0819 Fax
schedale@kentuckianareporters.com

KENTUCKI ANA ww. kentucklanateporters.com

— COURT REPORTERS oo

Kentuckiana Reporters
P.Q. Box 3983
Lovisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 9 of 184. PagelD #: 450

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

MR. SCHWIEG: Yes.

COURT REPORTER: Thank you. Mr. Stanfill, will
you please raise your right hand? Do you solemnly
swear or affirm testimony you're about to give will
be the truth, the whole truth, and nothing but the
truth?

THE WITNESS: Yes.

COURT REPORTER: Thank you. Mr. Sisto, you may
begin.

DIRECT EXAMINATION

BY MR. SISTO:

Q I just wanted to mention briefly that
Mr. Forsell is also, I think, in kind of listen only
mode on the line but will not be participating in the
2004 claim. All right. Mr. Stanfill, my name is Bryan
Sisto. As you probably already know, I represent Carl
Forsell in the Squirrels Research Labs bankruptcy case.

You understand that?

A Yes.
Q And you are here today in your capacity as the
representative of the -- of the debtor, Squirrels

Research Labs. Is that right?
A That is correct.
Q Just -- just upfront, I think that it is -- it

might be tedious, because I think we'd rather use -~- we

502.589,2273 Phone
502.384.0119 Fax
schedule@kentuckianareparters.com

KENTUCKI ANA www, kentuckianareporters.com

w— COURE REFORTERS ~~

Kenluckiana Reporters
P.O. Box 3983
Louisville, KY 49201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 10 of 184. PagelD #: 451

The Deposition of DAVID STANFILD, taken on April 13, 2022
Confidential 8

like to use quicker language when we speak. But because
there is a Squirrels LLC we'll be talking about, as well
as Squirrels Research Labs, let's just use the full
names of both when we discuss them to keep the record
clear. Because if we say, "Squirrels," it could get
confusing. You know, or I guess you could say SQRL or -
- as long as it's clear that it's one or the other,
because ~~ and I need to remind myself this as much as
I'm asking you to remember it, too. Because obviously
if we just say, igquirrels," that could be confusing.
Does that -- does that make sense?

A ves. And if I accidentally forget that my
nomenclature will by default be that SQ refers to
Squirrels LLC and SORL refers to Squirrels Research
Labs, but I will attempt to use the full names.

Q That's fine with me. I know I'm -- because
you put that on the record, that's fine with me. And --
and, you know, if I slip into just saying, "Squirrels,"
or something like that, you know, remind me as well so
that, you know, that goes in both directions. We just
want to keep the record clear, because it could actually
get a little confusing. Mr. Stanfill, where do you
live?

A I live in Tallmadge, Ohio.

Q And how old are you?

402,589,2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA winw kentuckianareporters.com

—— COURT REPORTERS ~~

Kenluckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 11 of 184. PagelD #: 452

The Deposition of DAVID STANFALL, taken on April 13, 2022

Confidential
A 36.
Q And when were you born?
A 1986.
Q So I know that you are the principal officer

at Squirrels Research Labs. What --~ what's your actual
title at the company?

A At squirrel research labs, I was the president
and CEO.

Q Any other titles?

A No.

Q How -- were -- did you have those titles since
Squirrels Research Lab was formed?

A Yes.

Q And no changes in title at alli during the life

of the company?

A No.

Q Are you an officer or an owner of any other
companies?

A Yes.

Q Could we run through any other businesses

where you're an officer or an owner?
MR. MERKLIN: Bryan, are you asking today?
MR. SISTO: I'm sorry? Yes. At -- at --
present. Yeah.

BY MR. SISTO:

502,589,2273 Phone
502.584.0149 Fax
schedulegikentuckianareporers,cont

KENTUCK! ANA www. kentuckianareporers.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 12 of 184. PagelD #: 453

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

10

A Yes. As a -- an entrepreneur, I'm involved in
a good number of companies. I'm going to attempt to
list them, and I -- if I -- if I neglect to list
anything, it isn't intentional. I just haven't recalled
them all.

Q Let me -- let me put it this way, because I do
know that you're involved -- you know, you're an
entrepreneur. You're broadly involved. I assume that
the vast majority are computer, cryptocurrency, you
know, just tech related. I don't know the industry
terms, you know, as well as you do. But I mean, is
there anything that you're involved in that has just
zero involvement with this kind of world of things?

A I am involved in some real estate investment
and development.

Q If it -- if it's wholly separate from anything
to do with cryptocurrency, with computer hardware,
computer software, I -- we don't need to discuss those.
But I'd like to know anything you're involved in that is
-- that -- you know, but if it's a real estate company
that is -- that does -- you know, is leasing space to a
eryptocurrency company, I'd be interested in that. But
you know, I'm asking for --

A sure,

Q -- anything that's involved with this, you

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.cont

KENTUCKIAN A winw kentuckinnareporters.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

a4

a5

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 13 of 184. PagelD #: 454

The Deposition of DAVID STANFILL, taken on Aprii 13, 2022

Confidential

11

know. It takes a little while to list. I appreciate
your time.

A Yeah, Let me do my best to give a exhaustive
list, to make it clear. I am -- I continue to be a
equity holder, despite circumstances in Squirreis
Research Labs LLC, as well as in the Midwest Data
Company LLC, both of which are co-administratored in the
bankruptcy case as debtors. I am a owner and have a
position as advisory CTO in Squirrels LLC. TI am an
equity holder in -- actually, let me clarify. My
ownership in Squirrels LLC flows down from my actual
direct ownership in Scurry Holdings Group.

Q Can you spell scurry?

A Scurry. Yeah. S-C-U-R-R-Y, I think. Scurry
ig a -- the group of Squirrels were Holdings Group.

Q Okay. Thank you.

A So I -- there are subsidiaries that flow down
from that, and primarily Squirrels LLC. JI am an owner
in DAS Factory. DAS is all capital and factory is a
geparate word. That is the top-level company of real
estate development involved in Bitcoin mining
facilities. If you want me to list subsidiaries, I can.
But for the moment, I'm just going to list the companies
tT have direct ownership in.

Q That's fine. We can circle back if we need

502.589.2273 Phone
502,584.0119 Fax
schedule@@kentuckianareporters.com

KENTUCKI ANA wow. keotucklanareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P,O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 14 of 184. PagelD #: 455

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

12

to. I appreciate the way you're --~ you're answering it.

A Sure. I am an owner in D2A Enterprises, which
is a pure real estate holdings company. I am an owner
in Magni Holdings Group, which is a staffing company.

Q Can you spell that?

A M-A-G-N-T,

Q Thank you.

A I am an owner in Freedom Mining LLC, which is
my personal cryptocurrency mining company, for tax
purposes. I believe those are the primary entities.

COURT REPORTER: And Mr. Sisto, sorry to
interrupt. You're kind of muffled when you talk, on
my end at least. I don't -- maybe just ~- if you
can try to just maybe speak up. I don't know if
that'1l help or not,

MR. SISTO: I think it might be the position.

Is this any better? I just moved my mic.

COURT REPORTER: Yeah, that -- that's better.

MR. SISTO: Okay. Thank you for alerting me to
that. I apologize. JI think my -- my mic was
covered up on my keyboard.

COURT REPORTER: Oh, okay. Yeah. That's --

MR. SISTO: That shows my level of tech
expertise here, 80

COURT REPORTER: No, you're fine. That sounds

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTU CKI ANA ywavw. kentuckianereportess.com

—— COURT REPORTERS -

Kealuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 15 of 184. PagelD #: 456

The Deposition of DAVID STANFIML, taken on April 13, 2022

Confidential

13

a lot better. Thank you.
MR. SISTO: Thank you.
BY MR. SISTO:

Q So you're the company is Scurry, DAS, D2A,
Magni, Freedom Mining. You -- you discuss being the
owner. Are you the -- are you also an officer of any of
those companies? I assume you're an officer at least of
your -- your personal company, if that's just for you,
but what about the other businesses?

A Yes, I would be -~ I would be an officer. In
general, I hold the CEO role in all of those companies
except D2A, where I think I'm just a co-manager.

Q Okay. And --

A Scurry Holdings Group, I am -- IT am not
currently the CEO of that.

Q You have been in the past?

A I have been in the past.

Q What -- what percent of squirrels LLC do you
own as -- in your holdings -- holdings group?

A I don't know the exact percent offhand. I'll
let you ask any follow up there.

Q Do you have a general idea?

A It would be somewhere in the -- between 25 and
30 percent, I just don't know the decimals.

Q That's fine. Thank you. Does -- what other

502.589.2273 Phone
$02,584.01 19 Fax
schedule@kentuckianareporters.com

KENT UCKI ANA www.kentucklanareporiers.com

—— COURT REPORTERS -~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 16 of 184. PagelD #: 457

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

14

holdings does Scurry Holdings Group have?

A Scurry Holdings Group has a subsidiary of
Squirrels Nest Assets LLC, which is a real estate
holding company, and a -- the other wholly owned
subsidiary of Scurry Holdings Group is Squirrels
Incorporated. Squirrels Incorporated is the full owner
of Squirrels LLC.

Q So who, prior to the filing of the case, how
was Squirrels Research Labs fit into this? Were they
also owned by Scurry Holdings Group or Squirrels Inc.?

A No. Prior to filing the case, Squirrels
Research Labs was owned directly by its shareholders.

Q And that is -- that was when the petition was
Filed? It was owned directly by shareholders?

A Correct.

Q Was it always owned directly by shareholders?

A In -- at the time of original formation,
Squirrels Research Labs LLC, one of the shareholders was
the Squirrels LLC entity.

Q So -- so Squirrels LLC, what -- at one time.
and we'll cover that in more detail later, but at one
time owned part of Squirrels Research Labs?

A To the best of my recollection, it was
Squirrels LLC. I may be incorrect, and it might have

been Scurry Holdings Group. I would need to review

502,589,2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA winw. kentucklanateporters.cam

—— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisvilie, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 17 of 184. PagelD #: 458

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

15

records.

Q Sure. All right. It's safe to say that at
some point Squirrels Research Labs, what -- was owned --
was within this kind of general Scurry's Holding Group's
umbrella, whether it was direct or under Squirrels LLC.
And then it eventually was only owned by its
shareholders. Right? And we'll get into more detail
later, but is that the general way of that?

A Yeah. I wouldn't say it was within that
umbrella, but it was -- it was owned in part, 25
percent, by that group.

Q Okay. I'm just going to, for now, it was
Scurry or Squirrels LLC. And Squirrels LLC was part --
was owned by Scurry, so either way it was under Scurry.
Is that right?

A Correct, as far as the beneficiary thing.

Q You're -- you're represented by counsel in
this deposition. Is that right?

A I am not personally, no.

Q I'm sorry. I should say 2004. I should say
2004 examination. It's not technically a deposition,
although it's very similar. Go ahead. I'm sorry.

A Yeah. My understanding is, the debtor for
whom I am a representative in this 2004, is represented

by counsel. I am not personally represented by counsel.

562.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O, Box 3983

Louisvilie, KY 40201 scheduleg@kentuckianareporters.com

KENTUCKIANA www. kentuckiavareporters.cama

—— COURT REPORTERS ~~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 18 of 184. PagelD #: 459

The Deposition of DAVID STANFILL, taken on April 13, 2022

question about yourself, David Stanfill, as a person,
when I say you, I'm referring to you and your capacity
as -- as the -- as the representative of Squirrels
Research Labs.

A Understood.

Q If there is any confusion from my question,
please follow up with me. And we'll -- and we'll be --
both be clear of what we're talking about. You have --
you have you previously sat for a 2004 examination in
this actual case. Is that right?

A Yes.

Q Okay. Have you ever sat for a deposition or
2004 examination previously, in this case or any other?

A I have sat for the 341 meeting, which I've
been told qualifies as a deposition. And I have sat for
depositions in a ~- another personal matter.

Q .Okay. So you have experience testifying under
oath?

A Yes.

Q So when -- when we're talking today, and this

is as much for me as it is for you -- I'm a hand talker,

Confidential 16
Q Thank you. That's a good point. If I refer
to you -- and you please always clarify, if I -- if you
need to. We -~ you know, we want a clean record. I'm
probably referring to -- unless I specifically ask you a

502,589,2273 Phone
502,584,0 819 Fax
schedulegdkentuckianareporters.cont

KENTUCKI ANA ww. kentucklanareporters.com

— COURT REPORTERS ---

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 19 of 184. PagelD #: 460

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

17

and we're here on video. But you know, no -- don't say,
"Uh-huh," or "Uh-uh." It's difficult for the record to
pick up. Let's just try to stick to yes or no, or I
mean, there'll be a lot of questions that are not yes or
no questions. But we need to kind try to keep the
record clear by giving precise answers and using precise
language. Does that make sense?

A Yes.

Q Tf you need to take a break at any time, let
me know. There's -- as long as you're not trying to
take a break every five minutes, I will have no problem
with that. I may need to take a break. We all have
needs as human beings. I anticipate taking one like
longer break of half hour to 45 minutes, maybe around
noon or 1:00, in that timeframe. But other than that,
you know, either of us, just take a break when -- when
you need it. And don't hesitate to ask if you need one.
Okay?

A Yes.

Q If you don't understand a question -- we've
already talked about this a little bit in the context of
the you issue and the Squirrels issue. But if you don't
understand a question, please ask me to clarify my
question. Otherwise, it'll be assumed that you

understood the question when someone's reading the

502.589.2273 Phone

Kentuckiana Reporters 502,584.05 19 Fax

E.G, Box 39383

Louisville, KY 40201 schedule@@kentuckianareporters.com

KEN TUCKI ANA wow. kentuckiansreporters.com

— COURT REPOWEERS ----

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 20 of 184. PagelD #: 461

The Deposition of DAVID STANPILL, taken on April 13, 2022
Confidential

18

record. And so please, do not hesitate to ask me to
clarify if there is anything confusing. As the court
reporter already indicated to me, it's important that we
speak clearly, have our microphones clear. I have tried
to resolve that here on my end. But it's also important
that we take turn speaking, because it's difficult for
the reporter or someone reading a record if there is --
if there's inaudible. Does that make sense?

A Yes.

Q Do you understand that you're -- that you've
been sworn in under oath, under penalty of perjury? This

is the same standard as if you were testifying in open

court?

A Yes.

Q Are you excessively tired, under the influence
of any substances that would -- anything that would make

4t difficult for you to tell the truth today or to have
a clear mind?

A No,

Q Do you -- do you understand, generally, what a
2004 examination is?

A Yes.

0 What's your understanding of what we're
discussing here today?

A My understanding is the 2004 examination is

4502,589,2273 Phone
502,584.01 £9 Fax
schedule@kentuckianareporiers.com

KENTUCKI ANA www. kentuckiatareporters.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 21 of 184. PagelD #: 462

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

Lg

your opportunity to ask me questions about the
operations of the debtor's businesses and anything in
that realm, for the purpose of, I guess, general
discovery of anything that may affect creditor returns,
IT would say.

Q Thank you. I don't have anything to add. All
right -- or follow ups. You -- did you prepare for -- I
don't want to -- please don't share anything that --
that would be attorney-client privilege, as in specific
legal advice you were given. But did you prepare today
by discussing this with an attorney?

A Yes.

Q Who did you prepare for this 2004 exam with?

A Only with Mr. Merklin here this morning.

Q Did you review any documents prior to our -~--
to sitting down today in preparation for this -- this
examination?

A No. Not in preparation for this meeting.

Q Did you bring any documents with you today?

A No.

Q Did you speak with anybody else about the 2004
examination?

A Only to the extent of awareness that i was
going to be in the 2004, for scheduling purposes.

Q So you didn't have any substantive

502.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O, Box 3983 a
Loulsvitle, KY 46201 schedute@kentuckianareporters.com

KENTUCKI ANA www keatucklanareporters.com

—— COURT REPORTERS

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 22 of 184. PagelD #: 463

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

20

conversations about the 2004 examination with anyone
other than Mr. Merklin. Is that right?

A Correct.

Q And -~ and Brouse McDowell -- I've primarily
been communicating with Ms. Zurn, but obviously
Mr. Merklin is here today. Brouse McDowell is the
representative of Squirrels Research Labs in this
bankruptcy case. Is that right?

A Yes.

Q Has -- has Brouse McDowell ever represented
you in your personal capacity?

A No.

Q Has Brouse McDowell ever represented --
obviously, they -- they were also representing Midwest
Data Company. Have they ever represented any of the
other businesses where you are a shareholder or a
officer, as we discussed at the beginning?

A No.

Q Has Brouse McDowell ever -- other than

Squirrels Research Labs and Midwest Data Company,

represented you or any business -- you in your personal

Capacity or in your business capacity, you know,
anything that you've been related to, where they
would've been in a position to provide legal advice,

other than for this bankruptcy case?

502.589.2273 Phoue
502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianoreporters.comn

— COLIRT REPORTERS -~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 4020E

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 23 of 184

. PagelD #: 464
The Deposition of DAVID STANFIDL, taken on April 13, 2022
Confidential 24
A No.
Q Where did you graduate from college, sir?
A Kent State University.
Q And when did you graduate?
A 2008.
Q And what was your degree?
A Bachelors in computer science.
Q Do you have any post-secondary education?
A No degrees.
Q Did you -- did you attend school for some

A

Q

time, post-secondary?

I did some work towards a master's degree.
Where did you go for that?

This was also at Kent State.

And what was the course of study there?

It was a furthering in the computer science
don't remember the exact details.

Sure. Has any other business that you've

either been an officer or an owner of, filed for
bankruptcy besides Squirrels Research Labs and Midwest

Data Company?

No.

Other than yourself -- let's -- to the extent
of your knowledge, and I'd like to both say, like, as of

the petition date and as of the formation --~- actually,

Kentuckiana Reporters
P.O, Box 3983
Louisville, RY 40204

502.589.2273 Phone
502.584.0159 Fax

schedule@kentuckianareporters.cont

KENTUCKI ANA wivw. kentuckianareporters.coi

— COURT RETORTERS

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 24 of 184. PagelD #: 465

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

aa

let me ask you, when was Squirrels Research Labs formed?
A In late spring to early summer 2018,
Q Does -- does late May 2018 sound correct?
A Tt does. .
Q Who were the -- do you know who the owners --

owners were of Squirrels Research Labs when it was

formed?
A Yes, I believe so.
Q I know we -- I know we did touch on this

briefly earlier, but just, again, state who the owners
were when it was formed.

A Yes, it was owned -- 25 percent of it was
owned by either Scurry Holdings Group or Squirrels LLC.
We've established that. I owned -- I was an owner of
tt. Andrew Gould, G-O-U-L-D, was an owner. Sidney,
Keith, §-I-D-N-E-¥, Keith, K-E-I-T-H, was an owner, and
Cory Shoaf, C-O-R-Y S-H-O-A-F, were owners.

COURT REPORTER: And I'm sorry, Mr. Stanfill,
what was the company you said?

THE WITNESS: Either -- either Scurry Holdings
Group --

COURT REPORTER: Scurry Holdings, okay.

THE WITNESS: -- or Squirrels LLC.

COURT REPORTER: Okay. Thank you.

BY MR. SiSTO:

502.589.2273 Prous
502.584.0119 Fax
schedute@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.comt

— COURT REPORTERS =~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 25 of 184. PagelD #: 466

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

a3

Q So when it was -- when Squirrels Research Labs
was formed, 25 percent either or under Scurry or
Squirrels LLC, and then yourself, Andrew Gould, Sidney

Keith, and Cory Shoaf. Those were the only owners at

that time?
A Yes, to the best of my recollection.
Q Did other shareholders acquire ownership

interest in Squirrels Research Labs between when it was
formed and when the petition was filed?

A You cut out at the end of that question.

Q I'm sorry. Between when the company was

formed and when the bankruptcy petition was filed?

A Yes.
Q Who else became a shareholder?
A Jessica Chevalier, later married and became

Gritzan, became a shareholder in 2019. David Jiminez
became a shareholder subsequent to that. Eventually, I
believe he bought Cory Shoaf's interest. And then in
2021, there was a private offering made where there were
a larger number of new minority shareholders that were
introduced.

Q Ts that a -- is that a ~- quite a number of
folks?

A T would not be able to recall them off -- off

of my memory. If was a number of folks.

502,589,2273 Phone
502.584.0119 Fax
scheduie@kentuckianareporters.com

KENTUCKI ANA way. kentuckignareporters,comt

— COURT REPORTERS -

Kentuckiana Reporters
P.O. Box 3983
Louvisvitle, KY 40201

24,

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 26 of 184. PagelD #: 467

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

24

Q Okay. And other than Cory Shoaf, the other
people who owned a share at the beginning, continued to
own shares by the time the bankruptcy case was filed. Is
that right?

A Yes. Their percentages may have changed over
time, but the only two parties that exited ownership
were Cory Shoaf and I'm just going to refer to it as the
Squirrels LLC ownership.

Q Why was Squirrels Research Labs founded?

A Tt was founded to create hardware, basically,
data center acceleration hardware.

COURT REPORTER: Data -- I'm sorry, I didn't
catch that.
THE WITNESS: Data center acceleration
hardware.
COURT REPORTER: Thank you.
BY MR. SISTO:

Q Were -- was squirrels LLC or any of your other
businesses already doing that type of work when
Squirrels Research Labs was formed?

A Squirrels LLC was not involved in hardware. It
supported all significant amount of software IP. That
was its main business, was creating and sub- licensing
IP for video processing and conference room

technologies, similar to this meeting we're in right

502,589.2273 Phone
502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

—— ©GHIRT REPORTERS -*-~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 27 of 184. PagelD #: 468

The Deposition of DAVID STANFILL, taken on April 13, 2022

under the -- the Scurry Holdings umbrella or any other
business that you personally were involved in, did
hardware sales prior to the formation of Squirrels
Research Labs?

A No, they did not.

Q What was the -- you know, I talked about why
it was formed, and you -- and you discussed -- I'm going
to just refer to it as -- as to do hardware sales. What
was the business opportunity that you saw that, you
know, aS an entrepreneur, that made that sound like a
good oppor -- as a business?

A I'il give you a little bit longer answer here
to make this clear. I was personally working in
acceleration hardware in late 2017 and early 2018, at --
at a hobby level, and had identified that there was the
opportunity to create certain hardware that would be
best in class. And we had the opportunity to build this
-- this purpose~built hardware that would be able to
improve on what was available in market at the time in
the cryptocurrency mining realm. And by doing that, we
thought that we could amortize the creation of a company

that built dedicated hardware itself, which is something

Confidential 25
now. And its -- its clients have their own hardware.
Q So none of your businesses and -- meaning --
meaning -- let me put it this way. Any of the business

502.589.2273 Phone
502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com,

—— COURT REPORTERS ---

Kentuckiana Reporters
P.O, Box 3933
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 28 of 184. PagelD #: 469

The Deposition of DAVID STANPFILL, taken on April 13, 2022

Confidential

26

I had always wanted to do. And so we saw this crypto
currency hardware demand as an opportunity to amortize
the ramp up and supply chain to support a hardware
production design and sales organization.

Q Have you ever -- have you worked -~ I know
you're an entrepreneur. You own -- you own and operate
in many businesses. So if you -- I don't -- if you were
ever paid by any of them as a W-2 or 1099, I'm not
referring to those. Have you worked as -- as -- since
college ever, as a -- as a W-2 or 1099, just worker or
employee for any other business?

A Yes.

Q Can we go through your just employment history
briefly, just post -- post college?

A Yes. I wag employed during college and then
exiting college, as a W-2 employee of a company called
DRV Systems in Greene, Ohio, where I worked on software
and hardware systems associated with car care industry.
And following -- or during the term of that employment
is when we created our -- our initial company that later
became the Scurry Holdings Group companies. This was
around 2008. I was employed as a W-2 employee of the
initial company, which was called Napkin Studio, N-A-P-
K-I-N Studio. That company was later merged into

Squirrels LLC. So I was a W-2 employee of that company

502.589.2273 Phone
502,584.0119 Pax
schedule@kentuckianarepotters.com

KENTUCKI ANA www. kentuckianareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 29 of 184. PagelD #: 470

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

a?

and Squirrels LLC. I may have been a W-2 employee of
Remedy Systems or Remedy Ventures. I can't recall
whether that was the W-2 or 1099, in the 2009-10 range,
which was a company that we did contracting development
for in the medical software industry. And then, I was a
W-2 employee of Squirrels Research Labs. And I am
currently a W-2 employee of Alignment Engine.

Q Alignment Engine?

A Yes.

Q and that is -- that wasn't a business that
we've discussed previously. So you are -- you are not
an owner or a ~~ a officer of that company? You're just
a normal employee?

A Yes, that's -- that's normal employment.

Q And what do you do for Alignment Engine?

A I do FPGA development and strategy for
hardware design.

Q I know that I know that this answer could
probably be with your intelligence and breadth of
experience, that you could probably do a day on this
answer, but can you give me the 30 second version of
what FPGA means?

A Yes. An FPGA is a reprogrammable chip. I
guess, the short version would be, most people are at

least cursorily familiar with CPUs, such as that from

502,589.2273 Phone
$02,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

—— CQURT REPORTERS ~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 30 of 184

. PagelD #: 471

doede, and you execute programs on those. The code is
interpreted, you know, one instruction at a time by the
chip. And then that action is taken. And in context,
an FPGA is more like a custom definable circuit.

So you design an electrical circuit with
digital ~- all the digital logic, with potentially
millions or billions of digital logic gates. And when
you -- when you effectively program that onto an FPGA
chip, it acts as a blank slate on which that circuit can
be built and then reconfigured to a different circuit
later, as opposed to an ASIC chip, where that circuit is
built permanently with lithography processes in silicone
and can't be altered in the future. 50 it's -- it sits
on the continuum between a microprocessor and a
dedicated piece of silicone that's being founded -~
foundried for a very specific purpose.

Q Thank you. That was -- I did not -- I
followed a lot of it, but not all of it, but I
appreciate that kind of background. And is it safe to -
_ I think for our purposes -- and if -- if this

characterization and the answers to any of my question,

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 28
Intel, or AMD, or GPUs, or graphics processing units
from NVIDIA. All of those types of data center
accelerators are instruction processing based. You
write code. You are -- you have programmers who write

502.589.2273 Phone
§02,584.0119 Fax

ao” schedule@kentuckianareporters,cont
KENTUCKIANA yaw. kentucklanarepotters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 31 of 184. PagelD #: 472

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

23

you feel like you need to add to it, please do. But can
we call it computer hardware for what we're -- I mean,
is that a safe reduction of what it is?

A Yes. We can refer to it as computer hardware.
I'll clarify if there's some reason why computer
hardware isn't an accurate description of it for a
specific question.

Q I appreciate that. The -- you said, "We." I'm
talking about back when your first job, your W-2 job
after college, and you said, "We had the idea, you know,

to kind of start our own business while we were working

there." Who was -- who was the we you were referring
to?

A The company -- there were four partners who
started the initial business. Two of them are -~- have

not been involved in the businesses for many years, but
Andrew Gould is the other business partner who was
involved in that and continues to be involved in several
of the businesses I'm tied to today.

Q When you -- I'm kind of going back to when you
were discussing the -- getting Squirrels Research Labs
up and running, and the reason. And you talked about
amortizing kind of the startup. Can you explain to me
more what you meant by that, and how that worked?

A Yeah. So any time you are going to build

502,589,2273 Phone
d S02, 584.0119 Fax

ead schedule@kentuckianareporters.com
KENTUCKIANA www. kentucklanareporters.com

mee COURT REPORTERS

Kentuckiana Reporters
PO. Box 3983
Louisvilie, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 32 of 184. PagelD #: 473

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

30

electronics hardware, your pricing, especially with FPG
chips, is heavily, heavily volume dependent. If you
were to buy one ship, it may be $25,000. If you buy
1,000 chips, they may be $1,000 a piece. And so it
would be difficult to simply decide that you want to
build a small number of units of something for your own
purposes. You basically need to ensure volume in order
to ensure favorable supply chain terms that actually
allow you to have a cost-effective product.

Q So what was the funding source then to get
Squirrels Research Labs up and going?

A We made some initial capital contributions,
the ownership group, to purchase electronic components
and place some early orders. However, we were working
on a product that we were going to launch into market
broadly, and the opportunity came to make a sale of a
customized product that had been largely designed by one
of our vendors. And so we had the opportunity to do a
built-to-order one-time sale of this product and
generate pass-through profits there that would continue
to fund the future growth of the business.

Q Was that Avnet, Inc. was the supplier you're
referring to?

A Yeah, Avnet was the distributor for Xilinx

incorporated, who is where the product originated from.

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.cont

KENTUCKI ANA www Eentuckianareporters,com

~=— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 33 of 184. PagelD #: 474

The Deposition of DAVID STANFILI, taken on April 13, 2022

Confidential

31

Q So this is prior to the formation of Squirrels
Research Labs that you were being supplied. And so was
Squirrels LLC being supplied with Xilinx tips through
Avnet?

A No. Squirrels Research Labs was always -- it
was being provided through Xilinx. If I can give a

ghort timeline here, it might help guide your questions

Q Sure. Sure.
A -- or at least focus your questions. We
originally formed Squirrels Research Labs in -- I

believe you've indicated, and I believe this is correct
-- May of 2018. At that time, we had -- I had had
preliminary -- I'll be specifically, it was me
exclusively who had had preliminary conversations with
Avnet and filled out the supply chain and received
various quotes and made some cash orders for some
components with longer lead times to support the idea
for a hardware that I had.

And then we were planning to build some
prototypes of our ultimate project, which ultimately
became the Jungle Cap project and eventually bring them
to market. The ecosystem around the cryptocurrency world
in which we were looking to use as a sales channel for

the hardware we were building began discussing other

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters,com

KENTUCKI ANA www. kentuckianareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 34 of 184. PagelD #: 475

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

32

opportunities with FPGAs, which had not been in
prevalent discussion prior. And so that forced our hand
to move a little bit quicker than we had initiaily
planned.

and in discussions with Xilinx, we determined
that they did not want any of these basically
fly-by-night groups, you know, individuals to be
reselling their -- or doing group buys of their
hardware. And so they wanted to establish with us,
pecause we had a history of successful business and some
level of capital resources to support the operation,
that we would be the sales partner through which they
would sell their initial board.

We viewed this as if we act as the sales
partner for this group buy of this, you know,
built-to-order board for this initial volume, we'll
establish our business as the default name for providing
this type of hardware, the eryptocurrency market. And
that will better support our internally designed
products in the future by having -- you know, build that
initial customer base.

Q So thank you. Pardon me if some of, you know,
my questions repeat a Little bit of that, but that --
thank you for that explanation. Just so when did -- was

Squirrels LLC or any of your other businesses a customer

402.589.2273 Phone
502,584.0119 Fax
schedule@kentuckianareporers.cony

KENTU CK ANA yoww. kentockianareporters.com

—— COURT REPORTERS =>

Keatuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

29

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 35 of 184. PagelD #: 476

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

33

of Avnet, or, you know, did business as far as buying
Xilinx chips, whether through Avnet or anyone else prior
to the formation of Squirrels Research Labs?

A Squirrels LLC became a customer of Avnet --
the timeline ig something I would need to review
carefully, but I don't believe it became a customer of
Avnet directly until after the formation of Squirrels
Research Labs, But Squirrels LLC did open an account
with Avnet and did begin purchasing initial components
and placing initial orders. And this was because of
Avnet's positive view of Squirrels LLC's existing
business, as we established the relationship.

Q And those components purchased from Avnet were
components that would eventually be, you know, built
into your custom FPGAs that you were making and selling
from Squirrels Research Labs, but they were initially
purchased by Squirrels LLC. Is that correct?

A Yes. They were ordered through Squirrels LLC,
and then Squirrels Research Labs paid Squirrels LLC for
those components.

Q And that was in anticipation of getting
Squirrels Research Labs up and running to do the
business that you intended it to do?

A Yes. As I mentioned, we had not expected to

launch Squirrels Research Labs products into public

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKIAN A ww. kentuckianareporters.com

— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 36 of 184. PagelD #: 477

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

34

market as early as we needed to. And so many of the
underlying, you know, basic business functions needed to
support volume customers sales, payment processing,
things of that nature-were not in place when the market
dictated we had to begin offering the products.

Q So -- and there had been -- you didn't open
Squirrels Research Labs with no idea of who you'd be
selling to, correct? There were -- there had been a
building of customer base prior to the actual founding
of Squirrels Research Labs?

A Yes, I had begun engaging with potential
customers on a personal basis and enthusiasts for the
type of hardware on some different online channels and
had gotten a pretty high degree of competence as a
businessperson, that there was demand for what we were
offering. I had reached out to one of the parties who
was starting to make rumors about trying to do a group
buy from Xilinx directly and offered -- who 1s Tom |
Sensel.

Q How do you spell that?

A S-R-N-S-E-L, I believe, who had created a
company called Allmine, Incorporated, which you may be
familiar with, and offered my help, and offered that we
could potentially partner to offer this type of hardware

to the industry. Again, at the time, this was my

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA wavw.kentuckinnareporiers.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
PO. Box 3983
Louisville, KY 40291

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 37 of 184. PagelD #: 478

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

35

attempt to prevent someone else from taking a dominant
lead in the industry.

Q Okay. So there had been cultivation of a
customer base that would eventually be Squirrels
Research Labs' customer base prior to its formation? I
mean --

A Again, the timing is going to be very specific
here because it would not have been, you know, months or
potentially even weeks prior. It would've all occurred
in that May -- you know, maybe late April to May, to
June timeframe would've been all the customer
cultivation.

Q And so Squirrels LLC was -- I mean, as you've
said, held some -- you know, paid and held some of these
hard supply, you know, computer supplies that would
eventually be part of the product sold by Squirrels
Research Labs. Did you personally also purchase and
hold some of these in your personal capacity?

A It's pretty likely, but I don't recall
definitively.

Q Okay. And don't let me put words in your
mouth. So please correct me if this character is -- but
you were doing what you could to get these, whether it
was some in your personal capacity or through Squirrels

LLC in order to be able to launch Squirrels Research

502,589.2273 Phone
502.584.0119 Fax
Aianareporters.com

KENTUCKI ANA , www. kentuckianareporters.com

~~ COURT REPORTERS -——-~

Kentuckiana Reporters
P.O, Box 3983
Louisville, K¥ 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 38 of 184. PagelD #: 479

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

36

Labs successfully, to get it -- to have it hit the
ground running. Is that a fair characterization?

A Yes. Yes.

Q How long had Squirrels LLC existed when
Squirrels Research Labs was founded?

A Formally, Squirrels LLC under name had existed
since 2012. So more than six years.

Q I saw a -- I don't -- I could find it probably
fairly quickly. I don't have it prepared as an exhibit,
but you're probably familiar with a press release that
Squirrels released in early 2019 taiking about kind of
the separation of Squirrels Research Labs and Squirrels
LLC.

A Yes,

Q And it referenced that the businesses had been
sharing resources and would no longer be sharing
resources. Can you describe what --~ and maybe we can
follow up and get more specific. I know this is a
general question, but what were -- what was the resource
sharing that was happening between Squirrels LLC and
Squirrels Research Labs?

A Yes, I can explain that. 2 alluded to this a
little bit earlier. At the time when we launched
Squirrels Research Labs, Squirrels Research Labs itself

had primarily an engineering team, a small engineering

502.589.2273 Phoue
502,584.01 19 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckionareporters.com

— COURT REPORTERS =~

Kentuckiana Reporters
P.O. Box 3983
Lowisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 39 of 184. PagelD #: 480

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 39

team focused on the hardware design and products, as
weil as gome sales efforts. It did not have all of the
support ecosystem that you would need to quickly to
launch a product into market.

And so we agreed that Squirrels LLC would
contract out web design resources, creative design
resources, customer support resources, some software
development resources, as well as accounting and HR
resources, while Squirrels Research Labs ramped its
business. And so it provided those resources,
primarily, between dune and August of 2018. And then
there were some residual resources that were provided
after from, you know, September through, effectively,
January of 2019, when the businesses, you know,
completely separated their operations for a number of
reasons.

Q And did Squirrels LLC charge Squirrels
Research Labs for those services?

A It did.

Q Was it at the ordinary rate that Squirrels LLC
would charge any customer for the same services, or -- I
guess some of those services were not services that
Squirrels LLC marketed broadly. And so let me ask a
cleaner question. I'm sorry. So some of the services

that Squirrels LLC was providing Squirrels Research Labs

502.589.2273 Phoue
502,584.01 19 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckisnareporters,com

-— COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40204

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 40 of 184. PagelD #: 481

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 38

are services that would be provided to other customers,
is that correct?

A Yes, to the best of my knowledge of Squirrels
LLC's operations.

Q Some were not services that were necessarily
provided to other customers, is that also accurate?

COURT REPORTER: Sorry, I missed --

THE WITNESS: You broke up a little bit.

COURT REPORTER: -- yeah, that question broke
up, and you're starting to muffle a little bit
again.

MR. SISTO: All right. I'm sorry. let me know
-- t don't know what's going on with my muffling but
thank you for letting me know. Is that better?

COURT REPORTER: Yeah.

BY MR, SISTO:

Q Okay. Some of the -- what Squirrels LLC was
providing to Squirrels Research Labs in the way of
support, but it was also being compensated, for some of
those were services that Squirrels LLC gold as part of
its business model. And some were just -- were not
things that other customers would have access to. Is
that a fair characterization?

A Yes,

Q So what are the things that -- services that

52,589.2273 Phone

. d 502.584.0119 Fax
Se schedule@kentuckianareporters.com

KENTUCKIANA www. kentucklanareporters.com

—— COURT REPORTERS “~~

Kentuckiana Reporters
P.O. Box 2983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 41 of 184. PagelD #: 482

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

39

Squirrels LLC provided that were things that were also
provided to other customers?

A Squirrels LLC. And again, I'm not here as a
representative Squirrels LLC, but I'll answer that
question with my personal knowledge. Squirrels LLC
regularly did contract development for hire of a variety
of mechanisms. In addition to licensing its IP
technology, it did integrations which included software
development, sometimes writing hardware, firmware
integrations, sometimes doing web development, sometimes
doing creative design, those pieces.

And then to a lesser degree, it provided
support services to third parties in its regular course
of business. The functionalities that were not
regularly provided by Squirrels LLC to outside customers
were the procurement support, the accounting support,
and the --

Q Payment? Is that right? Like, the payments
are --

A -- yeah. Payments, processing, bookkeeping,
those pieces. And then the HR kind of level support.

Q Did Squirrels Research Labs compensate
Squirrels LLC for those services, or only for the
services that it also provided to other customers?

A It compensated Squirrels LLC, I believe, ona

502.589.2273 Phone
502,584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 42 of 184. PagelD #: 483

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

40

pass-through basis for all costs Squirrels LLC incurred .

in supporting Squirrels Research Labs.

Q So it was only at cost?

A To my recollection, it was built directly at
cost.

Q But the services that Squirrels LLC sold were
-- Squirrels LLC did make a profit on those services,
the ones that it also sold to other customers, is that
correct?

A I don't leave Squirrels LLC sold any services

for profit to Squirrels Research Labs, based on my

recollection.
Q So I understand that you're saying you can't
be a 100 percent certain, but right -- from your memory

right now, Squirrels LLC provided all services. Whether
or not they were also marketed to other third parties,
they provided all services to Squirrels Research Labs at
cost; is that accurate?

A Yes, that is accurate. The nature of
providing those services was basically because the
ownership group of Squirrels Research Labs said, "Hey,
we have a stake in this other company. Can we borrow
some of the staff to get this off the ground, and we'il
pay for the opportunity cost, basically?"

Q And at that time, you were officers in both of

502.589.2273 Phoue
ah Bad 502,584,0119 Fax

Rol schedule@kentuckianareporters.com
KENTUCKIANA www. kentuckianareporters.com

—— COURT REPORTERS =~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 4020)

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 43 of 184. PagelD #: 484

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

41

those companies, right?

A I was. At that time, I held the CEO role in
both companies.

Q Was there anyone else during this time frame?
And what we're talking about is post-founding of
Squirrel -- you know, between May 2018 and March 2019.

You understand the timeframe I'm talking about? After

split, were there any other officers of both other than

you?

A No.

Q You were the only one that was an officer of
both?

A T was the only one that was an officer of

both. That's correct.

Q Okay. And were there any other folks --

A Actually, allow me to -~- sorry, I didn't mean
to talk over you. I wanted to --

Q No, go ahead. I'm sorry.

thinking of officers with ownership. It is possible
that Jessica Gritzan would have held the COO role in
both companies. However, she didn't have any ownership

stake at the time.

the formation of Squirrels Research Labs and before they

A .- briefly finalize that answer, because I was

Q Thank you. And so now ownership -- and I know

502.589.2273 Phone

Kentuckiana Reporters $62,584.01 19 Fax

P.O. Box 3983

Louisville, KY 40201 KENTUCKI ANA www. kentucklanareporters.com

—— COURT REPORTERS ~~

schedule@kentuckianareporers.com
a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 44 of 184. PagelD #: 485

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

42

we've covered ownership a couple times, but I just want
to -- in this kind of context that we're discussing.
During that time period, were there any -- other than
you. I know you had ownership interest in both. Were
there any other folks that had ownership interest in
both, even if they weren't an officer, or another
business had an ownership interest in both?

A Yes. Andrew Gould, Sidney Keith, and Cory
Shoaf had ownership both -- interest in both the Scurry
Holdings Group chain of companies and Squirrels Research
Labs directly.

MR. SISTO: Ms. Veneman, I have a question for
you briefly. I'm going to use some exhibit that
I've pre-marked and shared with Mr. Stanfill and
Mr. Merklin. Do you mind if I just use the numbers
that I've -- they're not going to be in order --
chronological order for you. Is that okay if I --
or do you need me to do Exhibit 1, 2, 3 when If
introduce them here?

COURT REPORTER: No. Whatever numbers you guys
need to use, that's totally fine.

MR. SISTO: Okay. Thank you.

COURT REPORTER: Yup.

MR. MERKLIN: Bryan, I have no objection to any

numbering you want to use, but I will represent to

502.589.2273 Phone
502.584.6119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters,com

= COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, RY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 45 of 184. PagelD #: 486

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

43

you -- I will represent on the record, as we
discussed yesterday, I received from you T think in
excess of 310 megabytes of documents. I have not
printed them all. So if you refer to them, they'll
have to be put on the screen.

MR. SISTO: Yes, sir. J will do that right
now. So I do want to gay on the record, again, we
discussed this, I think briefly off the record, and
1 think briefly, again, on the record, This
document is subject to a protective order. These
are the decking reconciliation reports for Squirrels
Research Labs. So Ms. Veneman, when I send these to
you for submission into the record, will you please
make a notation that these -- that the exhibit is
subject to court order?

COURT REPORTER: Yeah, I will.

MR. SISTO: And Mr. Forsell, who is on the
line, has signed the protective order. And we have
a statement on the record from Mr. Merklin that he
ig fine with Mr. Schwag being on the call, even
though he did not actually sign the protective
order, just want to make sure we alli are clear on
that.

BY MR. SISTO:

Q Mr. Stanfill, do you recognize this document

502.589.2273 Phone
$02,584.01 19 Fax
schedule@kentuckianareponters.com

KEN TUCKL ANA www. kentucklanareporters.com

—— COURT REPORTERS:

Kemtuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 46 of 184. PagelD #: 487

The Deposition of DAVID STANFILL, taken on April 13, 2022

$0. Is that right?

A That would match with my recollection.

Q So Squirrels Research Labs did not -- and
let's look down at the deposits here. ‘The first deposit
we see is July 5, 2018; is that correct?

A Yes.

Q So Squirrels Research Labs did not hold any of
its own cash until July 2018. Is that right?

A Yeah. I don't believe Squirrels Research Labs
bank accounts were opened, and in reference to my
previous answer, It was pressed by market conditions to
start operating its business publicly earlier than it
had planned. And so prior to this time, all of
Squirrels Research Labs capital activity was really
being -- purchases being made by founders that hadn't

been reconciled into a common bank account or anything

Confidential 44
as I described it?

A I'm not personally familiar with the document,
but I recognize it ag you describe it here, as far as
what it is.

Q This is the checking account for Squirrels
Research Labs for the month ending -- and I'm putting my
cursor on it there -- July 31, 2018. Is that correct?

A That is correct.

Q And we see here that the beginning balance was

302.589.2273 Phone

Keatuckiana Reporters 502.584.0189 Fax

P.O. Box 3983

Louisville, KY 40201 schedule@kentuckianareporters.com

KEN TUCKI ANA www.kentuckianareporters.com

— COURT REPORTERS ~

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 47 of 184. PagelD #: 488

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

45

about it yet.

Q Okay. And there is not a -- this is the
checking account that Squirrels Research Labs used,
correct? There was not another account at this time for
checking or for savings, or any other type of account?

A Correct.

Q So we see a total number of deposits into
Squirrels Research Labs during July 2018 of $834,000 and
change. This is -- I know the document is not a
credible fidelity, but that is what it says, is that
right?

A Yes, that's what's stated there.

Q And I know you've described this. We answered
kind of this generally earlier, but where were these
deposits coming from?

A These were coming from initial sales
built-to-order hardware that SOR was offering to
market.

Q So none of these deposits are, at this point,
capital contributions?

A I haven't individually reviewed these
deposits. It's possible some capital contributions were
in there, but to my knowledge, those are sales
transactions.

Q Squirrels Research Labs did sell product and

502.589.2273 Phone

Kentuckiana Reporters 502,584.01 19 Fax

P.O. Box 3983

Louisville, KY 40201 schedule@kentuckianareporters.cont
1

KENTUCKI ANA www.kentuckianareporters.com

— COURT REPORTERS

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 48 of 184. PagelD #: 489

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

46

collect payment on product prior to July 2018, correct?

A Correct,

Q So where did those payments go?

A Squirrels Research Labs go-to market strategy
was primarily through channel partners. And so we
utilized the minority company as it was calied,
minority.io, I believe, 1f I recall correctly, as well
as Allmine Incorporated partnerships as sales channels,
Allmine operated a site portal called fpga.land, I
believe.

And then Squirrels LLC for wire transfers,
which we were not set up to receive -- even in July, we
weren't ideally set up to receive those. Squirrels LLC
acted as the payment processor for anyone who wanted to
pay directly by a wire transfer.

Q So if minority.io or Alimine collected the
funds, did they turn funds over -- I'm probably asking
that in elegantly, but what was the timing that they
would receive payment? And when were they required to
turn the funds over to Squirrels Research Labs?

A The initial payments -- the early payments
that occurred in June were basically cycled over
immediately due to the need to pay Avnet the initial

order to correspond with the order volume that we were

receiving. The terms with Avnet were that 50 percent of

502.589.2273 Phone

Kentuckiana Reporters 502,584,0119 Fax

P.O, Box 3933

Louisville, KY 40201 KENTUCKI ANA www-kentuckianareporters.com

ao COURT REPDREERS

schedule@kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 49 of 184. PagelD #: 490

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

47

the total order volume price needed to be paid up front,
and the balance would be paid, you know, net 30 after
delivery.

And so, as the orders began coming in and we
were able to determine the order volume level, those
funds were gathered, and they were gathered by Squirrels
LLC's accounting staff. They were gathered by the
Squirrels LLC, and then paid to Avnet to make that
initial substantial deposit to secure the hardware for
the built-to-order deliveries.

Q So Squirrels LLC was taking payments from --
directly, in some cases, or indirectly through Allmine,
or minority and paying at net for the hardware?

A Yes. Yes. There was -- in that I'll calli it
mad dash initial period to go to market, Squirrels LLC
took substantial transfers directly in order to make
that substantial wire transfer to admin.

Q So I'm looking at -- we looked at deposits,
which further down the page, there were, looks like 11
payments made by Squirrels Research Labs in July of
2018. Do you see what I'm referring to here at the top
of the page that you should see on your screen?

A Yes.

Q There's just under -- well, I guess it's more

-- closer to 400 than five, about $440,000, just under

502.589.2273 Phone
502.584.6119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

wen COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

ao

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 50 of 184. PagelD #: 491

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

48

$440,000 of total disbursements from Squirrels LLC. I'm
sorry. From Squirrels Research Labs, LLC during July of
2018, correct?

A That is correct, Yes.

Q So it appears there's a couple blanks, there's
a check for $20,000 that doesn't show the payee, but
about $400,000 of that 440,000 were paid to Squirrels
LLC, is that correct?

A Yes, they were -- those funds were remitted to
Squirrels LLC.

Q So in July of 2018, what was -- at that time,
what was Squirrels LLC being paid for?

A Those would've been paying Squirrels LLC for
products that Squirrels LLC had procured for Squirrels
Research Labs, electronic components or built-to-order
hardware, substantially.

Q And did Squirrels LLC send product directly to
end customers or was it routed through Squirrels
Research Labs somehow? How did that part of it work?

A All of the product was shipped directly to
Squirrels Research Labs warehouse, which was established
in August of 2018. This product has significant lead
time. And so at the time in which these product orders
were being placed, Squirrels Research Labs had not yet

stood up its warehousing and fulfillment operations.

502.589.2273 Phone
502, 584.0619 Fax
schedyle@kentuckianareporters.com

KENTUCKI ANA yovw.kentuckianateporters.cort

— COURT REPORFERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 51 of 184. PagelD #: 492

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 493

When those were put in place, which was in August of
2018, all of that product flowed into those fulfillment
warehouses, and then Squirrels Research Labs shipped all
of it out to customers from there.

Q So no product was actually received by
Squirrels Research Labs prior to August 2018?

A Tt would've been received by Squirrels
Research Labs at its -- I guess you would say that the
offices which were shared between Squirrels Research
Labs and Squirrels LLC, but my recollection is no
substantial product was actually shipped until the
Squirrels Research Labs warehouse was actually in place.
There may have been some components that were received
at the offices shared by Squirrels Research Labs and
Squirrels LLC for staff offices.

Q So Squirrels Research Labs paid Squirrels LLC
back for product that had not actually been received, is
that accurate?

A Yeah, the cash flow would've been such that
Squirrels Research Labs paid Squirrels LLC as soon as it
received the funds to purchase those products, and
Squirrels LLC remitted those payments to the vendors
that it had ordered from at the time.

Q Do you see where all the one of the transfers

to Squirrels LLC are bill payment, and then one is an

$02.589,.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.cont

KENTU CKi ANA www. kentuckianareporters.com

— COURT REPORTERS »-~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 52 of 184. PagelD #: 493

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

50

expense, and one for $200,000? Second from the bottom
ig an expense. Do you see that?

A Yes.

Q Do you know what the difference in the
notation there indicates?

A I'm not the accountant, I don't know why they
were categorizing things the way they were.

Q Do you -- is that information type of
information recorded elsewhere?

A I believe you've requested documents from --
or we have requested on your behalf documents from
Squirrels LLC, who had -- was keeping, you know, the
majority of the books at this time. So I suspect that
they have all of those records forthcoming.

Q So Squirrels -- so yeah, that would be
whenever they are coming. We would appreciate that. So
the accounting was being done on the Squirrels LLC side,
it wasn't being done on both sides; is that accurate?

A Yeah. At this time, Squirrels Research Labs
didn't have any of its own accounting staff. And so the
Squirrels LLC accounting staff was keeping all of the
books and tracking all of the transfers at that time. I
believe if you -- at the top of this document, it refers
to Amanda McConnell reconciling it in October.

That ig -~ Amanda McConnell was hired on to be

f

502,589,2273 Phone
502,584,0119 Fax
schedule@kentuckianareporers.com

KENTUCKI ANA www. kertucklanareporters.com

—~ COURT REPORTERS ~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40263

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 53 of 184. PagelD #: 494

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 51

the bookkeeper for Squirrels Research Labs, and thus why
this reconciliation is happening so late in the year,
once Squirrels Research Labs had its own accountant.
Q Did Amanda McConnell ever work for Squirrels
LLC? Or did she only work for Squirrels Research Labs?
A She was employed through Squirrels LLC during
her initial hire. There were, I think, only two hires
that were -- maybe more -- where Squirrels LLC actually
hired the employee on behalf of Squirrels Research Labs,
because Squirrels Research Labs did not have any payroll
processing, or HR, or accounting set up at that time.
And so they were briefly employed by Squirrels LLC
before Squirrels Research Labs got all of those systems
in place.
COURT REPORTER: And I'm sorry, Mr. Sisto,
before I forget, what exhibit number is this?
MR. SISTO: i'm sorry. Thank you. This will
be Exhibit 14.
(EXHIBIT 14 MARKED FOR IDENTIFICATION)
COURT REPORTER: 14? All right. Thank you.
BY MR. SISTO:
Q And just to make it clear for the parties,
they produced these checking account reconciliation
statements by month, and I have combined them into a

single PDF. That's just to make it clear what we're

§02.589.2273 Phone
502.584.0119 Fax
schedule@@kentucktanareporters.com

KEN TUCKI ANA yovw. kentuckianareporters,cam

—- COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 54 of 184. PagelD #: 495

The Deposition of DAVID STANFILG, taken on April 13, 2022
Confidential

52

talking about. It's their production, but it has been -
- no other alterations other than trying to clean up the
fidelity a little bit and combining it into a single
PDF. So Mr. Stanfill, so thank you for indulging my
document rant there for the record. We see payments.
This is the August 2018 pay -- the debits from the
account. For the first time, there were none to Avnet.
In July, now there are payments to Avnet as weil as
significant -- I mean, I'm going to eyeball it here, but
with the understanding that I'm not being totally
precise. There are over half of a million in debits to
both Squirrels LLC and to Avnet over the course of
August 2018. Does that sound like it's accurate?

A Yes. That would match with what I've laid out
before, which is by basically September, Squirrels
research labs was operating all of its own accounts and
had its kind of systems up and running and smoothly. And
so, the past three purchases that Squirrels LLC had
managed would mostly be items where delivery, you know,
orders had been placed prior, and delivery wasn't
received until August or September. And thus, you know,
there was a balance due on delivery, things of that
nature.

Q And so, there was a balance due on delivery.

That would be when Avnet would be paid. We see a very

402.589.2273 Phone
De 502,584.0119 Fax

a schedule@kentuckianareporters.com
KENTUCKIANA www. kentuckianareporters.com

—— COURT REPORTERS

Keotuckiana Reporters
P.O, Box 3983
Louisyitle, KY 4020)

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 55 of 184. PagelD #: 496

The Deposition of DAVID STANFITLL, taken on April 13, 2022

Confidential

53

small -- I mean, relatively small, given the size of
gome of the other payments, to Avnet on August 2, 2018.
That would -- the product would've been received by
Squirrels research labs. And that's when now you're
doing business, you, meaning Squirrels research labs and
not Squirrels LLC are doing business with Avnet
directly. So therefore, they would pay that bill to
Avnet at that time.

A Yes. Yes. And it would vary based on the
backing vendor that Avnet was distributing for -- some
would require deposits upfront. Some of them would
require fully paid upfront. Some would require, you
know, would completely ship the product and bill net 30.
There was some variance in terms based on Avnet's
upstream vendors criteria.

Q So you had -- you had -- you had some where
you were prepaying and somewhere you were expected to
pay immediately upon delivery and somewhere you had up
to a month and --

A Correct.

Q -- lifetime. But those would still all be
reflected as Avnet here in the ledger.

A Avnet would've been the vast majority. There
were other vendors up for electronics components,

principally Digikey Incorporated and Mouser were the

507,589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.cont

KENTUCKI ANA www. kentucklanereporters.cam

o-— COURT REPORFERS oe

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 4020]

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 56 of 184. PagelD #: 497

The Deposition of DAVID STANFIUL, taken on April 13, 2022
Confidential

54

other two large vendors for electronics components that
we relied on.

Q So we see these payments, being Avnet smaller
payments, but here in August 2018, there's still
payments for -~ there's a payment for almost $400,000, a
payment for just over $200,000, to Squirrels LLC was
one. And then, there's many, many smaller payments.
Were these all for product at this point still?

A Yes. And I can give you a ballpark piece here
that in total, I believe almost $9.5 million of product
was purchased where Squirrels LLC did the procurement.
And relative to that, the services and that Squirrels
LLC provided was -- I don't know the exact number, but
was in the order of magnitude of $500,000, relative.

Q Okay. Do you know why there'd be a $205,000
expense with, with no pay listed?

A I do not. I don't have the records --

Q I'm sorry. I interrupted you. Just for the
record, I was referring to an entry on August 27, 2018,
with a $205,000 expense with, with no pay. So we see
individuals receiving checks. There's an individual
named Haokai Feng, a check for $36,000, Milo Rodriguez,
just under $11,000, several other names with smaller
checks. Who were these individuals receiving checks

from Squirrel's Research Lab at this time?

502.589,2273 Phone
502.584.0119 Fax
schedute@kentuckianareporiers.cont

KENTUCK! ANA win, kentucklanareporters,com

— COURT REPORTERS ----

Kentuckiana Reporters
PG, Box 3983
Louisville, RY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 57 of 184. PagelD #: 498

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

55

A So at that time, it looks like late August.
Those would've been refund requests that were being
processed.

Q And what -- what -~- what was the refund for?

A There had been a delivery delay from our
upstream suppliers. And despite the fact that we sold
all the product as built-to-order, non-cancelable,
non-returnable, again, we were trying to establish a
multi-year, much larger business. We didn't want to
build the reputation of being difficult to deal with.

So as we've got some smaller refund requests when we
notified those customers that their product would not be
delivered on the original timeline, we did our best to
issue corresponding refunds.

Q Did any refunds come from Allmine or minority
or any other kind of third-party relationship you had?
Were they always directly to Squirrel research labs?

A ~ don't have direct knowledge of those
business operations, but I do recall that Tom Sensel,
the principal of All Mine incorporated had processed
some -- some refunds directly himself. He was also very
concerned about the, you know, reputational hit from the
late deliveries. I don't believe minority ever
processed, to my recollection, any refunds themselves.

They would've relied on us to do that.

402.589.2273 Phone
502,584.01 F9 Fax
scheduke@kentuckianareporters,com

KENTUCKI ANA www. kentucklanaceporters.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40208

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 58 of 184. PagelD #: 499

The Deposition of DAVID STANFILU, taken on April 13, 2022
Confidential

56

Q Did Squirrels LLC ever provide any refunds
directly?

A tT don't believe so, but I can't say
definitively.

Q Mr. Stanfill, part of me, my mouth is getting
very dry and I'm already having muffle problems. So I'm
going to grab a glass of water. Can we reconvene at
11:00 a.m.? Is that all right?

MR, MERKLIN: Yeah. Now, before we do that,
Bryan, can you give me roughly what time you
anticipate roughly taking a lunch break so I can
make sure I order something for us?

MR. SISTO: I'm really able to do that at your
convenience. I don't -- I don't mind. I do think
that, again, it's hard to estimate, as you know,
Mare. I don't think that this will last past the
late afternoon. I think we're -- Mr. Stanfill is --
anyway, I mean, it's proceeding. Well, it's hard to
know until you sit down. Why don't we --

MR. MERKLIN: Can we suggest that somewhere in
that range to noon, we'll take a break?

MR. SISTO: Sure. How about we come back for
another hour? tbet's say 11:05, if that's okay. And
we'll go until 12:15. Is that okay?

MR. MERKLIN: That's fine,

502.589.2273 Phono
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentucklanareporters.com

— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 4020)

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 59 of 184. PagelD #: 500

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

57

MR. SISTO: And then, is 45 minutes enough?

MR. MERKLIN: That -- that's plenty.

MR. SISTO: Okay. Or I can come back. We can
come back earlier if you'd like. 45 is probably
good just to give everyone a Little break, and then
_- so we'll reconvene here at five after 11. We'll
talk for 70 minutes and then we'll take a 45-minute
break and then reconvene at 1:00. Is that a good
kind of general plan?

MR. MERKLIN: Works for me.

MR. SISTO: Great. Thank you. All right. I'ii
gee you folks in a few minutes here.

(OFF THE RECORD)
COURT REPORTER: Okay. We're back on record.
BY MR. SISTO:

Q David, I'm going to apologize in advance. This
next section of our discussion is going to be a little
bit tedious, but it's something that we need to do. If
-- if a hearing yesterday had gone differently in case,
this might have been muted. But as of now, it's
something that we need to discuss. I'm going to show
you an exhibit here in a moment. And I want to try to
do this efficiently because it will be a little bit
tedious, but I'm going to show the asset purchase

agreement from the case. This is -- we're moving way

§02.589.2273 Phone
502.584.0119 Fax
schedule@kentucklanareporters.com

KENTUCK! ANA wie. kentuckianareporters.com

—— COURT REPORTERS

Keniuckiana Reporters
P.O, Box 3983
Louisville, K¥ 40205

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 60 of 184. PagelD #: 501

The Deposition of DAVID STANFILL, taken on April 213, 2022

labs that were sold to Instantiation as part of the sale
of the bankruptcy case. And there are many pages.
I do think we can do this relatively quickly,
though. So let -- I'm going to tell you what -- how I
think we can handle it. Let me know what you think. I'm
going to go through the assets that were sold and I
would just -- and all you need to do is look over the
page and then tell me when you're done with the page and
we'll move to the next page. I would like you to
identify things that were not purchased from Avnet
originally to -- by Squirrels Research Labs. Does that
make sense?
MR. MERKLIN: Before you ask him that, I'm

going to generally object to the extent it requires

a legal conclusion as to what is or is not covered

by a purchase money security interest. But if you

want to ask him based factually upon what components

there are, obviously I have no objection to those

questions. But I'm going to object to the extent

you're requiring to get a legal answer.

MR. SISTO: And Marc, and I appreciate that
objection. I'd be making the same objection in your

place, but I did -- that's why I was very careful

Confidential 538
forward in time to where -- what we were discussing
previously to the -- to the assets of Squirrels research

562.589.2273 Phone

Kentuckiana Reporters 502,584,0119 Fax

P.O, Box 3983

Louisville, KY 40201 schedule@kentuckianareporters.com

KENTU CKI ANA www. kentickianareporters.com

— COURT REPORTERS ~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 61 of 184. PagelD #: 502

The Deposition of DAVID S'TANFTUL, taken on April 13, 2022

Confidential

59

not to say what was covered by a security agreement.
I'm just -- I'm asking us just was not purchased
from Avnet and this -- that's none of Mr. Stanfill's
jesue whether or not it was covered by a security
agreement. And I think that's an issue between
other parties, but IT -- as part of this discovery of
the 2004 process, no one has yet provided detail on
what this stuff was purchased by Avnet or not. And
that's the --

MR. MERKLIN: I'm not -- Bryan, I'm not
objecting to the question. You can ask him what
components or what portion of components for Avnet.
I'm gimply making a record objection as to any legal
conclusions. That's all.

MR. SISTO: Thank you.

BY MR. SISTO:

Q No. And what I was trying to do was, was, was
buttress what you were saying by, I don't want him to
provide that and I hope I'm not asking for that. And I
appreciate that your -- your objection. So let me first
say, did -- as a more general statement, Mr. Stanfill,
did anything that -- any computer hardware that was sold
to Instantiation come from anywhere other than being
purchased from Avnet?

A I find that question a little bit difficult to

502.589.2273 Phone
502,584.01 19 Fax
scheduleq@kentuckianarepoiters.com

KENTUCKI ANA www. kentucklanareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 62 of 184. PagelD #: 503

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

69

answer, so I'm going to give you --

Q I can try to ask a better question. Or if you
feel comfortable answering, go ahead.

A Let me give you two answers. No outside of
the context that much of the computer hardware that
Squirrels research labs sold was in fact built and
assembled by Squirrels research labs. So it did not
come from Avnet in the form it was sold.

Q Thank you. That's -- so there were -- there
were no other vendors other than Avnet for which you
bought computer hardware?

A There were small accessories that we sold that
were purchased directly from other vendors and resold.
So T do need to include those in this.

Q Okay. Again, let's try to do this quickly. I
know it'll be a little bit tedious, but I think, ‘you
know, I think we can get it done. 1 would appreciate if
you identified things that were simply just not
something that had anything to do with Avnet. All
right? Just identify those items. Or if there is
something that's sold, but it was -- if its only
components that Avnet -~- you bought from Avnet, you
don't need to identify that. But please identify
anything if it was combined with any component, if that

makes sense, that was not purchased from Avnet, even if

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.cons

KENTUCKI ANA www. kentuckianareporters.com

—— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 63 of 184. PagelD #: 504

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

61.

-. even if it was mostly purchased from Avnet. Does
that make sense?

A Yes, I understand what you're --

Q All right.

A -- you're attempting to -- a better word.

you that this is the exhibit to the asset purchase
agreement that was filed in the bankruptcy case. This
is the second version of it. After some items were
removed, this is the version that was filed on -- this
may, I may have pulled the original version, but for
purposes of what I'm asking for you to do, I, you know,
Mr. Merklin's put his objection on the record as far as
no legal conclusions. And I think that it, that we can
still go through it in this form. So you understand
that this is the, that this is the asset purchase

agreement for, for the items that were sold to

Instantiation?
A Yes.
Q Okay.
COURT REPORTER: And Mr. -- I'm sorry,
Mr. Sisto, is this -- what number is this?

MR. SISTO: This is exhibit 11. Thank you,
ma'am. I appreciate that. I need to remember that.

(EXHIBIT 11 MARKED FOR IDENTIFICATION)

Q Thank you. Thank you. So I'm representing to

302.589.2273 Phone

Kentuckiana Reporters 502,584.01 19 Fax

P.O, Box 3983 _ +
Louisville, KY 40201 schedule@kenbackianareporters.com

KENTUCKI ANA www kentuckianareporters.conm

—— COURT REPORTERS =~

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 64 of 184. PagelD #: 505

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 62

COURT REPORTER: No, you're fine. And then I -
_ for the last one, the protective order. Is
everything you talked about under that protective
order?

MR. SISTO: No, this exhibit is a public
document. It is not part of the protective order.

COURT REPORTER: Okay.

MR. SISTO: Mare and -- I should ask actually,
now that I think about it. To the extent that
testimony was offered on the detail in those
accounts, do you want the entire deposition
transcript to be subject to that protective order?
Are you only interested in the exhibit being subject
to the protective order?

MR. MERKLIN: I'm only interested in the
exhibits for those questions.

MR. SISTO: But you're fine that some
information was shared from those exhibits? That
will be part of --

MR. MERKLIN: Yeah, I reserve the right,
Bryan, to invoke the confidentiality if we get into
things like account numbers or personal information.
No personal identifier information, but --

THE WITNESS: You did name some specific

customers. And I would generally view that as -- we

402.589.2273 Phone

Kentuckiana Reporters 502,584,0119 Fax

P.O. Box 3983

Louisville, KY 40203 schedule@kentuckianareporters.com

KENTUCK! ANA www. kentuckinnareporters.com

— COURT REPORTERS ~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 65 of 184. PagelD #: 506

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

63

are not entitled to disclose the name of specific
customers.

MR. MERKLIN: Yeah. So that's a good point. We
should probably have those customer names subject to
the confidentiality provisions.

MR. SISTO: Okay. I don't really have a
problem for the -- because if anything like that
ever would need to be introduced, we'd obviously
have a conversation about that down the road. But
to make it easy for right now because we'd have to
do that anyway, why don't we just mark this
deposition as subject to the protective order?

MR. MERKLIN: That's fine.

MR, SISTO: I mean, I'll -- and I assume that
we all work in good faith for things. I clearly
wouldn't have a problem being introduced into the

record if they needed to be down the road.

BY MR. SISTO:

Q So all right, Mr. Stanfill. So let's -~ let's
go through this. And some pages are probably going to
have nothing and others, you might be just doing a lot
of tedious reading, but let's go through and say, again,
are the things that did not come involved with Avnet? In
other words, things that had nothing to do with Avnet,

or if a component was included that was not purchased

502,589,.2273 Phone
502.584.0119 Fax
schedutegdkentuckianareporters.com

KENTUCKI ANA wivw. kentucklanareporters.com

-— COURTREPORTERS =~

Kentuckiana Reponers
P.O. Box 3983
Louisville, KY 40201

24

a5

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 66 of 184. PagelD #: 507

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

64

from Avnet.

A Yeah. And I'm -- I'm going to obviously go
along with this, although I will state that this is,
this is, a very tedious mechanism of accomplishing this
goal. In general, you're going to hear answers, because
anything that we assembled includes the circuit board
and every circuit board did not come from Avnet. So in
answering your question, I am -- for the vast majority
of items until we get to the electronic components,
everything on that page either didn't come from Avnet or
included something that didn't come from Avnet.

Q And if -- if -- if -- if you see that in that
way, I'm fine if you make an answer like that if you're
comfortable making it, so that you don't have to
actually read off every item. So to break a little bit
of the tedious, if possible. Okay. So however you want
to convey the information, as long as it's accurate, is
fine with me. Is that okay? All right.

A Yeah. I'm perfectly fine to just read through
this list and provide the answer on the -- after the
reading each item, if that accomplishes your goals.

Q Yep. Let's go -- let's go for it. Thank you.
Thank you for working out that strategy with me.

A Okay. Acorn -- Acorn CLE101 is a combination

of parts from and not from Avnet. Acorn fans are not

502.589.2273 Phone
502,584,0559 Fax
schedule@keniuckianareporters.comt

KENTUCKI ANA ww. kentuckianareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 67 of 184. PagelD #: 508

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

65

from Avnet. QSFP are not from Avnet, Nest fans are not
from Avnet. Acorn CLE215 plus heat sync is not from
Avnet. Acorn 101 ready to ship is a combination.
Thermal pads of four-millimeter, two-millimeter, and
three-millimeter size gray are not from Avnet. Cooling
fins, BCU passives are not from Avnet. PRM heat sinks
for acorns are not from Avnet. Acorn CLE215 heat sinks
are not from Avnet. BCU back plates are not from Avnet.
I'll clarify. I am not directly familiar with
which version of the BCU backplate that is. There is an
original BCU backplate, which was upgraded by Squirrels
research labs and the original version would've been
from Avnet, and the upgraded version was not. So some
ambiguity on that one. Heat sink, there's ambiguity as
to which heat sink that refers to without it in front of
me. I'm going to say that's generally not from Avnet
except for heat ginks that would've been factory
originals on BCU accelerators that were upgraded. Fan
plate BCU active, not from Avnet. BCU duct, not from
Avnet. Heat conduction adhesive, not from Avnet. 11
tubes of solder paste, I can't definitively say, but
which vendor we sourced those from. Red toad of M2
thunder board adapters not from Avnet. BCU water
blocks, not from Avnet. 800 ESD miscellaneous chip

trays, not from Avnet. Solder paste, again, I can't

502.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

FO, Box 3933

Loulsvitle, KY 40201 schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

— COURT REPORFERS «~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 68 of 184. PagelD #: 509

The Deposition of DAVID STANFILD, taken on April 13, 2022

Confidential

66

definitively say which vendor they were sourced from.
Miscellaneous wired, not from Avnet.

Q Thank you. I am scrolling here.

A S¥64 Acorn 215s, those would be a combination
of parts. Acorn 215 plus, ready to ship, a combination
of parts. 2TPS EBM evaluation kits, thoge would not be
from Avnet to my knowledge. Scrap PDU internal parts,
not from Avnet. Miscellaneous dev acorn nests, those
would be a combination of parts. 15 bit main power
supplies bad, not from Avnet. 11 HP power supplies,
bad, not from Avnet. 3X Acorn 101s, those would be a
combination of parts. Box of camo spray paint,
approximately 30 cans, not from Avnet. Acorn 215, ready
to ship, that would be a combination of parts.
Miscellaneous large wood pallets. f can't definitively
say whether those were part of an Avnet shipment or not.
FF12 NF broken Juki feeder, not from Avnet. I'm going
to a little bit abbreviate that all Juki feeders are not
from Avnet. And so, I will skip those in the rest of
this.

Q Thank you.

A Acorn 215 plus, that's a combination of parts.
six cans of Rustoleum spray paint, that is not from
Avnet. Four cans of galvanized spray paint, not from

aynet. Four MTS 32 boxes, those would be from Avnet.

502.589.2273 Phone

Kentuckiana Reporters 402.584.0119 Fax

P.O, Box 3983

Louisville, KY 40201 schedule@kentuckianareporters.com

KENTUCKIANA wow. kentuckianareporters.com

= COURT REPORTERS oo

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 69 of 184. PagelD #: 510

The Deposition of DAVID STANFILI, taken on April 13, 2022
Confidential

67

Acrylic from BCU water block, serap, not from Avnet.
M2PCIF adapter, that is not from Avnet. M2PCIE cable,
not from Avnet. Thermal pads, 1,.5-millimeter gray, not
from Avnet. 13 boxes, MX water blocks and back plates,
not from Avnet. Thermal pads, half a millimeter, gray,
not from Avnet. Unshielded ram ballistic four gigabyte
DDR four dims, I do not believe those were purchased
from Avnet, but I can't go be 100 percent sure that they
didn't route through Avnet. Ten boxes FK passive heat
sinks, not from Avnet. Shielded ram ballistic four
gigabyte DDR four dims, again, I do not believe that
they were from Avnet, but it's not impossible, Those
were purchased from Avnet.

10X, 30 port manifolds, those are not from
Avnet. Lebert EPA 150CP use, quantity 13, not from
Avnet. Parmsco filter tank, not from Avnet. All three
Generac generators, not from Avnet. The KISS selective
solder machine is not from Avnet. ‘The used QSFT cables
are not from Avnet. The Generac system controller and
GTS system panel is not from Avnet. The DHA2E automated
rework system and toolkit is not from Avnet. The
200-volt slay crypto PUs are not from Avnet. The Brad -
- Brady I5-100 printer and two spools of labels, I do
not believe it's from Avnet, but you know, it's not

impossible. We -- we ask them to be the provider for

402.589.2273 Phone

} 502,584.01) £9 Fax
Se schedule@kentuckianareporters,com

KENTUCKIANA www. keotucklanareporiers.com

— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 70 of 184. PagelD #: 511

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

68

that.

Q So let me interrupt our exercise here for --
there are some things that are just, 1 guess I would
call it -- I would say our office supplies are not
necessarily high end, FPGA or computer hardware, those
names. I don't know. There's not -- there's some non-
high-end stuff that is from Avnet. Is that accurate on
-- clearly from what you're answering?

A Yeah. If I was doing this, I probably
would've sorted the original spreadsheet by price and

gone through the high value items first, but we're,

through it.

Q There is -- there is price on some of the
schedules of some of these items, but the -- but there
are many, many items that were part of the asset
purchase agreement that are not on the schedule. 60 I
apologize, you know, that I -- I know what you're
saying, but --

A I'm happy to burn through it.

Q And again, if you want to look down the list
and kind of provide -- I think this initial part is --
gounds like these are more not from Avnet than are, so
if you want to just go through and identify things that

are from Avnet or -- but however, if you're fine doing

we're going the way we are and we can probably just burn

402,589,2273 Phone

Kentuckiana Reporters 502,584.01 19 Fax

P.O, Box 3983

Louisville, KY 40201 KENTUCK! ANA wry keritucklonareparters.coin

-— COURT REPORTERS --

schedule@kentuckianare porters,comt

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 71 of 184. PagelD #: 512

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

69

it this way, I'm fine with that too. I just -- you
know, I do appreciate that you're doing this. I know
it's -- it is what it.

A Yeah. I'll -- as I go through these, I'll,
T'll go and just identify things that either are maybe
from Avnet. On this page, nothing on this page is from
Avnet. All the way through down, miscellaneous, damaged
PCIE tables.

Q Yeah. Thank you. And ~~ and I would
appreciate in this kind of situation if you just put the
first and last items on the records so that the record's
clear, because we're looking at sections of pages.

A Yeah. 50 horsepower red fire pump through
miscellaneous damage, PCIE cables are not from Avnet.
The Molex hand crimp applicator 200218220A is from
Avnet. And otherwise, what's present on the screen
right now, everything from miscellaneous C13 cables
through LTR system tape rolls is not from Avnet. 11
Esther breakouts with PCIE cables, that's a combination.
Those are assembled from parts that may include Avnet.
Everything from rolling trash can -- through white
rolling 40-gallon trash can through -- through
approximately 732 common slot breakout boards is not
from an Avnet. The Acorn Nest X2G ready to ship is a

combination.

502.589.2273 Phone
502,584.01 19 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareperters.com

— COLAT REPORTERS >

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 72 of 184. PagelD #: 513

The Deposition of DAVID STANFILL, taken on April 43, 2022

Confidential

70

Q Can you briefly describe when you -- when
something's a combination, what, what, what would be --
I mean, is that hardware purchase. from other vendors or

A Almost everything that I'm describing is a
combination is basically a copper and fiberglass circuit
board on which a number of electronics components are
soldered, potentially with a heat sink added to it. In
that case, the copper and fiberglass circuit board is
not from Avnet. The heat sink or thermal solution is
almost entirely not from Avnet, but all the electronic
components on it, it's not guaranteed that all of them
are, but the majority of them are likely from Avnet.

Q Thank you. I appreciate that.

A Let me look through this. ‘The -- 80
everything from three pallets ladder racking down
through the Libre 10 fan dry cooler would not be from
Avnet. Thermal paste could be from variety of vendors,
including Avnet. The Jungle Cat gcc 4pv2 partial serial
numberg listed; those partially constructed boards would
be a combination. ‘The pallet of miscellaneous single-
phase PUs is not from Avnet. The boxes of used vinyl,
tubing, and brass barbs are not from Avnet. The Juki
cart feeder is not from Avnet and the AMD epic server

blue light called Mushroom Hill ig not from Avnet.

§02.589.2273 Phone
502,584.01 [9 Fax
schedute@kentuckianareporters.com

KENTUCKI ANA woyw. kentuckianareporters.com

— COURT REPORTERS oo

Kentuckiana Reporters
PO, Box 3083
Louisvilte, KY 40201
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 73 of 184. PagelD #: 514

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

FL

Looking at this, everything from 632 gigabyte better PC
microSD cards down through cooling fin/BCU passive-used,
which igs right following the GKGG5, serial number
61123067, that entire section here is not from Avnet.

Q I appreciate how -- how you are making this
very clear for the record. Thank you for doing that.

A Yeah. There are some items that are
ambiguously named and may appear in similar naming other
places. So i'm trying to be --

Q I really do appreciate that. Thank you. You
can go ahead with this page when you're ready.

A Yeah. Everything from 1X small dry cooler
through Intel back plate, which is right below fan QFR
1212, is not from Avnet. Quantity 93 miscellaneous SMT
part trays, maybe from Avnet. Active FK heat sync used,
parenthesis heat sync, 48 not from Avnet. So on this
page, I'm going to point out a few items that are from
avnet. But for the record, this page is from FE24NS,
parentheses four. Right above 120-millimeter fan
guards, black, down through screws steel -- excuse me.
Give me one moment here. Down through screws, steel, M2
Sx5, on this section, the items, the box of 319 USB
cables did come from Avnet, and all other items did not
come from Avnet.

Q Thank you.

$02,589,2273 Phone
bs : 502.584.0119 Fax

Se schedule@kentuckianareporers.coms
KENTUCKIANA www. kentuckianareporters.com

— COURT REPORTERS -~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 74 of 184. PagelD #: 515

The Deposition of DAVID STANFILHL, taken on April 13, 2022
Confidential 72

A Okay. We are looking at the section from nest
risers used, followed by heat sink 4BCU, 22 millimeter
by 22 millimeter by 10 millimeter, down through Juki
nozzles, one blue bin, 15 cases. In this section, there
are two Molex crimp applicators that are from Avnet. And
that is the only item that's from Avnet.

Q I'm sorry. I lost where we were on the --

A six box or -- sorry, Juki nozzles, one blue
pin, 15 cases was the end of the previous session.

Q Thank you, sir. TI appreciate that.

A So we are going from six boxes, a hundred- foot
vinyl tube unopened, followed by six PDUs on test
stations down through FF24FS feeder followed by 24-
millimeter PEM, P-E-M, feeder. In that section, there
are approximately 100 SORL breakouts taped that are a
combination. There are ten ESD mats that 1 cannot be
sure were not ordered from Avnet. Or to be more clear,
may have been ordered from Avnet, but I'm unclear on the
yendor. There are RFM4M and JCC2N prototypes, which are
a combination. And all other items are not from Avnet.

Q I'm going to put here on the record that you
are, are -- have provided a significant sampling of
these items. And what we're looking at now, I'm going
to call the -- I know there is some hardware items and

what we've looked at, but you -- I'm trying to think of

402.599,2273 Phone
502,584,019 Fax
scheduledikentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.coen

—— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisviile, RY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 75 of 184. PagelD #: 516

The Deposition of DAVID STANFILL, taken on April 13, 2022
confidential 73

a way to characterize what we look at.

A So what we are looking at is really --

Q Tf you could characterize it for me -- because
T'd like to move past -~- because I think we've looked at
a good representative sample and into the more hard, you
know -- but go ahead. You were already doing it before
I started talking.

A Yeah. In the, in the creation of this list in
the first place, what we are looking at is the list of
production equipment. So tools and accessories that go
along with the production equipment as well as the macro
bill of material parts that are associated with cooling
or cooling assembly, the majority of which is not
provided by Avnet.

Q And Mr. -- I'm anticipating maybe an, an
objection for the record ahead of this question. But f
know that you are not an expert on this, but is it -- is
it fair to say that there is, there is value in the
items that are not from Avnet that we've discussed so
far, that is not de minimis value?

MR. MERKLIN: If you know.

A That's very broad, so value, yes. I'm
defining de minimus here.

Q Let's say, are these things that are -- that

were important in the -- in SQRL's business that -- to

§02,589.2273 Phone
aa $02,584.0119 Fax

i” scheduleg@kentuckianareporters.com
KENTUCKIANA wiww.kentuckianareporters.com

-— COURT REPORTERS =~

Kentuckiana Reporiers
P.O. Box 3983
Louisville, RY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 76 of 184. PagelD #: 517

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

7A

operate the business, even if they're not worth hundreds
of thousands of dollars?

A Yes.

Q Do you think that --~ again recognizing that
you're not an expert, but also recognizing that you are
the principle for the business, that we've covered
10,000 in aggregate value with these different items
that we've talked about?

A 1 would gay you've covered at least $10,000,
yes.

Q And -~ and I know that those are general
questions and if -- if more detail into that world is
required, I think that can be appropriately addressed by
other parties at the time. But I do appreciate your,
you know, getting kind of a general understanding of
what's going on there. I'm going to move to, I think,
the next section of the -- I think there's like a change
in the way that it looks.

A It turned blue.

Q Okay. It turned blue. So this is -- I think
that at this point it's going to be easier to identify
things that did not come from Avnet. Because my
understanding is that the vast majority of these items
came from Avnet. Could you provide us a general

understanding of what the change is -- we've skipped

§92.589.2273 Phove
bs : 502.584.0119 Fax

had schedule@kentuckianareporers.conmt
KENTUCKIANA wivw. kentucklanareporters.com

—— COURT REPORTERS ~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 77 of 184. PagelD #: 518

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

75

about, for the record, 10 pages in the APA, probably
another 100, 150 items that were part of the previous
topic that we discussed. So what are we looking at now,
Mr. Stanfill?

A This ig the list of items that were considered
electronic components, that were used for the production
of electronical circuit boards. ({Inaudible) --

Q And is it fair to say that these were the
higher value portion of what would be, I know that's a
general question, but of all of all would be sold in the
sale?

A Yes. These represented the vast majority of
our cost of goods sold bill of materials.

COURT REPORTER: And I'm sorry, Mr. Sisto,
you're muffling a lot.

MR. SISTO: Sorry. Thank you for letting me --
I don't know, what's going on with that. I'il try
to --

COURT REPORTER: It's more towards the end of
your question.

MR. SISTO: I feel like I back away at the end
of my question. As if we were in person, I was
trying - - I'm trying to give him space to answer.
So thank you. I'll just keep leaning -- leaning in,

COURT REPORTER: Thank you.

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentucklanareporiers.com

— COURT REPORTERS

Kentuckiana Reporters
PG. Box 3983
Louisville, KY 4020£

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 78 of 184. PagelD #: 519

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 76

BY MR, SISTO:

Q Mr. Stanfill, is there anything on this page
that did not come completely from Avnet?

A I'm not going to be able to definitively
answer that without, you know, consulting our -- our
sourcing for every individual part number of which there
are hundreds, and I don't have in my memory. I can aid
you in this by indicating that nothing on this page of
value to my knowledge is not from Avnet. Of significant
value.

Q Okay, let's define significant value as
something that would be over $1,000, all right? Because
there's lots of items here, so they might aggregate to a
significant value even if --

A Yeah, keep it -- sorry, I didn't mean to cut
you off. Keep in mind that for electronics components,
you know, some of these reels of components might
contain 200,000 items the size of a grain of sand. The
aggregate value of which is significant, but the
individual value is fractions of a cent.

Q Exactly. So I mean, I would be interested to
know if the aggregate value was significant, even if the
-- even if the grains were not significant in and of
themselves. And if they were not something that you

purchased from Avnet, does that -- you understand what

502,589,2273 Phong
7 . $02,584,0129 Fax

SP schedule@@kentuckianareporters.com
KENTUCKIANA www. keotucklanareporters.com

— COURT REPORTERS

Keatuckiana Reparters
P.O. Box 3933
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 79 of 184. PagelD #: 520

The Deposition of DAVID STANFILEL, taken on April 13, 2022
Confidential

77

I'm saying, right?

A Yes. Yes.

Q So the last item for the record was A4 215+
revA4. And the first item on the new display, and just
for the record this is page 66 of document 124 on the

record in the case, the new -- the first new items

wholly provided by Avnet?

A ¢o there are three items that begin with
MT25QU. They're slightly different, but they're the
only items on this page beginning with MT25QU, Those
may have been provided by Avnet, but it was faixrly

common that those would be provided by Arrow as a

vendor.
Q are those items of value?
A Those are items of value ona individual and

aggregate basis and I think that's about it.
Q Recognizing that you're not an expert

necessarily, whether you have, you know, industry

of the at cost value of those items?

A Let's say that they may be as high as $10 a
piece depending on market circumstances.

Q So I'm looking at the one in light blue

shading fourth from the bottom, MT25QU512. Do you see

R4215A4. Are there any items on this page that were not

exposure, Clearly. Could you do a ballpark of just kind

$02.589.2273 Phone

Kentuckiana Reporters 502.584.0419 Pax

P.O. Box 3983

Louisville, KY 4020! KENTUCKI ANA www kentuckinnareporters.cont

—— COURT REPORTERS ~~

schedule@kentuckianareparters.com
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 80 of 184. PagelD #: 521

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

78

the one I'm referring to?

A Yes.

Q Tt'g 22,500 units?

A Yes. And depending on exactly when those were
purchased, they could have been worth, from my
recollection, anywhere from -- from $3 to $4 to about
$10 in range. So that would be --

~Q A $100,000 to $250,000 it could be
potentially?

A Potentially, yes. Additionally --

Q Go ahead.

A _- additionally the LTC7150, all parts of
LTC7150 would've -~ are not on Avnet's line card and
would've been from Arrow. Those may be a couple doliars
each. You have 6,782 of those, so for privative, that
may be §20,000 there.

Q Okay. Let's just like we did for the last --.
Let's go through -- I'm not going to go through every
single page, but let's -- and of course if this became
an igsue in the case, we would have to do that in some
form, but let's just get a sample kind of like we did
and I won't make you go through everything. But let's
do a couple more pages, thank you.

A No probiem.

Q T'1l read it is, beginning with LTC360,

402.589.2273 Phone
§02,584,0119 Fax
schedwle@kentuckianareporters.com

KENTUCKI ANA www. kentucklanareporters.com

— COURT RGHORTERS -~

Kentuckiana Reporters
P.O, Box 3983
Louisville, K¥ 40205
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 81 of 184. PagelD #: 522

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 793

3636EUFD and then it ends with 8153340. Go ahead. Thank
you.

A Yes. On this page, the IRC3636, the
MT25QU512, I'm using just the first few characters and
the 9153340, those parts may be -- either may be or are
highly likely not from Avnet.

Q and would there be some value for those parts?

A Yes, it would be, you know, it looks like
maybe $15,000 for the LTC3636, And I -- these price
estimates are -- are, you know, ballpark recollections.
I could be off plus or minus --~

Q tT understand, I appreciate that, but yeah.
I'll put that on the record myself, that I'm asking you
for ballpark estimates. That's -- that's all I'm
asking.

A Yeah, it might be $25,000 ~-- probably $20,000
of the MT25QU512, And the S15340-B might be $10,000.

Q That's what I thought it was the last one we
looked at so. All right we moved down to MCP9804 is the
first item, and then HTBO750 is the final item. This is
page 57 of the asset purchase agreement.

A So in this case the $153305-B-GM would be the
only item I see on this page.

Q Would that have any value?

A That might be -- there's 1,325 of them, so

502.589.2273 Phone
$02,584,.0119 Fax
schedule@keatuckianareporters.cont

KENTUCKIANA www. kentuckianareporters.com

— LOURT REPORTERS ~

Keniuckiana Reporters
P.O. Box 3983
Louisville, KY 40291

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 82 of 184. PagelD #: 523

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

80

collectively that might be 6,000 or $7,000.

Q Thank you. I'm just going to the next page.
The first item will be 9774025151R, and the final item
is CM3440Z171R.

A I'm reviewing this list. I don't see any part
numbers on this list that would commonly have been
purchased from anyone but Avnet.

Q Let's scroll down to an item that begins
ASDMPLV. And the final item is CRCW0201249RFNED.

A These all appear to be items that would come
from Avnet.

Q Moving on to page 69 of the asset purchase
agreement. First item L39050PUT5R, and the final item
is MAX34406TETG+.

A On this page, the $15345A-DGM, there's only 75
of them go it's de minimis value, but that would not be
from Avnet. The GPU-AP-B and GPU-AP-RA might be
collectively $6,000, that's not from Avnet. And the
LTC3636BRUFT, 219 of those, so maybe $1,000. That would
not be from Avnet.

Q Let's do -- let's do two more pages and I
think we'll have had a nice sample. And I appreciate
you -- you engaging in this exercise with me here. I've
scrolled down to the first item. C0402 are the first

five digits, and then LTC6908CS6 is the final item on

502.589.2273 Phone

Kentuckiana Reporiers 502.584.0119 Fax

P.O. Box 3983

Louisville, KY 40261 schedule@ikentuckianareporicrs.com

KENTU CKI ANA wow. kentuckianareposters.com

— COURT REPORTERS -

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 83 of 184. PagelD #: 524

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

ai

the page. This is page 69 of the asset purchase
agreement.

A I believe only that final item, the LTC6908CS6
as a -- aS a LT part that Avnet can't supply. There's
476 of those that may be less than $1,000 value.

Q Moving on to page 70 of the asset purchase
agreement, the first item begins 20021111. The final
jtem on the sereen currently is UCL1C102 are the
beginning digits.

A The only item I see on this page is the
LTC4413, there's about 200 of them, It's less than $500
value.

Q I've scrolled down on the page to an item
BML31 is the first five digits. The final item on this
page AON7400A.

A These all appear to be part numbers we could
source from Avnet.

Q So Mr. Stanfill, thank you for going through
it again, I think that's a good sample. I won't -- we
would be here for a long time if we went through every
single one of these items. it's fair to say that the
vast majority of the value -- let me -- let me be more
clear on what I'm saying, because vast majority could be
defined in different ways. But clearly the majority of

the value of the things that were sold to Instantiation

§02.589.2273 Phone
562,584,0119 Fax
schedule@kentackianareporters.com

KENTUCKI ANA wow. kentuckianaseporters.com

--— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 84 of 184. PagelD #: 525

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

82

in the bankruptcy case were originally sold too
Squirrels Research Labs by Avnet, correct?

A Yes. I would agree with that statement.

Q And it is also true, based on what we've just
been through and recognizing it was a sample, that it's
likely that at least $100,000 and possibly up to a half
a million dollars maybe somewhere -- and I know it's a
broad range, but worth of value of things were -- were
things that you Squirrels Research Labs did not
originally purchase from Avnet, is that accurate?

MR. MERKLIN: Objection. You may answer.

A T find that range plausibly accurate.

Q Thank you.

A You know, without definitively reviewing every
item.

Q Okay. Thank you. Let's talk about the sale a
little bit then. When did you first learn about
Instantiation as a company?

A March of 2021,

Q That's -- I believe that's when Instantiation
was formed. Does that sound right?

A I'm not intimately familiar with its
formation, but that's when I first learned of it,

Q That's fine. Did you -- do you have -- you do

-- you have no ownership interest in Instantiation,

4G2,589.2273 Phone
$02,584, 0119 Fax
schedute@keatuckianareporters.com

KENTUCKIANA www. kentucklanareperers,com

— COURT REPORTERS .

Kenluckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 85 of 184. PagelD #: 526

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

83

correct?

A No,

Q You -- and I should be clear. Neither of you
personally, David Stanfill nor Squirrels Research Labs

as a company ?would have any kind of interest in

Instantiation?
A No.
0 What was the context where you learned, you

know, found I guess, Instantiation or Instantiation
found you, you meeting Squirrels Research Labs.

A I was engaged by a gentleman on Discord who
was -- bad first reached out to our customer support
representative and then wanted to talk to me about
potentially purchasing some hardware, And I -- i'm
blanking on his full name, but his first name’s Dan. And
I ended up having some phone calls with Dan to hear
about why he was interested in purchasing the hardware
and his background, And he introduced me to sam Cassatt
who igs the -- was the founder to my knowledge of
Instantiation. And that was, you know, that was how the
introduction was -- wag initially made.

Q So Sam Cassatt is the person that you
primarily dealt with about Instantiation?

A Yes, I -- I initially dealt through Dan and

then my understanding is they had a falling out and then

502.589.2273 Phone
502.584.9119 Fox
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

-— COURT REPORTERS ~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 86 of 184. PagelD #: 527

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 4
i dealt directly with Sam.
Q Was -- to your knowledge, was Instantiation in

business prior to -- or, you know, prior to you being
involved with -- that's not the right way to put it.

Prior to your communications with Instantiation, did

they have -- did they have any business?

A I'm not aware of -- intimately aware with
their business operations to answer that.

Q You don't -- you do not know whether or not
they were -- they were formed. That happens all the
time in bankruptcy. I mean, you know, whether they were
formed to -- in order to purchase the assets of Squirrel
out of -- out of bankruptcy.

A t don't -- I don't believe that that was the
case, no.

Q You don't. So you -- they -- you think they
did have other business other than that prior to their
formation?

A Yes. When I was -~ when I was first in
contact with Sam Cassatt, they were interested in buying
hardware, potentially buying a lot more hardware in
starting a data center, crypto currency mining
operation.

Q So initially your conversations were -~ with

them were as a customer for Squirrels Research Labs?

402.589.2273 Phone
$02,584.01 9 Fax
schedwle@kentuckianareporters.com

KEN TUCKI ANA ww kentucklanareporiers.com

— COURT REPORTERS |

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 87 of 184. PagelD #: 528

The Deposition of DAVID STANFILL, taken on April 13, 2022

we know, Squirrels Research Labs has sold the majority
of it -- that's to Instantiation in the bankruptcy case.
When did that -- when did that conversation begin?

A So in the conversation about them becoming a
customer and purchasing an additional reasonably large
purchase of hardware. At the same time Squirrels
Research Labs was doing its private offering and
potentially seeking investment or sale having just had a
gale that had failed to go through. And it -- in those
conversations J introduced myself to Sam. Became aware
of his background and potential, and frankly became
aware that he may have the capital to potentially be a
big investor or buy the company. And so I shared with
him what we were trying to do and petitioned him for a
potential investment. He took that under advisement at
the time, but didn't take any action towards it, just
made the initial hardware purchase and, you know,
basically kept the communications open to potentially
look into the company further for potential investment.

Q And when -- what is the timeframe where he
made that? I don't have the banking records from --
from this time period. What is the timeframe that ~-

that Mr. Cassatt made the purchase of just hardware as a

Confidential 85
A Yes.
Q And obviously that changed because we, we as

502.589.2273 Phone
502,584.01 19 Fax
schedule@@kentucklasareposters,com

KENTUCKI ANA www kentuckianareporters.com

— COURT REPORTERS --~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40204

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 88 of 184. PagelD #: 529

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

86

customer, it sounds like?

A Yes, Hig initial purchase of hardware as a
customer was made in, right at the end of March of 2021.

Q And when I'm saying he, we're talking about
Mr. Cassatt, but that's in his role with Instantiation,
not him personally, right?

A Yeah, Instantiation made the purchase. ‘There
were -- there were other parties associated with
Instantiation involved in that.

Q Did you -- did you ever know Mr. Cassatt prior
to March of 2021?

A No, I did not.

Q Did you maybe not know him personally, but
know of him as being someone else in kind of your --
your general industry?

A I'm not really big on celebrities, so I really
didn't.

Q Is he a celebrity?

A He'g one of the very early people who created
-. or was one of the three people who started the
company Consensus. Consensus effectively created
Ethereum as it is today.

Q Okay. So it's fair to characterize him as a -
- as a niche celebrity within the world of folks who

know a lot about cryptocurrency.

502.589.2273 Phone
502,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCK ANA www. keatuckianareporters.com

~— COURT REPORTERS -

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 89 of 184. PagelD #: 530

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

a7

A Yes, In certain circles he -- I've iearned,
you know, he speaks at certain conferences and has some
certain level of following, I guess you would say.

Q and I'm sure that -- that provided him with
eredibility with you as far as someone to. do business
with?

A Yes.

Q Okay. Is that -- is there -- is there an
issue in this industry generally? I'm trying to say
that without casting aspersions, there certainly are in
my industry maybe. But are there issues where you maybe
need to -~ to do homework on someone you're going to be
doing business with due to the kind of the nature of the
business?

A Hindsight is 2020. Absolutely. This is an
industry full of snakes.

Q Thank you. That's a -- that's one way of
putting it. I wasn't going to put it exactly like that,
but I mean, lots of -- lots of industries are. And do
you think that's due to kind of the nature of
eryptocurrency as maybe unregulated a place where people
are both making and losing a lot of money is -- might be
attracted to that, you know, is --

A I've always attributed it to the, there's an

opportunity to potentially get rich quick that attracts

$02.589,2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKL ANA www. kentuckianareporers.com

—> COURF REPORTERS

Kentuckiana Reponers
P.O, Box 3983
Louisville, KY 40204

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 90 of 184. PagelD #: 531

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

88

a certain character. There's also a very short distance
between the activity you undertake and how much revenue
you make. It tends to attract people that are very
focused on the bottom line, above all else, in operating
their businesses or so-called businesses.

Q So -- and so we -- the initial hardware
purchase from Instantiation was in March 2021. Do you
remember how much was sold to them?

A It was 870 units. I know just from -- from
having to go through a bunch of audit records. I don't
recall the cash dollar amount, but it would've been in
the ballpark of 870,000.

Q Is it -- is it a substantial sale?

A Yeah, it was. Yeah, it was a substantial
sale,

Q And they were -- they received all the product
they purchased?

A Yes.

Q Okay. And they fully paid you for -- for what

they -- for what you sold to them?

A Yes.
Q So when did -- and I'm sorry if any of these,
so already covered this, but I just -- we're kind of on

a timeline. When did the conversations with them shift

to where they might actually purchase all of squirrel --

502,589,2273 Phone
502.584.0189 Fax
schedule@kentuckianareporers.cont

KENTUC Kl ANA ww, keatucklanareporters.com

—— COURT RITORTERS ~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 91 of 184. PagelD #: 532

The Deposition of DAVID STANFILL, taken on April 13, 2024
Confidential 89

Squirrel Research Labs? Pardon me.

A So we have had some casual discussions about
potentially investments or acquisitions near the
beginning. Those conversations basically went cold and
then I reached back out in, exact timeline I think
would've been probably in the August 2008 timeline. As
the company was -~ was hitting some financial struggles,
I reached back out to say, "Hey, is there something that
we can do here?"

Q And just to be clear, you said August 2008, I
think you meant August 2021.

A August 2021, You are correct.

Q That's all right. That's all right. I'm just
as capable of slips of the tongue, most people are. So
I appreciate it when people help me out sometimes too.
Okay. And when ~-- so obviously -- and you know, I think
as in the role, you're the president of this company.

A Yes.

Q and obviously you have to make the final
decisions. Some of the territory I'm going to be asking
you about I think is fair game as far as you had to make
these decisions as the businessman yourself. But I
don't want you to -- to divulge information that might
have been legal advice, okay? But -~ but to the extent

that you got business advice, not from an attorney, or

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KEN TUCK ANA www-kentuckianareporters,com

—> COURT REPORTERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 92 of 184. PagelD #: 533

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

90

had to make I think that's fair game. I'm sure you will
-- you know, i'm trying to do this, be upfront about
when you made these decigions. I'm sure some of it was
under advisement by attorneys. But when did you decide
it was in the best interest for Squirrels Research Labs
to file for bankruptcy?

A We became a -- from a business operation
standpoint, we began expecting that we may not have an
alternative. I would phrase it that way. Around July
1st, half of July of 2021, that is when we made
shareholder communication that we did not think that
based on the complete stalling of the supply chain on
the silicon and semiconductor side, that we were going
to be able to substantially continue operations and meet
our obligations to creditors, our debt obligations. And
we are -- I solicited our ownership group for
authorization to pursue conversations around the sale of
the company or file a Chapter 7 or Chapter 11 bankruptcy
to support the -- basically handling of the
circumstances as they were.

0 Why did you choose to use Chapter 11 as
opposed to Chapter 7?

MR. MERKLIN: If you could answer that without
disclosing attorney-client privilege.

A Yeah. I would say I can't -- there are a

402.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckinnareporters,com

— COURT REPORTERS

Keniuckiana Reporters
P.O, Box 3983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 93 of 184. PagelD #: 534

The Deposition of DAVID STANFILL, taken om April 13, 2022
confidential 91

multitude of factors, but I can't say that I can answer
that without disclosing professional conversations.

Q So you had -- you had engaged Brouse McDowell.
for advice by that -- by that point in time when you
were at that point of the decision-making process?

A I'm going to -- if you don't mind, I'm going
to ask Marc a question on the record. Is it -- is the
time point at which we began engaging legal
professionals considered privilege?

MR. MERKLIN; Wo, you can ~- you can indicate
when you began it. It's fine. I'm not going to
object to the dates.

A We had, initially had a brief conversation
with Brouse McDowell in spring of 2021 prior to engaging
in our private round. To analyze as to give context, we
had enacted a transaction which you're certainly aware
of in this case with FDLD to sell 51 percent of the
company in January. Rxecuted that. They did not follow
through on that transaction. Reliant ~-- business
reliance on that transaction being legitimate had left
us with limited time and options to come up with some
other alternatives. We, in exploring those other
alternatives engaged briefly with Brouse McDowell for
consultation at that time. Did not take any action or

formally move forward Brouse McDowell at that time. And

502.589.2273 Phone
$02.584,0119 Fax
schedule@@kentuckianareporters.com

KENTUCKI ANA swww.Kentuckianareporters.com

—— COURT REPORTERS ©

Kentucklana Reporters
P.O, Box 3983
Louisville, KY 40201
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 94 of 184

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 92

re-engaged them once the circumstances had kind of
returned to that kind of dire condition.

Q Thank you. When you were -- S0 ~~ you =~
instantiation you had some informal conversations with
them about, or they are for -- I don't mean I -- we
really need to characterize. There have been some type
of preliminary conversations, maybe they want to do more
than just buy, you know, make a big hardware purchase.
and then -- then in August when, you know, you realized
the company was in dire straits, that's when the
conversation got serious with Instantiation about them
purchasing the assets. Is that right?

A ves. The initial conversation was, I would
say, more positive and upbeat in the spring of, “Hey,
maybe you want to invest us or purchase us for a lot of
money for all the equity holders and everybody's
penefit." The conversation in August would -- was more
of, "Hey, we're in a tight -- we're in a tight spot. Do
you still have interest in this company?" Where --
where we need to engage with Avnet as our ~~ T'm
assuming you will get to that so I'm just going to say
Avnet in the position they were in, and we needed to
engage with them. And I thought it best to have those
business conversations with at least a -- tim going to

use stocking horse in a non-bankruptcy stance here. At

§02.589.2273 Phone
5 502.584.0119 Fax

hd schedule@kentuckianareporers.com
KENTUCKIANA wow kentuckianareporters.com

— COURT REPORTERS ~~

Keniuckiana Reporters (
P.O. Box 3983 ue
Louisville, KY 40201

. PagelD #: 535

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 95 of 184. PagelD #: 536

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

93

least a stocking horse buyer and an investor, so that
Avnet didn't just immediately pull up to the truck and

try to take all our stuff.

0 So was there -- was there ever thought of to
trying to proceed with Instantiation -- Instantiation
ended up being the ~~ and I'm using a bankruptcy term,

the Debtor-in-Possession lender. And you know, often in
bankruptcy you see the secure lender, or the secure
creditor actually does the -- not always. But was there
ever a thought that this could be done without Avnet's
consent or -- or direct participation?
MR. MERKLIN: Again, if you can answer without
disclosing attorney-client privilege.

A I will say from my personal professional
business judgment, I never believed that we would be
able -- I always believed that having got business
circumstance, our first order was to call Avnet and get
them to the table. And everything else was secondary to
that.

Q Avnet is a -- is a big player in this
industry; is that right?

A Yes.

Q Are they -- are they the biggest hardware
supplier for -- for FD -- it's FPGA right, or

cryptocurrency mining equipment generally (Inaudible)?

562.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O. Box 3983"

Louisville, KY 40201 schedylegokentuckianareporiers.com.

KENTUCKI ANA wow, kentuckianareporiers.com

—— COURT REPORTERS ~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 96 of 184. PagelD #: 537

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

94

COURT REPORTER: So your last -- last part of
your question went out, Mr. Sisto.
MR. SISTO: Sorry.
BY MR, SISTO:

Q Mr. Stanfill, if you -- I'd appreciate if you
could kind of with your knowledge base of this industry,
maybe just describe a little bit about Avnet's standing
in this industry, if that makes sense.

A Yeah. So Avnet is a -- a major, whether
they're the largest at this moment in time, you know, I
think it shifts and they're -- they compete on a
quarterly basis, Avnet and Arrow Electronics. But they
are one of the largest and often the largest electronics
component distributor. And also distributor for Xilinx,
which has recently been purchased by AMD. But prior to
their purchase by AMD, Xilinx was the largest FPGA
vendor. Neither Xilinx nor Avnet, at the time Xilinx
you could argue does a little bit more now, were
actually active in the cryptocurrency world directly
themselves as first parties. They sold basically
general-purpose raw components. But in order to be in
the business Squirrels Research Labs was in, you needed
to have a relationship with Avnet.

Q It would've been very difficult to have a

successful business if there wasn't a -- at least a

302.599.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

bo oe te ey 40201 schedule@kentuckianareporters.com

KENTUCKI ANA www kentuckianareporters.com

— COURT REPORTERS

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 97 of 184. PagelD #: 538

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

95

working relationship with Avnet. Is that a fair
characterization?

A Yes.

Q And not just for Squirrels Research Labs, but
if any -- if any -- if you had any competitors or
basically anyone else doing what --~- what Squirrels
Research Labs did generally?

A Yes.

Q Okay. When -~ when you testified at the 341
meeting about my client, Carl Forsell -~ I'm kind of
shifting gears a little bit here. It was -~ I'm -- I'm
not trying to get into the background of, the back and
forth with the refund request or that kind of thing but,
you were -- you acknowledged fairly directly that --
that yes, that that money was owed. That the amount of
the claim we filed just under $750,000, but -- but he
wasn't listed as a creditor initially on -- on your ~~
on the bankruptcy petition. JI mean, can you explain the
discrepancy there?

A Yes. And allow me to clarify to the extent
that I can clarify. Allow me to clarify the statements
T made in the 341 meeting, which may have been made too
off the cuff. We did not dispute and ~- and agree on
the dollar amount that Mr. Forsell -- the unrefunded

dollar amount that Mr. Forsell had paid to Squirrels

502.589.2273 Phone
502,584,019 Pax
schedule@kentucktanareporters.coml

KEN TUCK! ANA ww. kentucklanaseporiers.com

— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 98 of 184. PagelD #: 539

The Deposition of DAVID STANPILL, taken on April 13, 2022

Confidential

96

Research Labs. There was still a contest -- a basis of
the claim being contested, And I suppose is, although I
don't think it's front and foremost at this point in
that while Mr. Forsell had paid this amount, he was,
from our perspective, never legally entitled to a
refund. He was entitled to product that was non-
cancelable, non-returnable billed to order. You know,
basically sold as no refunds. He refused shipment on
the product and we did work with him to try to get him a
refund, but from a strictly legal basis, it was
contested because he wasn't entitled to that cash and a
refund. He was entitled to product he refused shipment
on.

Q Again, I don't want to dwell on this either,
but as you acknowledge that we've somewhat moved on from
it, but it is fair to say that some folks who purchased
product -- this was in the initial when Squirrels
Research Labs was first founded, payments, I believe
received in June prior to Squirrels Research Labs even
having its own account. And there were folks who --
other folks who were displeased with the speed of their
shipments who were given refunds from that same
timeframe that Mr. Forsell made his substantial
purchase. Is that correct?

A Yes, I have acknowledged that.

402.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O. Box 3983

Louisville, KY 40201 schedufe@kentuckianareporters.com

KENT UCKI ANA www. kentuckianareporters.com

— COURT REPORTERS «> -

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 99 of 184. PagelD #: 540

The Deposition of DAVID STANFILL, taken on April 13, 2622

Confidential

97

Q Yeah, I thought. And I know that's been
discussed before. I just wanted to kind of clean that
up since we've been doing a little bit of back and forth
here on it. And that I believe the vendor was for that
particular customer, you know, who is my client now in
the case was All Mine. Is that right?

A I believe your client made multiple purchases,
at least some of which were through Allmine. I don't
know if all of them were through Allimine.

0 I don't have it as ~-- it's been filed in the
case and I could pull it up probably after the break if
we needed to look at it, but there was a statement that
you made on Discord that you did say there would be a no
refunds policy moving forward, but that the initial
sale, that there would be refunds given for the initial
sales. Right? Did you make that statement on Discord?

A I don't recall any details or context.

Q Okay. But we can circle back to that and I
don't think we'll need to dwell on it beyond that, but
rill -- it'll be a simple -- it's a simple document and
in fact, we attached it to a pleading earlier in the
case so it won't be anything, I think, that should come
as a great surprise. All right. I've kind of come to
the end of this portion. Do you folks mind if we break

early and Mr. Stanfill, I appreciate your -- I think

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareperters.com

KENTUCKI ANA www.kentuckianareporters.com

— COURT REPORTERS

Kentuckians Reporters
P.O, Box 3983
Louisville, RY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 100 of 184. PagelD #: 541

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

98

what I'm trying to say is I don't think we'll have to go
for too much longer after the break. I appreciate --
MR. MERKLIN;: I'm fine to break now if you
want. I'm fine, Bryan, if you want to take the
break right now.

MR, SISTO: All right. So we'll reconvene at

1:06,
COURT REPORTER: Sounds good.
MR, MERKLIN: Do you want to -- do you need all
50 minutes, or you want to convene -- whatever you
want.

MR. SISTO: I could do ten till just to keep
things moving.
MR. MERKLIN: That's fine with us.
MR. SISTO: Okay, well let's break then. Thank
you.
(OFF THE RECORD)
COURT REPORTER: Okay. We're back on record.
MR. SISTO: Thanks, We're just reconvening
after lunch here.
BY MR, SISTO:
Q Mr. Stanfill, we were discussing a bit of the
process that my client, Carl Forsell, and kind of
similarly situated buyers of the FGPA, FPGA's hardware

back in mid-2018 and I had referenced a Discord. I just

402,589,2273 Phone
502.584,0119 Fax
schedule@kenhickianareporters.com

KENT UCKI ANA ww kentuckianareporters.com

>— COURT REPORTERS:

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

a5

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 101 of 184. PagelD #: 542

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

99

wanted to -- there it is. This is something that we
filed as part of a response to the objection to our 2004
requests. And I'm looking at the -- this is again on
the docket in the case already. We can call it -- let's
just call it exhibit one in the deposition. Do you see
on the -- first of all, is this your handle on Discord?

(EXHIBIT 1 MARKED FOR IDENTIFICATION)

A Yes.
Q These are your statements?
A Yes. ‘These appear to be, from what I can see,

statements that were made by me under my handle.

Q So the initial round and that you kind of had
to get up and go in quickly, as we've discussed earlier,
were sold in, I think May, June, maybe of 2018. And
those would be the ones under the August ship date. That
was going to be kind of the first big shipment from
squirrel's research labs; is that correct?

A Yes. Our vendor had committed us an August
ship date and the sales took place in June and July.

Q Do you see where on the third down -- another
here on your Discord when you're communicating -- I
mean, did you use this Discord to communicate with
customers of Squirrels Research Labs?

A I did. I would say that I used the Discord

the same way one might use their personal telephone,

502.589,2273 Phone

Kenatuckiana Reporters 502.584.0119 Fax

P.O, Box 3983

Louisville, KY 4020! schedute@kentuckianareporters.com

KENTUCKi ANA ww. kestucklanareporters.com

—— COURT REPORTERS

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 102 of 184. PagelD #: 543

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 106

both called in for business purposes and for personal
discussions, but these posts do appear to be me speaking
on behalf of the debtor, Squirrels Research Labs.

Q Of course, I'm not asking you to draw a legal
conclusion or I'm not asking -- you know, I'm not trying
to imply that you're providing a legal conclusion, but
you do acknowledge that you made a statement. I'm
talking about the middle sentence of the third kind of
block of text down on this page. If you purchase from
the stock sold under the August ship date, you have the
right to request a refund. Is that accurate?

A Yes. Without having context around this
message of which specific products we're referring to, [I
acknowledge that statement.

Q Well, that's not the refund stock, is it?

A No, no. This appears to be referencing the
products due for August shipment. However, T will
clarify for the record that there were multiple
different products that we were selling in the June and
July timeframe and the refund provisions for those were
different.

9 Fair enough, At this point, again, I'm just
asking you to confirm that's your statement and that's
fine. Thank you.

A Yes.

502,$89.2273 Phones
beat ; 502.584.0169 Fax

de schedvle@kentuckianarepotters.com
KENTUCKIANA wry. kentuckiansreporiers.com

—— COURT REPORTERS -

Kentuckiana Reporters
P.O. Box 3983
Lovisviile, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 103 of 184. PagelD #: 544

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

101

Q The next exhibit is something that is part of
the docket. It is not one of the ones I sent over
previously, but this is an attachment to the Carl
Forsell's proof of claim. So we're looking at an
invoice that -- and just for the record, my client, Carl
Forsell, purchased hardware under the name Nunce Limited
there, the bill to name. Does this look like the kind
of invoices that were sent out for the purchase of this
first round of equipment for Squirrels Research Labs?

A I didn't personally send the invoices, but
from viewing this document, it looks like the type of
invoice that may have been sent out at that time.

Q And you see that the date is June of 2018.

A Yes.

Q So that would've been part of the very early
business activity that we're discussing as far as
Squirrels Research Labs, correct?

A Yes.

Q And it's on Squirrels LLC letterhead with a
Squirrels LLC designation. And what's the reasoning
behind that, or why is that the way it is?

A IT can't gay that I have a definitive answer to
that, but as I mentioned prior, the Squirrels LLC
accounting staff was being contacted by Squirrels

Research Labs to handle this kind of invoicing and

502,589,2273 Phone
, J 502.584.0419 Fax

be schedule@kentuckianareporters,com
KENTUCKIANA wow. kentuckianareporters,com

—— COURT REPORTERS ~

Kentuckiana Reporters
P.O. Box 3983
Louisyille, KY 40201

24

a5

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 104 of 184

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

. PagelD #: 545

1024

processing.

Q and I'm gorry if I neglected to say this
prior, but this will be Exhibit 2 for this 2004 exam.
And I'm probably just going to submit the page that we
looked at as the exhibit.

MR. SIsTO: If that's fine with you, Marc.
(EXHIBIT 2 MARKED FOR IDENTIFICATION)
MR. MERKLIN: Yep.
BY MR. SISTO:

Q All right. Let's move to -~ this was an
exhibit that was sent over prior to the 2004 exam, so
T'1l use its exhibit number under that designation. This
is going to be Exhibit 24. It's a profit and loss
statement for 2018 by month for Squirrels Research Labs.
Mr. Stanfill, is this document accurate for what I've
just represented?

(EXHIBIT 24 MARKED FOR IDENTIFICATION)
MR. MERKLIN: You're asking him if that's what
the document is?
MR. STSTO: Yeah, Thank you for clearing that
more elegantly than I did.
BY MR. SISTO:

A Yes, it appears to be, and by all rights,

looks to be January through December of 2018 Squirrels

Research Labs profit and loss by month.

502,589.2273 Phone
$02,584.01 19 Fax
schedule@ikentuckianareporters.com

KENTUCKI ANA www. kentucklasareporters.coim

—— COURT REPORTERS

Kenguckiana Reporters
P.0, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 105 of 184. PagelD #: 546

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

103

Q do June 2018, we see a total income of
approximately for seven million against the total cost
of goods sold of over 13 million resulting in a gross
profit of negative 6.7 million. Is that accurate?

A This appears to be on an accrual basis, so on
an accrual basis, that would be accurate.

Q and I know we've covered a little bit of this
before, but I'd appreciate it in this context if you
could describe generally what was going on that, you
know, is underlying these numbers at the time.

A yeah. So based on order interest and volume
in June 2018, we placed the order for particularly the
BCU boards, which is representing the majority of the
activity here in June. We placed the order for the BCU
boards to Avnet in the amount of effectively 13,342,000.
It might be a little bit less than that, but it's the
vast majority of that purchase order. So you're seeing
the whole value of the order reflected here despite the
balance not actually being too -~ until Net 30 after
shipment. And then we took in and made -- we made that
order at that size based on having received at least 50
percent of the initial down payments for that.

Q Obviously, when we looked at the bank
statements earlier, we didn't see anything near 6.7

million coming in to Squirrels Research Labs at that

$02.589.2273 Phone
402,584.05 §9 Fax
schedile@kentuckianateporters.com

KENTOCKI ANA yoww. kentuckianareporters.comt

— COURT REPORTERS ~

Kentuckiana Reporters
P.O, Box 3983
Louisvilie, KY 40201
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 106 of 184. PagelD #: 547

The Deposition cf DAVID STANFILL, taken on April 13, 2022

Confidential 104

time and that's because the Squirrels Research Labs
accounts were yet.

A Yes.

Q So would that money have then come into
Squirrels LLC at that time?

A ves, it would've flowed in through channel
partners to Squirrels LLC, and there was effectively a
mad dash to reserve the inventory and get this initial
50 percent payment to Avnet, so all those funds were
gathered together as quickly as possible and wired to
Avnet to reserve the inventory.

Q So obviously, Squirrels LLC was holding a
significant portion of Squirrels Research Labs funds.

A Yes. I believe I testified earlier that 1
thought that in total, about 9.5 million transacted the
Squirrels4 LLC account.

Q ao we saw on the bank statements that
Squirrels LLC received payment from Squirrels Research
Labs over time. There were amounts that were simply --
how do I put this? So some of the funds that Squirrels
LLC held onto were just held onto by Squirrels LLC
because they would've been due regardless by Squirrels
Research Labs.

A Not -- I don't --

Q Let me clear it up. All the cash didn't flow

402.589.2273 Phone
502.584.6119 Fax
schedule@kentuckianareporters.com

KENTU CRIANA won. kentuckianareporters.cont

—— COURT REPORTERS =~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 107 of 184. PagelD #: 548

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

105

through Squirrels Research Labs on its way back to
Squirrels LLC. Some of it just simply remained with
Squirrels LLC; is that correct?

A Yes. For that time period, that is correct.

Q Was there -- I mean, we can see from the bank
ledger, you know, the payments that were made to
Squirrels LLC. Were the payments that were kind of
withheld by Squirrels LLC as they would've been due to
them anyway, were they separately accounted for in any
way?

A I don't have intimate knowledge of that
accounting. We have -- again, on behalf of your
request, we have requested that and I expect that all of
that should -- Squirrels LLC operates a professional
business that's professionally accounted. I expect all
those records to be produced.

Q Do you have any continued involvement
Squirrels LLC?

A I'm effectively a board member, I haven't had
day to day involvement in the business since 2019.

Q Do you know why this -- you know, this could
have to do with the accounting here, but in July 2018,
we see a profit of over 8 million because there's a
negative entry on costs of goods sold. Do you know what

happened there?

502.589.2273 Phone

, 502,584,119 Fax
schedule@ékeniuckianareperters,com

KENTUCKIANA www. kentuckianareporters.com

—— COURT REPORTERS

Kentuckiana Reporters
P.O. Dox 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 108 of 184. PagelD #: 549

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 106

A { know only incidentally from reviewing
Squirrels Research Labs underlying finances that there
was a journal entry made to reflect the second half of
the payment to Avnet that was then backed out because it
was improperly recorded.

Q So at the end of the year, the first year,
this is from June. It was formed in May 2018, as we
discussed earlier, it being Squirrels Research Labs,
LLC. We show a gross profit of negative 1.3 million
over the year. Is that accurate?

A T believe that's accurate. Yes.

Q and I've scrolled down to the bottom here of
the profit and loss statement so we can't see the column
heading, so let me kind of go back up. This is -- I'm
looking at the right-hand column, which is the total
column, not the month-to-month colum and the way the
net income was accounted for is negative 3.1 million.
Does that sound correct to you?

A Yes. it looks like that accumulates the
exchange gains -~- currency change gains or losses in
addition to the straight-line P&L loss.

Q Yeah. I remember that you testified at the
341 meeting that there were significant losses for
Squirrels Research Labs in the fluctuations of the

eryptocurrency market because customer funds were being

502,589.2273 Phone
$02,584.0119 Pax
schedule@kentuckianareporters,cont

KENTUCKI ANA www.keatueklonareporters.com

— COURT REPORTERS --

Kentucklana Reporters
PG) Hox 3983
Louisville, KY 40204

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 109 of 184. PagelD #: 550

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

107

held in cryptocurrency accounts and then there would be
-- you know, the market would fall before they were
converted to Fiat currency. Is that correct? And I
think you said over a million dollars lost.

A ves, If you were to scroll down, the total
cryptocurrency conversion loss looks like about 1.47
million on this report. Yes, and that was primarily
funds. Most of the cryptocurrency sales -- I referenced
that we used channel partners. Most of the sales paid
for in cryptocurrency were paid through for the --
through the minority channel partner and that partner
had held on to cryptocurrency payments for an extended
period of time before remitting them to Squirrels LL --
or Squirrels Research Labs, which significantly
contributed to the loss.

Q Which partner was that?

A That was minority.io.

Q Did -- they converted it to Fiat currency and
transferred it to Squirrels Research Labs, or it was
transferred to Squirrels Research Labs as
cryptocurrency?

A Tt was transferred to Squirrels Research Labs
as cryptocurrency.

Q Are they -- is there accounting for the

eryptocurrency generally? I mean -- I'm sorry. This is

502.589.2273 Phone
502.584,0119 Fax
schedyteq@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

— COMRT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisvilie, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 110 of 184. PagelD #: 551

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

108

accounting for generally. What I meant to say is there
a specific account ledger for the way those transactions
played out?

A So we later had a legal dispute with
minority.io about this. To my recollection, there may
have been some records exchanged during that, but
Squirrels Research Labs in general, did not have direct
access to minority.io's accounting records or internal
accounting of cryptocurrency.

Q You just took their word for it that they were
paid a certain amount and then the losses were passed to
Squirrels Research Labs.

A We received a report on the number of sales
that had been transacted, but we didn't have -- to my
knowledge, we didn't have, like, audit level access to
confirm any of this information. As I mentioned, again,
because we're both effectively looking at this from the
game perspective as I'm the representative of the debtor
also looking at potential opportunities for recovery. We
later had a legal dispute with minority.io. The use of
the cryptocurrency funds and the timing of the crypto
currency funds transfers was one of the topics of that
dispute.

Q Okay. Did Squirrels Research Labs do any of

its own cryptocurrency investing?

502.589.2273 Phone

Kentuckiana Reporters $02.584.0] £9 Fax

P.O. Box 3983

Louisville, KY 46201 schedule@kentuckianaceporers.cont

KENTUCKI ANA www kentickianareporters.com

—— COURT REPORTERS --~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 111 of 184. PagelD #: 552

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

109

A ‘he general answer is no. This was not an
ordinary course of business activity of Squirrels
Research Labs. I believe I made some statements in the
341 meeting that in summer of 2021, there was a pericd
of time in which we placed certain funds in defi
mechanisms to allow us to borrow against them without
cash filling out the underlying currency, which could be
effectively viewed as investment activity for the
purpose of stretching cash flow and trying to stave off
the bankruptcy. But it was not historically any part of
Squirrels Research Labs ordinary course of business.

Q As we've detailed and several times, Squirrels
Research Labs cash passed through Squirrels LLC in a
significant amount during this early period. Did any
cryptocurrency pass through Squirreis LLC at any point?

A Squirrels LLC didn't hold any cryptocurrency
in its own business and so I would definitively answer
no. It is possible that there were cryptocurrency
accounts that might have been registered to Squirrels
LLC. For the purpose of getting the accounts
registered, it's notoriously difficult to register
accounts to exchange cryptocurrency as a business,
especially as a brand-new business. So I don't know
that that was the case or not, but that well could have

been the case, but Squirrels LLC, itself never delved in

502.589.2273 Phone

Kentuckiana Reporters 502,584.01 19 Fax

P.O, Box 3983

Louisville, KY 40201 schedule@kentuckianare porters.com

KENTUCKI ANA www kentucklanareporters.com

—" COURT REPORTERS

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 112 of 184. PagelD #: 553

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 110
cryptocurrencies.
Q Has anyone from their work for Squirrels LLC,
officer, employee -~ I'm sorry. Squirrels Research

Labs, LLC now work for Instantiation?

A Yes. Well, I would say no. I don't believe
they Instantiation itself has any employees, but the
stocking horse bidder did hire numerous employees as
they listed in the asset, the purchase agreement and
support agreement, their intention to.

Q Any officers?

A Yes. Both myself and Jessica Gritzan are
currently employed by Alignment Engine, Inc, which is
the parent company of Instantiation.

Q Oh, okay. Sorry, I didn't realize -- or if I
did, I had forgotten. So Alignment owns Instantiation?

A Yeah. It's not my business. I'm not
intimately familiar with the internal structure, but
that is my understanding as a lay man.

Q What is your salary right now at Alignment?

MR. MERKLIN: I'm going to object. What does
it have to do with the debtor?

MR. SISTO: I mean, we're looking at these
relationships and the closeness of these
relationships.

‘ MR. MERKLIN: You can ask him anything about

502.589.2273 Phone

Kentuckiana Reporters 502.584,0119 Fax

P.O. Box 3983

Louisville, KY 40201 schedule@kentuckianareporters.com

KENTUCKI ANA win, kentucklanareporters.comt

— COURT REPORFERS ~~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 113 of 184. PagelD #: 554

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 11.

the circumstances under which he was hired, when it
occurred, any of that, but Tnstantiation isn't here,
their counsel isn't here. This is a 2004
examination of the debtor and its operations and
asking about the buyer when they're counsel's not
here, that's where I draw the line, Bryan. It's
beyond the scope of the 2064, but you can ask as
much background about before he was hired and when
he was hired.

MR. SISTO: I accept what you are stating. As
far as a galary, I'1l withdraw that question. That
really -- you know, and you can object, but to the
extent that the nature of these relationships are
important, as the person who is an officer of
Squirrels Research Labs, his knowledge of folks who
may work for these other businesses, even if that's
himself is relevant.

MR. MERKLIN: You can ask about the
circumstances, but there are questions that go
beyond the scope of the 2004 and I'll object on a
guestion-by- question basis.

MR. SISTO: Thank you.

BY MR. SISTO:
Q You don't need to answer the question about

your salary, sir. Thank you. When did you first become

502,589.2273 Phone

Lae $02,584.01 £9 Fax
Sl schedule@kentuckianareporters.com

KENTUCKIANA www keatucklanareporitys.com

—— COURT REPORTERS -

Kertuckiana Reparlers
P.O, Box 3983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 114 of 184. PagelD #: 555

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

112

employed by Aligned?

A About a week and a half ago.

9 Do you know when Jessica Gritzan became
employed by Aligned?

A Sometime in January, I believe.

Q Did she, at any point, have a dual role at
both businesses or was she out of Squirrels Research
Labs before she started Instantiation?

A All employees were terminated from Squirrels
Research Labs in August. Well, let me clarify. They
were effectively terminated in August. For
administrative reasons, they couldn't be legally
terminated until the 401K items were resolved, including
myself and Ms, Gritzan was actually never an employee
paid W-2 from Squirrels Research Labs. S80 yes, she was
not working for Squirrels Research Labs concurrently
with her employment at Alignment.

Q And you -- neither you or Ms. Gritzan is an
officer Alignment. You're both regular W-2 employees.
Is that right?

A Correct.

Q The next exhibit will be Exhibit 25, as shared
prior to the 2004 exam. This is the profit and logs
statement by month for 2019. Mr. Stanfill is the

document that I described -- I'm scrolling through it,

§02,589.2273 Phone

Kentuckiana Reporters 502.584,0119 Fax

P.O, Box 3983

Louisville, KY 40201 scheduled@@kentuckianareporters.com

KENTUCKI ANA wow kentuckianareporters,com

—— COURT REPORTERS -

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 115 of 184. PagelD #: 556

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

E13

kind of trying to do that slowly while letting you see
generally what this. Is this the document which I
described as the profit and loss statement for Squirrels
Research Labs for 2019 on a month-to-month basis?
(EXHIBIT 25 MARKED FOR TDENTIFICATION)

A Yes. It appears to be Squirrels Research
Labs, LLC, P&L for January through December 2019, broken
out month by month.

Q Let me -- I'm going to back up briefly. At
what point was Squirrels Research Labs separated from
Squirrels LLC?

MR. MERKLIN: Objection. Go ahead and answer.

A They were always separate entities. If you
want to rephrase the question, I might be able to give
you an answer.

Q I mean, I guess I'm asking not as a legal
term, but as the term that it's reflected in the press
release that was issued by the businesses. It's still
available in the Squirrels LLC website saying, you know,
that the businesses were separating. I believe you left
your officer role at Squirrels LLC, you know, personally
to become an officer at Squirrels Research Labs and some
of the folks -- it was kind of announced that they
remained at Squirrels LLC instead of going over to

Squirrels Research Labs and discussed, you know, a

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporers,com

KENTUCKI ANA www. kentuckianareporters.com

meen COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40205

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 116 of 184. PagelD #: 557

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

114

divestiture of the -- that's probably the wrong word to
use. You know, a separation of the resource sharing
that had been occurring, things like that. When did
that occur?

A Squirrels LLC divested its interest in
Squirrels Research Labs and in part and parcel with
that, the resource sharing was eliminated, or at least
at that moment, significantly reduced. The decision
occurred in February. I think it might not have been
announced until March of 2019,

Q And why was that decision made?

A My business partners in Squirrels LLC were
basically unhappy with the fact that all of my time was
spent on Squirrels Research Labs, and I still held the
CEO role at Squirrels LLC. You know, basically there
was a power struggle and the resolution was I take my
toys and go one way and they take their toys and go the
other way.

Q Fair enough. And at that time, Squirrels LLC
owed a portion of Squirrels Research Labs, correct?

A Yes.

Q Is that when -- is that the point that
Squirrels LLC gold a portion of Squirrels Research Labs?

A Yes. As part of that executive argument, you

know, one of the points of the argument was that the

502,589,.2273 Phone

Kentuckiana Reporters $02,584,0119 Fax

sowie “ a3 a1 schedule@@kentuckianareporters.com

KENTU CKI ANA wie. kentuckianareporiers.com

—— COURT METORTERS

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 117 of 184. PagelD #: 558

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

115

other partners of Squirrels LLC had not done anything to
support Squirrels Research Labs's efforts. Meanwhile,
Ms. Gritzan, who was not an owner of Squirrels LLC, had
devoted tremendous hours, neither ag a W-2 employee or
owner. And as part of all of the decisions separating
the power and control of the entities, it was determined
that Squirreis LLC would seed its stake and give that

stake to Jessica Gritzan directly.

Q So Jessica Gritzan took over 100 percent of
what Squirrels LLC had previously owned of Squirrels
Research Labs?

A Yes, She was effectively provided that as
compensation for all of the efforts she'd put in on
Squirrels Research Labs to-date.

Q do she didn't pay anything for it?

A Not directly, no.

Q When you say -~ Was it done as a good faith?
Look, Jessica, we know you've worked very hard and this
ig a fair deal, or was it tied to any actual measurable
number?

A It was done just as compensation for all of
her work over the past year and a half on Squirrels
Research Labs that wasn't otherwise compensated. There
was not a number attributed to 4t in terms of value at

the time.

402.589.2273 Phone
502.584.0119 Fox
schedule@kentuckianareporters.com

KENTUCKI ANA www. kentucklanareporters.com

— COURT REPORTERS

Kentucklana Reporters
P.O. Box 3983
Louisville, RY 4020!

ey A Ae ITS
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 118 of 184. PagelD #: 559

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 116

Q Let's turn to the exhibit that we've been
Looking up and not talking about here, the 2019 profit

and logs statement. We see here -~ I'm looking at the

March 2019 column. I'm sealing that out because in all
other months, and I'm looking at the total cost of goods
gold row toward the bottom of the screen. It varies
between $100,000 to $800,000. There's one month that's
just under a million dollars in all the other months,
put in March 2019, it was 4.6 million, which is a
significant difference from all other months. Do you
remember what was happening at that time that there was
a change in the way that there was a significant
purchase of product that wasn't occurring otherwise?

A Yes, And this again is reflective of the --
whether it's correct accrual accounting or not. I'm not
an accountant, I can't say, but the accrual basis of the
way that this is clearly accounted and shown here. In
March of 2019, we had had discussions with Avnet. In
those discussions, they acknowledged that, you know, we
had sold and moved a significant amount of inventory
from startup to go in the past basically nine months
gince formation in the electronics production and
component distribution industry. It's not common to
create a new -- or to have a new customer. Right? Your

demand to drive sales, you try to get a few more percent

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters,com

KENTUCKI ANA wav kentuckianareportets.com

— COURS REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40204
24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 119 of 184. PagelD #:

The Deposition of DAVID STANFILL, taken on April 13, 2622
Confidential

ii?

sales from existing businesses. So Avnet for its part,
you know, they're going to lean hard, or they will lean
hard into demand creation. And so there was a next
generation chip that became the foundational chip of our
Forest kitten products that was going to ship later that
summer. The nature of especially new run silicon is you
have to order it several months ahead of time. And so
avnet extended some significant terms to allow us to
order a significant quantity of that hardware, basically
because they believed that we were going to be able to
turn around and sell that hardware for large profit and
grow into a very large customer.

Q So the -- that 4 million in March of 2019
represents a large purchase of product from Avnet?

A Yes.

Q and those were -- that was product that was
yet to be sold to an end customer?

A Correct.

Q And some of your purchases from Avnet were
made with an end customer already set up; is that right?

A Yes. In 2018, we were gelling product where
Avnet and its upstream suppliers were basically building
the whole product and shipping it to us complete. And
so, you know, we were comfortable selling those products

on a kind of pass-through basis as the retail to the

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters,com

KENTUCKI ANA www.kentucklanareporters.com

— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisvilfe, KY 40261

560

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 120 of 184. PagelD #: 561

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

118

wholesale channel or the manufacturer. The products
that we were developing after that and the goal of
Squirrels Research Labs were products that we needed to
physically assemble, build, test, and verify. And so we
were less likely -- you know, we certainly weren't going
to take upfront orders months ahead of time for that
product, We would wait until it was -- they were closer
to production completion before we would begin taking
pre-orders or making shipments. So Avnet provided the
backing credit facility to allow us to do this.

Q And how would you characterize the financial
health of Squirrels Research Labs at the time that that
deal was made?

A I'm not an accountant, but I would say it was
stable, but not wildly profitable yet. You know, it was
a brand-new business. Most businesses don't turn a
profit for a couple years.

Q Is this the -- I know -- I'm not asking you to
characterize the lien. As I'm sure you're aware,
there's some debate about exactly what the lien covered.
So when I say -- when I refer the Lien, again, if you
want to caveat it once to put it on the record, but I'm
not -- we don't need to go through the dance of both of
us describing what we think the lien covers every time

we mention it. But is this the same time that Avnet was

502,$89,2273 Phone
, 502.584.0119 Fax

de schedule@kentuckianareporters.com
KENTUCKIANA www. kemhickianareporters,com

—— COURT REPORTERS ~

Kentackiana Reporters
P.O. Box 3983
Louisville, KY 4020)

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 121 of 184. PagelD #: 562

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

119

granted -- let's just say on a substantial -- at a
minimum, a substantial portion of assets of Squirrels
Research Labs.

A Yes, I viewed this as Avnet's effectively
investing in Squirrels Research Labs as a business
through the mechanisms they had available to them, which
was to, you know, take a significant security interest.
We'll just call it a significant security interest. I,
for the record, had all the way until your initial
filing, had never, ever had a time where I didnit
believe it was a blanket lien. So irrespective of what
the legal determination of that is, I had always
operated as if it was a blanket lien and had been
without disclosing client privilege -- so basically just
say I had received professional advice to support that
along the way. So that's all I'm going to say on the
jien. That's on the record. Yeah. So they took a
substantial security interest, provided a substantial
forward credit line to allow us to get product in
pipeline. You know, they basically were stocking our
convenience store.

Q And so -- and I should have asked this
question earlier to clarify. You did not actually pay.
Or you, meaning Squirrels Research Labs did not actually

pay Avnet for that 4 million some dollars of goods that

502.589.2273 Phone
502,584.01 19 Fax
schedule@kentuckianareparters.com

KENTUCKIANA www. kentuckianareporters.com

—— COURT REPORTERS ~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 122 of 184. PagelD #: 563

The Deposition of DAVID STANPILL, taken on April 13, 2022

Confidential

120

you purchased? Or you --

A Not at that time in March 2019.

Q Did you pay a portion of it?

A There was -- without the records in front of
me, I can't say definitively, but I am -- I do believe
that we paid some portion of it. It would've been not
significant relative to the total amount.

Q Did you owe Avnet -- you, meaning Squirrels
Research Labs. Were you indebted to Avnet prior to this
March 29 transaction, the lien and the infusion of stock
for yourselves?

A We had -- yeah, we had open accounts payable
balances that were within their agreed terms.

Q So we look at the far-right colum. This is
the -- I won't scroll back up, but I think you know that
we both recognize it's the total column, cost of goods,
gross profit for 2019 of negative 4.5 million. Is that
what the document shows?

A yes. That looks correct on the accrual basis.

Q Ags you testified earlier, that's not abnormal
for a new company.

A Tt's not abnormal for a new company. And I
think the accrual basis is masking a lot of the fact
that there's long term forward orders baked in there.

Q Please -- you please -~ you know, I appreciate

402.589.2273 Phone
502.584.0119 Fax
schedute@kentuckianareporers.cont

KENTU CK ANA www. kentucklanareporters.com

—— COURT REPORTERS. -

Keniuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 123 of 184. PagelD #: 564

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

121

your clarification on that if you'd like to expound on
it.

A Sure. I mean, in some cases you May need to
place orders, especially for cutting edge silicon as far
as 12 months ahead of time. So you're going to have a
book obligation out there, despite being nowhere close
to either taking delivery or, you know, making sales.

Q That method would also consider a payment that
hasn't actually been realized? That's part of the
accounting. is that right?

A Correct. Although in general, we didn't
extend net payment terms to customers.

Q And the net income for 2019, now we're Looking
at the very bottom of the document, negative 6.7
million. Is that correct?

A L£ you would scroll down a Little bit more
into few, we have a little Zoom meeting bubble.

Q I didn't realize that. Thank you for

correcting.

A No problem. Yes. So yeah, negative 6.7
million looks like that includes inventory write-downs
at about 1.2 million.

Q Describe that to me since you pointed it out.

A That would be -- the significant challenge

that Squirrels Research Labs faced in 2018 is that its

502.589.2273 Phone
, $02,584.01 19 Fax

ead Seat schedule@kentuckianareporters.com
KENTUCKIANA www. kentuckianareporters,com

— COURT REPORTERS +>

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 46201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 124 of 184. PagelD #: 565

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

122

upstream vendor committed delivery of a substantial
amount of hardware in August of 2018. That hardware was
not ultimately -- you know, last boxes arriving until
December 2018. That hardware, as is common in the
electronics world, the value of that hardware for which
we had issued a lot of refunds diminished significantly
in that time. And we ultimately had to sell some of
that refunded hardware at a write-down in the beginning
of 2019.

Q As we looked at with the 2018 statement and in
the bank records, obviously there was a significant
amount of debt to Avnet right at the inception of
Squirrel -- at the formation of Squirrels Research Labs.

Is that accurate?

A Yes, effectively on an accrual basis.
Q Was there ever a point in time until the
bankruptcy case was filed that -- including now, given

the size of Avnet's claim in the bankruptcy case that
there was not debt to Avnet?

A No. i mean, just as our major vendor, we
would've always had some open accounts payable to them
at all times in just the ordinary course of business.

Q Can you guys still -- I just got Like a blip
on my computer. Can you still hear me?

A Yep. Yes.

502,989,2273 Phone
$02,584,0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA wanw. kentuckianareporters.com

-— COURT REPORTERS -

Kentuckiana Reporters
P.O. Box 4983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 125 of 184. PagelD #: 566

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

123

Q Okay. The next exhibit will be Exhibit 26.
It's the profit and loss statement by month for the year
of 2020. Mr. Stanfill, is this -- the document you're
seeing is the document that I previously identified as
the Squirrels Research Labs profit and loss statement by
month for the year of 2020?

(EXHIBIT 26 MARKED FOR IDENTIFICATION}

A Yes.

Q This year, 2020, was -- it looks like the
first year that Squirrels Research Labs turned a profit.
Is that correct?

A Yes, I believe that's correct.

Q Can you describe what was going on? How the
business conditions had changed, or what was going
positively for the business at that time?

A Yes. I'll try to be brief. I think in
general, in the beginning portion of the business, there
was a lot of both supply chain and market price finding.
There were a lot of conditions early on where we were
purchasing underlying costs of goods at some fairly
premium prices only to have our upstream vendor lower
those prices before we could sell them through to
customers. And then, you know, likewise, finding the
price points that were reciprocated or resonated with

the customer baged in the market. That was a

502,589.2273 Phone
$02,584,0119 Fax
schedule@kentuckianateporters.com

KENTUCKI ANA www. kentuckianareporters.com

— COURT SEPORFERS ~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 126 of 184. PagelD #: 567

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 124

significant part of it. I think by 2020, we had gotten
a lot more aggressive with our supply chain on
underlying cost of goods sold and had gotten better
market positioning with the customer base.

In addition, I believe 2020 had some portion
of other income bolstered by the crypto mining revenue,
which was from hardware that we had in operation that
would be -~ you know, maybe ig later to be sold. Or we
did a couple of deals that looked more like profit
sharing partnerships with customers who were purchasing
hardware, started making some more unique structuring of
gales to give us more access Co upside potential on a
long tail. And so those -- the crypto mining revenue
that came from those profit shares as well as hardware
that was being constructed and held in inventory and
operated in inventory bolstered that bottom line and
brought up the profitability.

Q Consistent with what you've just said, I
think, I mean, I'm just looking at the numbers. Crypto
mining revenue is about a third of the way, a quarter of
the way down the page. Looks like 1.1 million, 1.14
million for that year. And looking at the other income,
and -- which, I mean, it's fair to say that that
represents the vast majority of -- that's why -- let me

characterize it differently, because obviously there

502.589.2273 Phone
502,584.0119 fax
schedule@@kentuckianareporters.com

KENTUCKI ANA wow. kentuckfasiareporiers.com

— COURT REPORTERS ~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 127 of 184. PagelD #: 568

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

125

were other sources of income. But the net income for
the year is 1.3 million. So that 1.1 million from the
crypto mining was a big reason why you were -- you,
being Squirrels Research Labs was most success -- had
the most successful year in 2020.

A Yes. We figured out that by selling product
at less markup to partners who were willing to split the
profits of operating that product we could get much
better margins than we could get up front.

Q Is some of that due at all to the fact that
the cryptocurrency market improved significantly that
year?

A IT mean, this -- since our primary sales were
to the cryptocurrency market, that naturally has an
effect of improving all of the prospects of the
business.

Q And some of the losses that we've discussed in
2018 were that was not a good year for the -- I am
getting -- correct me. I'm sure you know more about
this than I do, but I read enough headlines to know that
2018 was a bad year and 2020 was a good year, generally
for the value of these digital currencies. Certainly,
as you just said, that certainly has an impact on your
business each way, right?

A Yes. And as we mentioned in reviewing the

502.589.2273 Phone
502,584.01 £9 Fax
schedule@kentuckianareporters.com

KEN TUCKI ANA wwiw.kentuckianareporters.com

—— COURT REPORTERS

Kentuckiana Reporters
PO, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 128 of 184. PagelD #: 569

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

126

2018 P and lL, the write-down on hardware, that's
significantly influenced by the fact that the market
went down, and thus the value of hardware that
participates in that market dropped off rather quickly.

Q Folks are willing to spend more money to mine
when values are high, right?

A Yes.

Q Did you -- back in 2018 during that initial
phase where there was the slow shipment and some folks
requested a refund, did you -- and I'm asking a question
personally, but I think it's something that the officer
of Squirrels Research Labs would clearly you have
knowledge of. Did you, David Stanfill, personally
refund anyone from your personal funds?

A t would phrase that specifically. There were
instances where I refunded people by way of purchasing
their orders off of them.

Q Explain to me how that works.

A There were -- there's at least one instance
that I explicitly recall where, you know, somebody had a
sob story and they got themselves in over their head,
and the company itself couldn't refund them, or they
weren't eligible for a refund. And I just paid them
personally and just took over their order for that

hardware. And I don't think I even ever took delivery

502.589.2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O, Box 3983

Louisvitle, KY 40201 schedule@kentuckianareporters.com

KENTUCKI ANA www kentuckianareporters.com

—— COURT REPORTERS ~

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 129 of 184

The Deposition of DAVID STANFIDD, taken on April 13, 2022
Confidential 127

. PagelD #: 570

of it. I just left it in the company.

Q Do you have any idea what amounts we're
talking about?

A In 2018, refunds that I would've -- 80 T'ih
clarify two points. One, there were refunds where I
paid cryptocurrency refunds and then got reimbursed from
the company. Those might have been in the tens of
thousands of dollars. The refund, the situation that
I'm talking about would've oniy been a few thousand
dollars.

Q So, okay. So if it was significant, as in
five figures, you would've been refunded by Squirrels
Research Labs for having covered that refund once
Squirrels Research Labs had the capital to do that? But
if it was a small amount, meaning maybe four -- not
small, but you would kind of forgive those yourself?

MR. MERKLIN: Objection.

A Generally, this is true. There's -- I was
regularly willing to try to help out any of our
customers that I could personally.

MR. Stgto: I'm having a smail tech issue with
display. I was lining up for the next exhibit, 60
bear with me for a couple minutes while I get that
resolved. How about can we just take a -- we can

take a five- minute break if anyone needs to.

402.589.2273 Phone
502,584,019 Fax
schedule@kentuckianare porters. com

KENTUCKI ANA www. kentuckianareporters.com

—— COURT REPORTERS ~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40261

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 130 of 184. PagelD #: 571

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

128

MR. MERKLIN: Sure. Yeah. Let's take a
five-minute bio break here.
MR. SISTO: Okay, great.
(OFF THE RECORD)
COURT REPORTER: Okay. We're back on record.
BY MR. SISTO:

Q Mr. Stanfill, I know you described it a little
before and I know you talked about it a little bit
before our meeting, but I just want to get, again, when
you were using your discord as GPU hoarder, was that --
you were representing Squirrels Research Labs, or prior
to that, Squirrels LLC. You did business on your
discord. Is that a fair characterization?

A t don't believe I ever represented Squirrels
LLC on the discord. It wouldn't have any customers or
business relations there. JI used the GPU hoarder
account to participate in numerous discussion boards and
chats, both personally and professionally. I would
agree that it was generally known that I could speak on
behalf of Squirrels Research Labs in the F-P-G-A
oriented discords.

Q Was -- I'm just -- I'm trying to do a couple
follow up questions. I know you talked about how there
was an ownership kind of struggle or disagreement with

your business partners about the direction of two

$02.589,2273 Phone
502,.584,0619 Fax
schedule@kentuckianareporters.com

KENTUCK! ANA www. kentuckianareporters,com

—~ COURT REPORTERS:

Keatuckiana Reporters
P.O, Box 3983
Louisville, KY 4201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 131 of 184. Pa

The Deposition of DAVID STANFILL, taken on April 13, 2022

Configential

gelD #: 572

129

Squirrels into being Squirrels LLC and Squirrels
Research Labs. So there was no plan from the beginning
to separate the businesses. Is that right?

MR. MERKLIN: Objection.

A I don't know whether there was a plan. There
was always a plan that Squirrels Research Labs could be
separated because it could, you know, need other
investors or go in a different direction. And I would
clarify the management dispute had less to do with the
directions of the companies and more to do with the
personal time involvement or lack of time involvement on
my behalf within the Squirrels LLC business.

Q Okay. So you're ~- the business part, your
business partners were (Inaudible) you're going to spend
go much time on Squirrels Research Labs, why are -- why
do you have such a stake in Squirrels LLC? Kind of.

A Correct.

Q Okay. I'm going to go back to the exhibit
that we had open before. It's exhibit 14 on the record.
This is the reconciliation report of the Squirrels
Research Labs checking account. And we -~ I think we
went through up to August 2018 prior. And obviously you
testified about why, early on there were a lot of
payments being made to Squirrels LLC to pay them back

for hardware that they had received, or just to kind of

502,589,2273 Phone
502,584.01 19 Fax
schedule@@kentuckianareporters.com

KENTUCKI ANA yew kentucklanareposters,com

— COURT REPORTERS

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40261

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 132 of 184. PagelD #: 573

The Deposition of DAVID STANFILh, taken on April 13, 2022

Confidential

130

get the accounting straight after, because Squirrels
Research Labs didn't have its own checking account until
July.

I'm going down. So we're still seeing here in
August -- I'm on the August portion of the ledger. Some
pretty significant payments to Squirrels LLC, 384,000,
236,000. Apologies if we looked at this page prior, but
is this still for the same type of reason going into
August?

A Yeah. Squirrels LLC was procuring product,
components, more specifically at this time for Squirrels
Research Labs. And Squirrels Research Labs is paying
them back for components that Squirrels LLC procured for
them.

Q We see here occasional your name, you know,
David Stanfill, Jessica Gritzan also appears at various
points in time. I assume that these would not have been
part of your ordinary compensation. Or is that what
we're seeing when we're seeing you as the payee?

A No, these -- anytime you're seeing anyone
individually as a payee, it's some variety of expense
reimbursement .

Q and the vast majority of the deposits, or all

of the deposits at this point, meaning what we're

talking about is August 2018 and after are customer

502.589.2273 Phone
502.584.0119 Fax
scheduie@kentuckianareporters.com

KENTUCKI ANA woww.keatuckinnareparters.com

— COURT REPORTERS =

Kentucklana Reporters
PQ. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 133 of 184. PagelD #: 574

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

131

funds being taken in.

A Yes, these would all be orders of some
variety. Or vendor refunds or something like that.

Q Were there -- were all the capital
contributions made initially, or were they made over
time?

A In terms of true capital contributions, they
were all made initially.

Q So we're not -- the deposit statements don't
have the payer on them, which is ordinary. I mean, they
wouldn't, But those are not -- those are ~~ those
wouldn't be refleeting any contribution by any of the
owners at that point. And right now we're looking at
September 2018.

A Yeah. Not in September 2018. I think there
were only two times -- or two parties who are owners who
ever made actual -- not capital contributions, but
actual transfers into the company after the initial

formation. And those would've been myself or David

Jimenez.
Q Can you describe those for me, please?
A Yeah, those would be temporary loans made to

the company that occurred, whether it was, you know,
gome certain bill that was due and didn't line up with

the cash flow or ensuring that a salary payroil run

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters,com

KENTUCKIANA www. kentacklanareperters,com

—— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 134 of 184. PagelD #: 575

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

132

could process in time for the first of the month or
something like that. There are not frequent, but there
are a couple instances where I would provide capital a
few days in advance, just for cash flow reasons.

Q Were you always repaid for that?

A Generally, yes. I had expense reimbursements,
which I returned that as an expense reimbursement or a
loan payback on a semi-regular basis throughout the
operation of the company. It wasn't uncommon for me to
purchase something and then get it reimbursed or
something like that.

Q We're seeing -- now I'm on the August -- or
no, sorry, the October 2018 portion of this check
register. And here about the middle of the page, we see
there are still payments going out to Squirrels LLC. And
this time, it's smaller than they were before, about
$120,000 in these for labeled bill pay payment. Do you
know at this point why Squirrels LLC was still
collecting these kind of funds from Squirrels Research
Labs?

A So that would've been probably the last
straggling shipment of long lead time orders that were
paid on delivery that started to finally ship in from a
vendor -- another vendor? I know that at least from one

of those I'm familiar with was -- I'm pretty confident

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA swinw.kentuckianareponters.com

—— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 135 of 184. PagelD #: 576

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 133

Mouser, who's an electronics components vendor. We
ordered something in September for Squirreis Research
Labs from Squirrels LLC, And it finally shipped in
October.

Q Who is Digital Egg Investments?

A That was a customer who had placed an order
and then threatened a Lawsuit and demanded a refund.

Q and that 291,000 reflects the refund they got?

A Yes,

Q And just for the record, I was still looking
at the October 2018 part of the ledger here. We're now
looking at the same document, but at the April 2019
portion of the document. There are -- I'm going to
hover my cursor above them. 1, 2, 3, 4, 5 payments made
to Squirrels LLC in April 2019 totaling approximately
630,000, maybe actually about g40,000. Do you see what
Tim referring to?

A Yes.

Q Why was Squirrels LLC collecting from
Squirrels Research Labs in April of 2019?

A Go at that point there was -- and there exists
to this day in the bankruptcy Squirrels LLC had
outstanding invoices to Squirrels Research Labs of a few
hundred thousand dollars that was never paid by

Squirrels Research Labs to Squirrels LLC, After

$02.589,2273 Phone
502,584.01 19 Fax
schedule@kentuckianareposters.com

KENTUCKI ANA www kentuckianareporters.comt

--— COURT REPORTERS ~~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 136 of 184. PagelD #: 577

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 134

separating the companies, part of the agreement was that
Squirrels Research Labs would begin paying those back.
In addition, there were a very small number of resources
that continued to be shared, which was technical
resources, common account hosted software and encode
repository services, software services. There was a
couple resources that were more cost effective to be
sharing between the two companies than each company
having their own. And it wasn't significant, but we
continued to pay for those.

Q Why did Squirrels Research Labs pay for those?

A Squirrels LLC had the primary accounts on
those services, the Bitbucket account, the Microsoft
Office e-mail hosting services, et cetera. And so
Squirrels Research Labs reimbursed those. So Squirrels
LLC would have, and I presume would be able to produce
the invoices corresponding to these transactions.

Q There is a large claim in the bankruptcy case
filed by a Michael Maranda.

Yes.

A
Q Are you familiar with that?
A

Yes,
Q Can you, as the president of the company,
explain what happened to Brad to that -- I assume it's

an alleged claim at this point.

502.589,2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O, Box 3983 t
Louisville, KY 40201 schedule@kentuckianateporters.com

KENTUCKI ANA winw.kentuckiamareporers.com

—— COURT REPORTERS

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 137 of 184. PagelD #: 578

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

135

MR. MERKLIN: dust so I can clarify, Bryan, are
you asking him to explain what he understands the
claim to be or what he understands the company's
position on the claim is?

MR. SISTO: Sure, I will -- yeah. Thank you
for clarifying, Marc.

BY MR. SISTO:

Q We're interested in what the company's
position on the claim is, I guess, to the extent that
you can provide a specific legal advice on that. You
know, you don't have to share that, but I think you
probably have enough background knowledge about the
situation in your role as a businessperson to share
what's going on with that, to some extent.

A With full reservation of rights on behalf of
the company, to not admitting or denying anything
regarding the claim, the general position is that it's
bogus and a blatant cash grab.

Q And can you provide just -- you don't have to
go into detail, but kind of a brief background about
what happened with Mr. Maranda.

A yeah. So Michael Maranda was introduced to me
in March of 2021. We were attempting to put together a
minimum order quantity as part of a deal with Avnet to

partially reduce their debt, stemming from conversations

Kentuckiana Reporters ‘) 1a etl rane

L ron ory p20 x schedule@kentuckianareporters.com
eussves KENTUCKIANA ww. kentucktanareporters.com
—— COURT RESURTERS

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 138 of 184

The Deposition of DAVID SYTANFILL, taken on April 13, 2022
Confidential 136

. PagelD #: 579

that had been had for the FDLD acquisition. We were
attempting to rescue some parts of those negotiations
that we had had with Avnet. We didn't quite have the
full minimum order quantity together. And a colleague
of mine introduced me to Michael Maranda and said that
he might be interested in purchasing some hardware. We
got on the phone. I was traveling at the time, so I was
out of the country. We got on the phone and negotiated
it, and he agreed to purchase a certain amount of
hardware.

We executed that transaction with a purchase
agreement that had some various terms in it. I was
warned at the time that he was a pretty aggressive
negotiator, and that also he had a habit of putting
sticky language in contracts and then trying leveraged
that language to his advantage later. So I was a little
bit wary of the transaction. But we got an agreement in
place.

Shortly thereafter, he made another purchase.
He was asking if there was more hardware available, made
another purchase. We followed through on that. And
then he kind of rapid fire began trying to purchase more
and more hardware, negotiate better and better deals.
Initially through normal processes, where he was, you

know, coming to us, "Can we sell more hardware? What

502,589.2273 Phone
$02,584.0119 Fax
schedule@kentackianareporters.com

KENTU CKI ANA www. kentuckianareporters.com

—— COURT REPORTERS

Kentuckiana Reporters
P.C. Box 3983
Louisyilie, KY 40263

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 139 of 184. PagelD #: 580

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

137

price? Quote,* et cetera. and then ultimately, I think
because he began realizing he could resell this hardware
to other people at a markup, that's speculation on my
behalf, he started just, you know, having third party
customers he was acting as a channel partner for, send
money directly to Squirrels Research Labs, and then
retroactively telling us how many units it was for, and
what the price was, negotiating a price on new orders
and trying to apply it to old orders, writing sales
orders himself on behalf of the company, which I had
acknowledged that he had asked i£ he could give them a
sales order. I had not acknowledged that he was going
to give them a whole bunch of terms, guch as rights for
us to buy back the hardware from them in the future at
fixed price, and all kinds of terms that were not agreed
with the company.

Just kind of started operating really rapid
fire, really quickly, moving significant amounts of
order flow to the company, which the company, you know,
wasn't looking to not have the order flow. It would've
preferred a more orderly process put was being a little
bit accommodating in order to get the order flow here in
April, May 2021. We continued to source suppliers for
underlying FPGA chips, placed orders, got things in. And

then right around the end of May, early June, some of

502.589,2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www kentuckianareporters.com

— COURT REPORTERS ---

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 140 of 184. PagelD #: 581

The Deposition of DAVID STANFILE, taken on April 13, 2022

Confidential

138

our supply chain came back to us and told us things that
they had promised, promised, promised were on the shelf,
and we would be delivered in May, they were only going
to be able to deliver a fraction of it in June. And the
rest of it, they didn't even know when they could
deliver, but it wouldn't be until like December, maybe
January of 2022.

Q But David, I appreciate your explanation. And
on this particular issue, I'm not going to ask you about
your legal strategy, but suffice is to say, best of luck
for all everyone on this call, with whatever you need to
do on that one. I appreciate some the background, for
sure.

A Yeah. I'll throw the succinct summary that we
believe that we acted in full good faith to fulfill all
the orders we were given. The supply chain stall led to
the fact that we could not fulfill all those orders
timely. Ultimately, Mr. Maranda elected to sell all of
his orders as they stood to Instantiations for a price
higher than he actually even paid for the orders to
begin with. The position is that he got all his money
back and more. And I see no basis for -- whether he has
any claim at all, I won't opine on in this 2004, but I
do not gee any basis for anywhere near the magnitude of

claim, if any, that he has.

402,589.2273 Phone
502,584,019 Fax
schedute@kentuckianareporters.com

KEN TUCK! ANA wivw. kentuckianareporters.com

~~ COURT REPORTRIS -

Kentuckiana Reporters
P.O, Box 3983
Louisville, RY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 141 of 184. PagelD #: 582

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential

139

Q So he sold this Instantiations purchase
hardware from Mr. Maranda directly?

A Yes. And go Mr. Maranda, upon the company
starting to go towards a bankruptcy situation and it
becoming clear that his orders were not all going to he
filled timely, you know, made threats against my life,
amongst other things. I introduced him to Sam Cassatt,
and said, "Look, he might buy your hardware off of you."
Sam, in fact, did. I wasn't party to those
negotiations, but I guess Sam did in fact buy all his
orders into Ingtantiations, as they sat and resolved his
crisis of the moment.

Q The other -- obviously, my client has quite a
large claim, but the other huge claim that's been filed
is by Fleur de Lis Development. And again, I don't want
the whole, you know, story or anything that would be
privileged. dust briefly, this appears and correct me
if my characterization is wrong, but I mean, it is
basically a counterclaim. Both sides are saying this
deal went bad and blaming one another for it. If that's
-- I really don't want you to provide a whole time to
detail or to take a position in that respect. Just, I
mean, is that a fair characterization that each side
thinks they're owed money based on the way that the deal

broke down?

502.589.2273 Phone
502,584,0119 Fax
scheduleg@kentuckianareporters.com

KENTUCKI ANA www, keatuckianareporters.cont

—— COURT REPORTERS

Kentuckiana Reporters
PG, Box 3984
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 142 of 184. PagelD #: 583

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

140

A Yes, as debtor representative, my view of that
claim is it ig a defensive counterclaim.

Q In other words, filed to generate leverage
against the position. Because I mean, I believe the
case hag actually been removed into the bankruptcy court
now, where Squirrels (Inaudible) --

A That's correct. That's correct, Bryan. The
lawsuit that was initiated by Squirrels Research Labs
against Fleur De Lis has been removed to the bankruptcy
court and is pending.

Q I don't have much more. I didn't completely
resolve the tech issue that I discussed earlier, so
forgive me for taking a short break. And I think we'll
be done fairly early thereafter. Thank you.

MR. MERKLIN: How long you want, Bryan?
{OFF THE RECORD)
COURT REPORTER: All right. We're back on
record.
BY MR. SISTO:

Q I mean, basically what we were produced, you
know, we, meaning myself and Carl, and myself as his
attorney, this account ending in 6063. There are some
other small accounts, and I'm going to ask you a couple
questions about them. But that was the only account

that moved significant funds for Squirrels Research

502.589.2273 Phone
. $02.584,0119 Fax

ad schedule@kentuckianareporters.com
KENTUCKIANA www. kentuckianareporters.com

—~ COURT REPORTERS ~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 143 of 184. PagelD #: 584

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

141

Labs. And by significant, I mean, you know, more than a
million dollars. Is that -- there's nothing missing
here, is what I'm asking you?

A Yes. That's other than transactions that
occurred in entirely in the Squirrels LLC account, at
the very beginning, in and out to a vendor. All other
substantial transactions of any nature went through the
6063 account. There was at least one account that was
created because of the paycheck protection program. It
was created with the bank that provided the paycheck
protection loan, That's the only other account I'm
actually even aware of.

Q So there's the -- I do want to -- I'll show
this exhibit. It's exhibit 40, and this is -- the
account number is redacted as it should be. It ends in
1770. This is from November of 2019. And it looks like
there's deposits from Italy, Germany, France.

(EXHIBIT 40 MARKED FOR IDENTLFICATION)

A Yes. I forgot about this account, It was
common operating procedure for us to have a separate
bank account that we used for inbound wires, just, you
know, to not have the main bank account number
circulated. I'd forgotten about this account. So the
1770 account would have been the account into which

inbound wire transfers, particularly international wire

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUC CI ANA www. kentuckianareporiers.com

— COHIRT REPORTERS

Kentuckiana Reporters
2,0, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 144 of 184. PagelD #: 585

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

142

transfers were transferred into. And then they would be
moved into the 6063 account internally, to conceal that
full account number.

Q This account looks like it was only open for
two months. And I mean, there weren't any other of
these wire accounts produced. So was this just
something you did for two months in 2019?

A I would've expected that wire account
persisted all the way through the filing. I wasn't
handling accounts receivable and the bank accounts
directly, so I'd have to check on that. And obviously
those accounts are all closed now, so I can't see them
if I log-in. I would refer to the schedules because if
that account was in uge, we would've scheduled it.

Q Okay. And there's transactions like with
Coinbase on here. Why would you be receiving a wire
deposit from Coinbase?

A So if anybody paid us in cryptocurrencies and
the Coinbase exchange was used to convert that to US
dollars, that payout would've transacted into the wire
account generally.

Q Okay. We don't -- as you said, it appears
that most of these transactions are going back out to
the 6063 account. There are a handful of transactions

that went to you personally, it appears, here at the

( i \ 502.589.2273 Phone
So 502.584.9159 Fax
schedule@kentuckianareporters.com

KENTUCKI ANA www. keatuckianareporters.com

—— COURT REPORTERS ~~

Kentuckiana Reporters
BO. Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 145 of 184. PagelD #: 586

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

443

end. Do you know why this account would've been handled
differently, or what's going on with that?

A Those would've been reimbursements. Why they
were done out of that account, my guess, because those
look like QuickPay payments. So probably they just
grabbed the wrong account on accident when they were
paying it. QuickPay is like Chase.

0 Sure.

A Person to person, if you're not familiar with
it. And so for gmail reimbursements, sometimes QuickPay
was used to reimburse people.

Q So you're not sure why this account would've
been -- I mean --

A Yeah. I'm not sure why those QuickPays
would've originated directly from the wire account.

0 Okay. This account was open for two, three
months, two months, November 2019 to December. So as
you can see, there's a zero balance there at the end. I
should have asked you if what I described initially
matched what you were seeing on the screen, as far as
the last four digits and that this was a Squirrels
Research Labs account?

A I would suggest that you request to ensure
that there are not statements for this account in the

future, and you were just provided only a partial set of

§02.589,2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com

KENTUCK! ANA www. kentuckiauareporters.com

—— COURT REPORTERS — ~

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40261

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 146 of 184. PagelD #: 587

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

144

statements, because I don't believe that there was a
scenario where the wire account was only used for three
months. I believe it was used for the whole operation.

Q So it was just a coincidence that it was a

zero balance at the end of this one?

A Yeah. Because nothing was ever held in it. As
things came in, they were moved to the 6063 account. So
it wouldn't be uncommon for it to have zero balances
often enough, that it would catch a month end or
statement end period.

Q Sorry, I'm jumping around as we're kind of
cleaning up here -- things. So when Avnet, this is when
the company started, and you ordered the chips, you
being Squirrels Research Labs, the Xilinx chips, and it
was done through Avnet. And then there was the slow
shipment initially. And you refunded some, but not all
of the folks who purchased chips. And I'm only doing
the narrative to reorient us, because I jumped around on
a topic. But did Squirrels Research Labs ask Xilinx or
Avnet for any refunds of what you had paid them for
their delays?

It did,
Did it receive a refund?

It did not.

Oo Fr oO FY

Squirrels Research Labs was refunded nothing

$02.589,2273 Phone
antl s 502,584.01 19 Fax

“ P schedule@kentuckianareporiers.com
KENTUCKIANA wiww. kentuckianareporters.com

—— COURT REPORTERS ~~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 147 of 184. PagelD #: 588

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

145

from Avnet or Xilinx?

A Correct.

Q Was there a dispute over that?

A Yes, And without disclosing privileged
attorney client information, it wasn't something that we
pursued based on the likelihood of success.

Q Okay. I, and I know that some of this was
covered prior, but I, and I’m not going to ask you
questions that I think, I think that they're going to
stick to the, and you and Marc, can tell me if you think
they go outside those lines, but did twirls research
labs request a refund from Avnet and/or Xilinx?

A Yes.

Q Do you remember when and which of those two or
both, that the refund requests were made?

A I recall explicitly requesting at least a $2
million credit from Xilinx directly. The timeframe was
likely October or November. It could have been anywhere
from September to November. I'd have to check my

records, but I believe October was when we made that

request.
Q Did you ever make a direct request of Avnet?
A Avnet was -- at the same time we made the

request to Xilinx, we would've directed a request to

Avnet. They basically told us need to ask Xilinx.

502.589.2273 Phone
Se 502.584.0119 Fax

Shad schedule@kentuckianareporters.com
KENTUCKIANA wow. kentuckianareporters.com

—~ COURT REPORTERS

Kentuckiana Reporters
P.O). Box 3983
Louisville, KY 40201

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 148 of 184. PagelD #: 589

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 146

Q You never did business directly with Xilinx
though, correct, it was always through Avnet?

A The way the industry works is a little bit
strange because basically if you start buying high
volumes from a company like Xilinx, you're dealing with
their sales reps and their team, but all of the actual
paperwork and ordering and everything has to flow
through the distributor of Avnet. So Avnet is not
selling you Xilinx chips. Xilinx is, and they're
saying, "Pay my buddy over here."

Q Did you, meaning Squirrels Research Labs, so
you were refused a refund, that you requested a refund
in the form of credit, is what you said, did you ever
receive all of the product that was paid for even if it
was late?

A Yes, we did ultimately receive the full

shipment, which was non-cancelable non-returnable by

nature.
Q And when did you receive the full shipment?
A The last boxes were received in, I believe,

December 2018. It could have been as late as January
2019.

Q And what -- well, were some of those chips
made it all the way through to what was sold to

Instantiations, or were ali those eventually sold from

402,589,2273 Phone

Kentuckiana Reporters 562.584.0119 Fax

P.O, Box 3983

Louisville, KY 40203 schedule@kentuckianareporters.com

KENTUCKIANA www. kentuckianareporters.com

—— CORIRE REPORTERS ~~

a4

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 149 of 184. PagelD #: 590

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential ,

147

that batch at the end of 2018?

A To my knowledge Instantiations doesn't own and
never purchased any of that type of hardware, that was
part of that original sale.

Q Can you -- do you know what happened, were all
the chips just resold?

A Yes. Once the -- for example, when your
client refused shipment and ultimately we were left with
inventory sitting on the shelf, we ultimately resoid
that.

Q But my client was not refunded for his
purchase after you resold the inventory. Is that right?

A No. I think, yeah, that would've gone to pay
the remaining open with Avnet.

Q So you were there paid twice, in essence for
certain stock?

A They were not paid twice.

MR. MERKLIN: Objection.

A I can't speak to the fungibility of funds, but
there were balances owed to Avnet that were paid with
the equipment that was sold at loss.

MR, SCHWIEG: Bryan?
MR. SISTO: Yes.
MR, SCHWIEG: I just want to let you know, I

have another appointment, so I'm going to be exiting

302.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareperters.comt

KENTUCKI ANA www, kentuckianareporters.com

—ee COMRT REPORTERS

Kentuckiana Reporters
P.Q. Box 3983
Louisville, KY 40201
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 150 of 184. PagelD #: 591

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

148

the depo at this point, but it sounds like you're
getting close to the end.

MR, SISTO: Yeah, we'll be wrapped up here
shortly and I appreciate your time and everybody's
time.

MR. SCHWIEG; Sure. Take care.

MR. SISTO: Yeah.

MR. SCHWIEG: Bye-bye.

BY MR. SISTO:

Q When -- in 2018, after Xilinx and Avnet, I
know you just described the relationship in better
details than that, but I'm going to use that as
shorthand for that, we're late in shipping this product
that you had promised customers, were those customers’
funds used to cover operating expenses of Squirrels
Research Labs in the intermediate time?

A I can't definitively answer that. That's the
accounting question, I suppose.

Q Well, were they put into an account from which
expenses were paid?

A Yes, they were not -- the funds were not
segregated in any way.

Q So operating expenses were paid from that
account. We're talking about the 6036, whichever, I

might have the digits -- the main checking account,

402.589.2273 Phone
502.584.0219 Fax
schedule@kentuckianareporters.com

KENTU CKE ANA www-kentuckianareporters.com

—~ COURT REPORTERS -

Kenhickiana Reporters
P.O, Box 3983
Loulsville, K¥ 40251

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 151 of 184. PagelD #: 592

The Deposition of DAVID STANFILL, taken on April 13, 2022

had not yet received their product or a rebate, were
(inaudible) ?
A Yes.
COURT REPORTER: Sorry. Mr. Sisto, I didn't
get the end of your last question.
MR. SISTO: I'll just ask it again for the
record.
BY MR. SISTO:
Q Customer funds -- for customers who had not
received either a rebate or had been shipped their
product, were also in that general operating account?

A Yes.

Confidential 149
correct?
A Yes.
Q And customer funds, including customers who

Q I just lost my train of thought when I had to

restate my question. Sorry. That was also this time
when Squirrels Research Labs was indebted to Avnet for
over $10 million up to $13 million, and had thus far
only collected 5 or $6 million in receivables, is that
correct?

A Squirrels Research Labs never had an open
account balance at the time that it was $10 million or
more. The order wasn't placed until the first 50

percent had been paid. So it could have been a max of

502.589.2273 Phone
502.584.0319 Fax
schedule@kentuckianareporters.com

KENTUGKI ANA www kentucklanareperters.com

—~ COURT REPORFERS:

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 152 of 184. PagelD #: 593

The Deposition of DAVID STANFILL, taken on April 13, 20622

Confidential

150

around $6.6, $6.7 million that was open on the order.
Q Okay. Did Squirrels Research Labs have a

credit card?

A Yes.
Q Just one card,
A I think it was just one master account. I

don't know if there were sub-cards or cards and other
names.

Q What was that account used for?

A General purchases, procurement, bill of
material items, tools, incremental operating expenses,
things of that nature.

MR. SISTO: Mr. Stanfill, I'm done. I think I
do want to say a couple things on the record, as far
as I appreciate that you acknowledged that I was
going to be asking about it. I appreciate that you
acknowledged that there are still some documents
that we had discussed receiving that have not
actually been received, particularly during the time
that Squirrels LLC was holding Squirrels Research
Labs funding. And again, and this is for Marc, as
much as for you, but we still have not gotten that.
And we believe those are completely relevant, as it
was Squirrels Research Labs funds that were being

held.

502.589,2273 Phone

Kentuckiana Reporters 502.584.0119 Fax

P.O, Box 3983

Louisville, KY 4020! schedule@kentuckianareporters.com

KENTUCKI ANA www. kentuckianareporters.com

oom COURT REPORTERS

24

25

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 153 of 184. PagelD #: 594

The Deposition of PAVID STANFILL, taken on April 13, 2022

Confidential 151

MR. MERKLIN: Yeah, Bryan, as the witness
stated, we've requested those funds, but obviously I
don't represent Squirrels LLC. We don't control
Squirrels LLC. So, you know, obviously if they
respond to us and produce documents, we'll produce
them. If they don't, we'll let you know, and they
can be the subject of a subpoena.

MR. SISTO: Yes, I understand. We don't have
to argue legal positions on it. I guess it's hard
for me not to view that as anything other than both
of the company's records when based on the other
positions within the --

MR. MERKLIN: I don't think the --

MR. SISTO: That's fine.

MR. MERKLIN: I don't think the issue is
ownership of the records, The issue is who has
current possession and control of them. If we have
possession and control, we've either produced them
or we will produce them. If we don't have
possession and control, we'll let you know. I don't
want to create a problem that doesn't currently
exist. I don't think we anticipate they're going to
resist giving us the documents. If they do, we'll
let you know.

MR. SISTO: You know what, Marc? If we could

402.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianarep com

KENTUCKI ANA www. kentuckianareporters.com

— COURT REPORTERS «~~

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

24

25

Confidential

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 154 of 184. PagelD #: 595

The Deposition of DAVID STANFILL, taken on April 13, 2022

have a brief conversation, maybe I think this
conversation will probably happen off the record.
And I think we've just had most of it, but it's
probably not something we need to discuss. Sol
should allow you to ask any questions that you have.

MR. MERKLIN: No, I'm not going to ask any
questions of my own representative.

MR, SISTO: Okay.

COURT REPORTER: Okay. Mr. Sisto, how did you
want to order your transcript?

MR. SISTO: Condensed is fine.

COURT REPORTER: Okay. Mr. Merklin?

MR. MERKLIN: I don't currently want to order a
copy. I'll let you know if I need one.

COURT REPORTER: Okay. And then Mr. Stanfill,
you have the right to read the transcript, or you
can waive your signature, but if you read it, you
can change -- you can't change your testimony, but
like if you said, blue car and I put red car, you
could change that discrepancy. 50 would you jiike to
read or waive?

THE WITNESS: I --

MR. MERKLIN: I think you probably should look
at it.

THR WITNESS: Yeah. Yeah. I'll read it.

502.589.2273 Phone
502,584.01 19 Fax
schedule(@kentuckianareporters,com

KENTUCK! ANA www. kentuckinnareporters.com

—— COURT REPORTERS

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

152

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 155 of 184. PagelD #: 596

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 153

COURT REPORTER: Okay. And then, so can I get
a good e-mail for you to send it to you?

THE WITNESS: Yeah. The best e-mail for me is
going to be David, D-A-V-I-D@D-A-8-factory,
F-A-C-T~O-R-¥.com.

COURT REPORTER: Okay. Then we will go off
record --

(DEPOSITION CONCLUDED AT 2:41 P.M.)

502.589.2373 Phons

Kentuckiana Reporters 502,584.01 19 Fax

P.O. Box 3983

Louisville, RY 40201 schedule@kentuckianareporters.com

KENTUCKI ANA wow. kentuckinnareporters.com

—~~ CODRE REPORTERS

24

a0

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 156 of 184. PagelD #: 597

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 154

CERTIFICATE OF REPORTER

STATE OF OHIO

I do hereby certify that the witness in the foregoing
transcript was taken on the date, and at the time and
place set out on the Title page hereof, by me after
first being duly sworn to testify the truth, the whole
truth, and nothing but the truth; and that the said
matter was recorded digitally by me and then reduced to
typewritten form under my direction, and constitutes a
true record of the transcript as taken, all to the best
of my skill and ability. I certify that I am not a
relative or employee of either counsel and that I am in
no way interested financially, directly or indirectly,

in this action.

sofa [acinar VENEMAN,

COURT REPORTER/NOTARY
MY COMMISSION EXPIRES: 10/20/2025

SUBMITTED ON: 05/13/2022

402,589,2273 Phone
502.584.0119 Fax
schedule@@kentuckianareporers.com

KENTUCKI ANA www. kentuckianareporters.com

—~ COURT REPORTERS.

Kentuckiana Reporters
P.O. Box 3983
Louisville, K¥ 40203

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 157 of 184. PagelD #: 598

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 155
$6.6 150:1 120-millimeter 2012 36:7 22 72:2,3
$ $6.7. 150-1 THA8 2017 25:17 22,500 78:3
$0 44:10 $7,000 80:1 1212 71:14 2018 22:2,3 236,000 130:7
424 77:5 25:47 31:13
$1,000 30:4 $750,000 37-44 A416 24 102:13,17
(:12 80:19 95:16 12:15 56:24 44:7,14,17 45:8| 24. 72:13
, $800,000 43 67:4,15 46:4 47:24 95 13:23 45:10
$40 77:22 78:7 16:7 103:3 48:3,11,22
449:19,23 49:2,6 52:6,13 22:12 23:2
19, $834,000 45:8 | 13,342,000 53.0 Ba:4 10 412:22 113:5
$10,000 74:7,9| g9.5 54:10 (03:16 99:14 104:13 26 123:1,7
POAT 14 54:18,19,20 102:14,24 97 64:19
$100,000 78:8 4 129:49 103:1,42
62:6 116:7 1079 105:22 106:7 29 120:10
15 66:9 72:4,9 447:24 121:25
$11,000 54:23 1 42:18 99:7 150 75:2 422:2,4,10 291,000 133:8
133:14 425:18,21 :
$120,000 450CP 67:15 joe 8 127A 2:41 153:8
132:17 1,000 30:4 . 2TPS 86:6
1770 141:16,24 129:22 130:25 ,
$13 149:19 1,325 79:25 1986 131:14,15
9:3 . :
$15,000 79:9 1.4 124:24 13213 133:11 3
. 4:00 17:15 57:8 146:21 147:
$2 145:16 125:2 98-7 448:40
4.14 424-21 98:7 3 42:18 133:14
$20,000 48:6 " Ast 90:10 2019 23:16 3.4 10647
78:16 79:16 1.2 124:22 AX Tit 36:41 37:14
. . Az 41:6 105:20 30 13:24 27:21
$200,000 son 1.3 106:9 125:2 142:24 143:4,7 47:2 53:13
1.47 107:6 2 444140 116:2,4, 66:13 67:14
$205,000 4.5-millimeter 9,18 117:13 403:19
54:15,20 67:3 2. 42:18 53:2 ean 42:0 31 44:7
$26,000 30:8 10 70:47 72:3 102:3,7 193:14 433:12,15,20 310 43:3
75:4 200 84:11 4141:16 142:7 319 74-22
2 : : : .
$250,000 78:8 | 499 40:14.67:8 | 200,000 76:18 ROT eee | oo 66:25
$3 78:6 72:16 76:2 200-volt 67:22 2020 87:15 ’
$30,000 133:16 415:9 vor ot 123:3,6,9 341 16:18 95:9,
401 653 20021141 81:7 124:1,5 125:5, 22 106:23
. . 2 .
$36,000 54:22 sole oot 3002182208 4 409:4
$4 78:6 ‘ 69:15 2021 23:19 36 9:4
$40,000 133:16, 1099 26:6.10 2004 7:15 62:19 86:3.11 | 3636EUFD
273 ‘ 88:7 89:11,12
$400,000 48:7 | gay grag ona ay ent 90:10 91:14 79:1
54:5 13,17 18:24, 109:4 135:23 384,000 130:6
25 19:43,21,24 ,
44 6:8 47:19 eee 437:23
$440,000 57-6 81.93 25 20:1 59:7 99:2 3X 66:14
47:25 48:1 Bes 402:3,11 114:3,, 2022 138:7
65:20 66:10 790 442:23
$500 84:11 69:18 90:18,21 13823 215 66:5,13,22 4
. . + .
$900,000 11:00 56:8 2008 21:5 245+ 77:3 4 tires 119205
14:05 56:23 26:22 89:6,10 215s 66:4 433-14
$6 49:20 42 124: 2009-10 27:3 | 219 80:19 45 100017
$6,000 80:18

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS -

502,589,2273 Phone
§02,584,0119 Fax
schedule@dkentuckianareporters.cont
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 158 of 184. PagelD #: 599

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 156
4.6 116:9 accident 143:6 6 116:15,16 146:6
40 141:14,18 accidentally lot adapter 67:2
8:12 :
een 7 9018.22 accommodati accumulates ees
70 57:7 81:6 106:19
400 47:25 ng 137.22 add 19:6 29:4
, 732 69:23 lish accurate 29:6 “—
401K 112:13 75 80-15 eo isnes 38:6 40:18,19 added 70:8
440,000 48:7 " . 49:18 50:18 addition 39:7
accomplishin 52:13 64:47 10621 124:5
45 17:14 87:14 8 g 64:4 68:7 82:10,12 ' °
400:14 102:45 134:3
45-minute account 33:8 ‘
S/-7 8 105:23 COUNT oe. 403:4,6 106:10, additional
ere foo 11.122:14 B5:7
. . 5 t:2 :
476 84:5 800 65:24 60:29 96:20 acknowledge additionally
4BCU 72:2 B70 88:9 104:16 108:2 96:15 100:7,14 78:10, 12
APV2 70:19 870,000 88:12 128:17 129.21 acknowledged| addressed
130:2 134:5,13 95:14 96:25 74:13
140:22,24 41649 137:11, .
5 8 144:5,8,11,15, 42. 150-15,17 adhesive
{9,21 ,22,23,24 65:20
5 44:14 133:14 9.5 104:15 142:2,3,4,8,14, | acorn 64:24,26 ta AT:
449:20 21,24 143:1,4, 6§5:2,3,7 66:4,5, admin 47:17
93 74:14 6,12,15,16,22, 8,11,13,22 administrative
98:10 103:21 80:3 448:19,24,25 acorns 65:7 ttt
104:9 149:24 449:14,23 : admitting
B1 94:17 A 450:6,9 acquire 23:7 135.16
57 79:21 accountant acquisition advance 57:16
a.m. 56:8 50:6 61:3 138:4 .
5x5 71:22 , 416:16 118:14 acquisitions advantage
5x64 66:4 Ad 773 accounted 89:3 136:16
A4215a4 77:7 105:9,15 Acrylic 67:1 advice 19:10
6 abbreviate 106:17 116:17 : 20:24 89:24 25
. act 32:14 91:4 119:45
66:18 accounting 435:10
6,006 80:1 abnormal 37:8 39:16 47:7 acted 46:14 ,
: 50:17,26,21 138:15 advisement
6,782 78:15 {20:20,22
; 51:14 1014:24 acting 137:5 85:17 90:4
6.7 403:4,24 Absolutely 105:12,22 ‘ advisory 14:9
424:14,20 87:15 107:24 108:1,8,| action 28:7 ry
6036 148:24 acceleration Foo 130 85:18 91.24 affect 19:4
6063 140-22 24:11,14 25:17 4148-18 . active 65:19 affirm 7:4
144:8 142:2,24 accelerators accounts TAS 9448 afternoon
144-7 28:3 65:18 44:49 5246 activity 44:23 56:47
632 71:4 accept 111:10 62:11 104:2 882 tote aggregate
407-1 109-19 103:14 109:2,8 soe 76-13,19
66 77:5 access 36:22 20,22 120:42 acts 28:13 227047
69 80:12 81:1 424-12 hoes hoe. actual 9:5 aggressive
6BLI23067 71:4 accessories 40,12 11-11 16:14 124:2 136:13
60:12 73:10 34:9 15:79 agree 82:3
accrual 103:5, 431:17,18 g
95:23 128:49

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS

402.589.2273 Phone
502,584.01 19 Fax
schedile@kentuckianareparters.cony
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 159 of 184. PagelD #: 600

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 157
agreed 37:5 amortize 25:24 appears 48:5 assume 10:8 90:17
120:13 136:9 26:2 100:16 102:23 13:7 63:14 automated
{37:15 amortizin 03:5 1413:6 30:17 134:24 67:20
agreement 29:23 3 130:16 139:17 assumed
88 not S 442:22,25 hy -04 Avnet 30:22,24
61:8 47 68-17 amount 24:22 applicator : 31:4,76 33:1,2,
79-24 80:13 88:11 95:15,24, 69:15 assuming 4,7,9,13 46:23,
84:2 7 410:8 9 25 96:4 103:15 : 92:21 25 47:8 52:7,8,
184-4 136-12 408:14 109:14 applicators attached 97:24 12,25 53:2,6,8,
47 , _ 446:20 120:7 72:5 . 10,22,23 54:3
122:2,12 . attachment 58:12 59:3,8,
ahead 15:22 {27:15 136:9 apply 197:9 401:3 42,24 60:8,10,
41:19 60:3 appointment / 49,22,25 64:1
TA14 73:8,18 aero 147:25 attempt bs 63:23,24 64:1,
78:11 79:4 437-18 , jatel ‘ . 7,10,11,25
{13:12 117:7 a Sl¥ | attempting 65:1,2,3,5,6,7,
418:6 121:5 analyze 91:15 : 61:5 135:23 8,13,16,19,20,
: . . approximately 136:2 23,24,25 66:2,
aid 76:7 and/or 145.12 66:13 69:23 tend 24:10 7,8,10,11,13,
Akron 6:9 Andrew 6:19 72:15 103:2 atrende' 16,17,19,24,25
; . 22:18 23:3 134:15 attending 6:4, 67:1,2,3,4,5,6,
alerting 12:19 99:47 42:8 April 36:10 6 8,9,10,12,13,
Aligned 112:1, P : 15,16,17,18,19,
4 announced 133:12,15,20 attorney 19:11 20,24 22,24
113:23 114:10 137:23 89:25 140:22 68:7,23,25
Aigniment answering argue 94:18 145: 69:5,7,14,16,
410:42,15,19 12:1 60:3 64:8 151:9 attorney-client 18,20,24 70:10,
449-17 49 68:8 argument 19:9 90:24 ae rae
_ : 93:13 23,24,25 71:4,
alleged 134:26) answers 178) teen’ . . 14,15,16,18,23,
:25 60:4 64:5) oriying 122:3 | attorneys 6:21 24 72:5,6,17,
Allmine 34:22 tos 90:4 48.20 73:14,19
46:8,9,16.47:12| anticipate Arrow 77:13 99.94 76.
55.16 97:8,9 17:13 66:11 78:14 94:42 attract 88:3 74:22,24 76:3,
. Oy 451:22 . . d 9,25 77:8,12
alluded 36:22 Coat ASDMPLV attracte 79:6 80:7,11,
anticipating 80:9 87:23 17,18,20 81:4,
l tion 73:16 ‘ :
ater rons \ ASIC 28:15 attracts 87:25 17 82:2,10
anticipation 92:20,22 93:2,
i ttributed 17,20 94:9,12
altered 28:17 33:21 aspersions a ’ martes
8740 87:24 115:24 17,23 95:1
alternative anytime ‘ audit 88:10 403:15 104:9,
0:9 30:2 . .
9 4 0 assemble 408:15 44 106:4
alternatives AONT400A 116-18 117:1,8,
91:22,23 81:15 assembled August 37:11 14,19,22 118:8,
A 60:7 64:6 69:20| 48:22 49:4,6 26 119:25
manda APA 75:1 52:6,13,21 53:2 120:8,9 122:12,
50:24,25 51:4 ; assembly 544,19 55:4 49 135-24
Apologies ' .
ambiguity POT. 73:13 89:6,10,11,12 136:3 144:42,
65:14 asset 57:24 92:9,17 99:15, 15,20 148:1,12,
apologize 61-7.16 68-16 18 100:10,17 22,23,25 146:2,
ambiguously 12:20 57:16 79:24 80:42 112:10,11 8 147:14,20
71:8 68:18 84-4 6 110:8 122:2 129:22 {48:10 149:18
“ . 130:5,9,25
AMD 28:1 appearance assets 14:3 432-42 Avnet's 33:11
70:24 94:15,16 6:4 58-2 B B4:12 53:14 78:13
92-12 419:2 authorization 93:10 94:7

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

wn COURT REPORTERS,

402.589.2273 Phone
402.584.0119 Fax
schedule@kentuckianareporters.com
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 160 of 184. PagelD #: 601

The Deposition of DAVID STANFILL,

taken on April 13, 2022

Confidential 158
119:4 122:18 77:20 79:10,14 24 billions 28:14 bolstered
aware 84:7 88:12 batch 147:4 bin 72:4,9 124:6,16
85:12,14 94:16 | bank 44:19,25 . book 124:6
118:19 144:12 103:23 104:17 Obie Blo 128:2 hookkeeper
awareness 405:5 122:11 a7 tomiata | bit. 17:21 26:15 Bt P
19:23 141:10,21,22 hens 32:3,23 36:23 "
. 142:10 bear 127:23 38:8, 16 52:3 bookkeeping
57:18,23 59:25 39:20
B Panking 88:28 rig 00:8 918 60:16 64:15 books 50:13
bankruptcy 44 436-22 — 66:9,18 82:17 99 —
Bachelors TAZ 14:8 20:8, 437-2 94:7,18 95:11
4:7 25 24:20 23:12 97:3 98:22 born 9:2
24:3 58:4 61:8 begin 7:9 33:9 103:7,16 borrow 40:22
back 11:25 82:1 84:11,13 34:5 77:9 85:5 424:16 128:8 109-6
29:9,20 49:17 85:4 90:6,18 148:8 134:2 436:17 137:22
Sa tte 93:6,8 95:18 138:21 146:3 bottom 50:4
8 67:4 71: 109:10 122:17, . . 77:25 88:4
75:21 89:5,8 418 133:22 beginning Bitbucket "
95-12 97.348 20:17 24:2 44:9 134:13 106:12 146:6
12 97:3, 134:18 139:4 oo 121:14 124:16
98:18,25 105:1 140:5,9 PEN 78:25 Bitcoin 14:21
106:14 113:9 81:9 89:4 122:8 , bought 23:18
420-15 126:8 barbs 70:23 123:17 129:2 black 71:20 60:11,22
128:5 129:18, base 32:21 141-6 blaming box 66:12
24 120:43 34:9 35:4,5 begins 80:8 439:20 74:22 72:8
134:2 137:14 94:6 124:4 B17
438:1,22 blank 28:13 boxes 66:25
440017 142:23 based 28:3 begun 34:74 bianket 67:4,9 70:22
40:11 53:9,14 72:41 122:3
backed 106:4 58-19 82:4 behalf 50:11 4119:11,13 20
ee 51:9 100:3 blank 146.2
90:12 103:14, TN: i
background Ot 103:98 106:12 128:20 anking 85:15) Brad 67:22
28:23 83:18 139-24 145-6 429:42 135:15 planks 48:5 434:24
85:13 95:12 . ‘ 437:4,.10
411:8 135:42, 154:11 blatant 135:18 Brady 67:23
. . i 113 '
20 138:12 basic 34:2 beings 17:1 blip 122:23 brand-new
packing 53:10 basically pereves block 67:1 409:23 11816
, 24:40 30:7 32:6 417-10 100:9 brass 70:23
65:10,11 59-48 70:6 beneficiary procks 66:24 breadth 27:19
bad 66:10.11 85:20 89:4 15:16 break 17:9,11,
ou 90:19 94:26 ft an blue 70:25 12,14,16 56:11,
125:21 139:20 98:6 96:8 benefit 92:17 72:4,8 74:49,20| 21 57:5,8 64:15
baked 120:24 114:13,15 bidder 110:7 77:24 152219 97:11,24 98:2,
116:21 117:9, . 3,5,15 127:25
47:2 62:22,24 139:19 140:20 92:8 93:20 board 32:13.16 oe
103:49 143:18 44525 146:4 99:16 125:3 64-67 65-23. breakout
144:5 149:23 | sis 34:42 biggest 93:23 70:7,9 108:19 6923
balances A0:1 77:47 bill 49:2553:7,| hoards 69:23 | Preacouss -
120:13 14:8 94:12 96:4,10 43 73:12 75:13 70:20 75:7 mes
147:20 103:5,6 111:21 104:7 131:24 103:13,15 briefly 7:12
ballistic 67:6, toe tot 132:17 150:10 {28:17 22:10 26:14
25 120: 9, ' : :
ballpark 54:9 132:8 138:22, 70:4 94:23

Kentuckiana Reporters
P.O, Box 3983
Louisvilie, KY 40201

KENTUCKIANA

cow COURT REPORTERS ~~

502.589.2273 Phone
502.584.0159 Fax
schedule@@kentuckianareporters,com
wiv. kentuckianareporters,coms

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 161 of 184. PagelD #: 602

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 159
113:9 139:17 17 33:1,12,23 — Carl 6:10 7:16 chain 26:3 30:8
. 34:2 37:10 Cc 95:10 98:23 34:16 42:10
on 19:18 38:21 39:14 104:3,5 140:21 90:12 123:18
, AQ:7 44:24 C-O-R-Y 22:17| cart 70:24 124:2 138:1,16
broad 73:22 53:5,6 55:9,19 challenge
82:8 73:25 74:16 C0402 80:24 case 6:11 7:17 104-94
84:3,6,8,17 C13 69:17 41:8 14:8,14 .
broadly 10:8 87:5,13,14 46:14,17 20:8, | change 45:9
30:16 37:23 89:25 90:7 cable 67:2 26 24:3 57:19, 7A:47,25
broke 38:8,9 91:19 92:24 cables 67-18 25 58:4 61:8 106:28 116:42
499:25 93:15,16 94:22, §9:14,17,19 70:9 776 78:20 152:18,20
broken 66:47 26 100.4 71:23 79:22 82:1 changed 24:5
‘ 101:16 105:15, 84:15 85:4 85:2 19314
Wa? 20 109:2,11,17,| call 29:2 43:20 94:17 97:6,11, eh ees
brought 22,23 110:16 47:14 68:4 22 99:4 109:24,| channel 31:24
12417 114:12 118:16 72:24 93:17 25 122:17,18 46:5 104:6
119:5 122:22 99:4,5 119:8 134:18 140:5 107:9,11 118:1
Brouse &:7 123:14,15,17 138:11 137:5
20:4,6,10,13,19 125:16.24 cases 47:12
91:3,14,23,25 428-42. 46,25 called 26:16,23 72:4,9 121:3 channels
12,70, 34:22 46:6,9 34:13 46:8
Bryan 6:10 129:12,13,14 70:25 100:1 cash 31:17
7:15 9:22 42:24 146:1 lis 83:16 44:17 49:19 chapter 6:8,14
: . caus : : : ,
56:10 59:10 businesses 88:14 96: ; 90:18,24,22
M16 136. 9:20 13:9 19:2 | Gamo SPr12 13131:25 | character
140:7,45 eer cancelable 132:4 135:48 35:22 88:4
a ee 96:7 twati
147:22 151:1 29:16,19 32:25 Cassatt 83:18, characteriza
bubble 121:17 36:15 37:14 cans 66:13,23, 29 84:20 B5:25 On oa on :
buddy 14640 88:5 111:16 24 86:5,10 139:7 28-13 13948
uady 146: 442:7 113:18 48,
' Cap 34:22 casting 87:10 23,
build 25:20 20 117:1 g
99:25 30:6 178:16 129:3 capable 89:14 casual 89:2 characterize
31:20 32:20 businessman | capacity 7:20 Cat 70:19 73:1,3 86:23
55:10 118:4 89:29 16:6 20:11,22 92:6 148:11,19
os 3518.04 catch 24:43 424:25
bullding 34:25 businesspers tO, 444:9
B48 117.22 on 34:15 capital 41:19 categorizing characters
built 25:25 135:13 whoa 0 3 50:7
28:14,16 33:14 . ‘ eu, , charge 37:17,
40:4 60:6 buttress 59:18 85:14 127.14 caveat 118:22 24
buy 30:3 32:15 131:4,7,17 ves
built-to-order ay-48 88-15 432:3 celebrities Chase 143:7
30:19 32:16 02-8 137-44 86:16 chats 128-18
45:17 47:10 car 26:18
‘ , 139:8,10 {52:19 celebrity
48:15 55:7 : 86:18.24 check 48:6
bunch 88:10 buyer 93:1 card 78:13 64:22 132-13
137:13 1145 450:3,5 cent 76:20 442-11 145-19
buyers 98:24 cards 71:2 center 24:11, checking 44:5
burn 68:12,20 buying 33:4 1507 14 28:2 84:22 45:3,5 84:23
business yng ee: {29:21 190:2
84:20,21 146:4 . CEO 9:8 13:11,
. . care 26:18 148:25
20:21,22 21:18 45 44-2 14:45
24:23 25:3,5, buys 32:8 148:6 : :
. tera 134:14 checks 54:21,
12,14 26:11 Bye-bye 148:8 careful 58:25 ce : 24
27:10 29:11,15, 137:4
17 30:21 32:10, carefully 33:6

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40204

KENTUCKIANA

seme GURT REPORTERS =

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 162 of 184. PagelD #: 603

The Deposition of DAVID STANFILL,

taken on April 13, 2022

Confidential 160
Chevalier CLE215 65:2,7 coilected company 3:6, 30:13 31:18
23:15 clean 16:3 52:2 46:16 149:20 15 10:20,22 33:9,13,14,20
: . . ' 11:7,20 12:3,4, 48:15 49:43
chip 27:23 97:2 collecting : , : ,
28:7 ,13,15 132:19 133:19 9 13:4,8 14:4 83:24 54-4
65:24 1174 cleaner 37:24 ° : 20:15,20 21:21 58:19 69:12
, ‘ cleanin collectively 22:19 23:11 60:22 64:9
chips 30:2,4 Made 0° 80:1,18 25:24 26:16,20, 70:7,12 75:6
33:2 137:24 ‘ college 24:2 23,24,25 27:4, 76:16, 17 94:27
144:13,14,17 clear 8:5,7,21 3b 1n 14 1516 12 29:14 34:22 130:11,13
146:9,23 147:6 41:4 16:12 17:6 29:40 uo 40:22 46:6 133:4
. 18:4,18 25:16 . 82:18 83:5
choose 90:21 43:22 51:22,25 | column 95:15,21 86:21 | COP me
chronological 69:12 71:8 106:13,15,16 89:7,17 90:18 21:7 46 29:24
42:47 72:17 81:23 116:4 120:14, 91:18 92:10,19 ui. 55.
5 38:15 59:22
. 83:3 89:10 16 110:13 120:21,
circle 11:25 : . 60:5,14 68:5
104:25 439:5 nas 22 126:22
97:18 combination 4127-4.7 13148 422:24
. clearing 64:24 65:3 a 424-8
: 23 132:9 134:8, :
circles 87-1 102:20 66:4,5,9,12,14, 33 13646 conceal 142:2
cult 2880) uent ans | 226182 | iortomnso | oengsrmed
70:6,9 75:7 97:5,7 98:23 72:16,20 139:3 144.13
™ ‘ 401:5 119:14 —_ 146:5 CONCLUDED
circulated en Coe company's 453:8
441:23 8, 51:24 60; 135:3,8 151-11 conclusion
circumstance clients 25:1 combining compensate 58:17 100:5,6
. close 121:6 . 39:22 conclusions
circumstance 148:2 comfortable compensated 59:14 64:14
8 11:5 77:23 closed 142:12 “oe 38:19 39:25 concurrently
90:20 92:4 117:24 . .
444:1,19 closeness 118:28 112.16
110:23 committed compensation} Condensed
claim 7:15 99:18 122.1 495:13,24 152:14
95:16 96:2 closer 47:25 . 130-18 .
104:4 122:18 418:7 oe condition 92:2
. . . compete 94:11
ego t7 CM3440Z171R| — 146:23 12:4 P conditions
“os 80:4 134:5 141:20 competence 44:20 123:14,
138:23,25 3444 19
139:14 140:2 co- commonly
tgs ini 80:6 competitors i
clarification administratore one conauet on
12434 d 14:7 communicate .
clarify 14:40 co-manager 99:22 come 29 conference
13:12 ‘neat : 24:24
16:2 17:23 18:2 communicatin
29:5 65:9 code 28:4,5 g 20:5 99:21 completely conferences
95:20,21 . . og 37:15 53:13 87:2
{00:18 112:10 | Coinbase communicatio) 76:3 440:11
419-23 127-5 142:16,17,19 n 90:14 450:23 confident
: “4 4 gs 432:25
129:9 135:4 coincidence communicatio| completion
clarifying 144:4 ns 84:5 85:20 4188 confidentiality
. 62:21 63:5
135:6 cold 89:4 companies component firm 10:23
9 44: : confirm :
class 25:20 colleague 9:18 10:2 11:23 60:24 63:25 108:416
136:4 13:7,11 26:21 94:14 116:23 :
CLE101 64:24 44:1,3,23 42:10 confusing 8:6,
collect 46:1 429:10 134:1,8| | Components

10,22 18:2

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

—~ COURT REPORTERS

502.589.2273 Phone
502.584.0119 Fax
schedule@@kentuckianareporters.com
wn. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 163 of 184. PagelD #: 604

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 161
confusion contribution 106:18 107:3 19,25 94:1 eryptocurrenc
16:10 43112 112:21 144:26 98:8,18 128:5 ies 110:1
Consensus contributions 116-15 11748 140:5,10,17 142-48
36-4 30°42 48-20,22 420:19 424:14, 149:7 182:9,12,| os eocurrenc
1315747, 15 123:11,42 15 153:4,6 ryP
consent 93:11 5,7, 125:19 12917 | cover 44:04 y 10:9,17,22
considered control 115:6 139:17 140:7 A845 12:9 26:28
75-8 91:9 151:3,17,18,20 445:2 146:2 34:23 92:18
oar controler 149:1,21 covered 12:21 ooo Oia
Consistent 42:1 58:17 es
12418 6719 corronund 59:1,4 74:6,9 106:25 107:1,6,
constructed convene 98:10 , 88:23 103:7 8,10,12,21,23,
oa 124-18 convenience | correctly 46:7 118:20 127:13 ee tate
: . 145:8 ee
; 56:14 179:21 correspond 92 125:11.14
consultation . . uo
91:24 conversation 46:24 covers 118:24 12756
consulting otet3 02.11.13, eta 24:1 7 epee B12 ero 18
76:5 47 45:42 428 CcRCW020124 cuff 95:23
contact 84:20 ; . SRFNED 80:9 cultivation
conversations cost 40:3,5,78, '
contacted 20:1 31:15 24 75:13.77:21| CAR et 35:3,12
41041:24 84:24 86:12 103:2 116:5 454-24 , currencies
test 96:1 88:24 89:4 420:16 124:3 ’ 425122
contest 30 90:17 94:2 134:7 created 26:20 |S urrency 26:2
contested 92:4,7,24 : 34:21 86:19,2 °
96:2,11 138:25 cost-effective | 444:9,10 "| 84:22 06:20
, : ™ 407:3,18
context 17:21 conversion costs 40:1 creating 24:23 108:22 109:7
28:7 42:2 60:5 107:6 04 123:
33-8 94-15 105:24 123:20 creation 25:24 current 151:17
97-17 100:12 convert 142:19 counse! 6:7 73:8 117:3 cursor 44:7
103:8 converted 15:47,25 11453 creative 37:6 433:14
continue 17:4 107:3,18 counsel's 39:11 cursorily
30:20 90:14 convey 64:17 114:6 credibility 27:26
continued COO 41:22 counterclaim 87:5 custom 28:8
24:2 105:17 cooler 70:17 139:19 140:2 credible 45:10 33:15
434:4,10 , .

437-23 74:12 country 136:8 credit 4118:10 customer
continues cooling 65:5 couple 42:1 Mo-t9 (45:17 32:21,26 38:4,6
5o-18 71:2 73:12,13 48:5 78:14,23 (46:13 150:3 a sot
. copper 70:6.9 418:17 124:9 creditor 6:11 & ton

continuum press 427:23 128:22 19:4.93:0 95:17) U2
28:18 copy 152:14 132:3 134:7 . 78 13
440:23 450:44 creditors 97:5 106:25
contract 37:6 correct 7:23 90:15 416:24 117/12,
39:6 14:15 15:16 court 6:2,16, crimp 69:15 47,20 123:25
: : : 20,25 7:2,8 . : :
contracting 20:3 22:3 34:12 2 725 124:4 130:25
O74 33:17. 94:8 42:41,48,22,25 133:6 149:3,12
° 35:22 38:2 40:9 18:2,13 22:18, crisis 139:12 cust 5
contracts 44:45 44:7,8,14| 22,24 24:12,16 Stomers
136:15 A5:4,6 46:1,2 38:7,9,15 criteria 53:16 so Bod
48:3,4,8 63:20 42:20,23 43:15, crypto 26:4 a
107: 96.04 99:17 57:14 61.24 55:12 62:25
408:21 124:6, 63:2 99:23
{01:17 105:3,4 62:1,7 75:14, 13,49 125:3 ow

Kentuckiana Reporters

P.O. Box 3983
Louisville, RY 40201

KENTUCKIANA

-— COURT RETORTERS

502,589.2273 Phone
562,584.0119 Fax
schedule@kentuckianareporters.com
wiw. kentuckianarepotters.coin

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 164 of 184. PagelD #: 605

The Deposition of DAVID STANFILL,

taken on April 13, 2022

Confidential 162
$21:12 123:23 DDR 67:7,11 25:25 28:19 depending dev 66:8
toate tae de 73:20,23 default 8:13 W123 18:4 developing
448-14 149:3 80:16 139:15 32:17 depo 148:4 118:2
12 140:9 defensive deposit 44:13 development

' deal 55:10 140:2 47:9 131:9 90:15 11:21
osomers 1151911813 | ag, ago 142:17 27:4,16 37:8
‘ 435:24 139:20, . deposition 39:6,9,10
customized 24 definable 28:8 P . 139:15
30-17 15:18,21 16:16,
dealing 146:5 define 76:11 19 62:11 63:12 devoted 115:4
cut 23:10 76:15) deals 124:9 defined st:24 | 22 1°88 DHAZE 67:20
cutting 121:4 136:23 defining 73:23 depositions dictated 34:5
cycled 46:22 dealt 83:23,24 wag , :
844 definitive deposits 44:13 difference
104:22 457.15 49,22 50:4 416:10
p debate 118:20 definitively 47:18 53:14 differently
debits 52:6,11 35:20 56:4 130:23,24 67:19 124:25
D-A-V-1-D@D- debt 90: 65:21 66:1,15 144347 143:2
A-S-FACTORY ebt 90:15 76:4 82:44 . ce
153:4 122:12,19 409-17 120:5 describe 36:17 difficult 17:2
136:25 448-17 ‘ 44:3 70:1 94:7 78:6,17 30:5
D2a 12:2 13:4, debtor 7:21 . 103:9 121:23 55:10 59:25
12 1623 100-3 degree 24:6,12 423:13 13:21 94:24 109:21
damage 69:14 408:18 110:24 34:14 39:42 describing Digikey 53:25
damaged 69:7 111:4 140-1 degrees 21:9 70:5 118.24 digital 28:10,
Dan 83:15,16 debtor's 19:2 delay 55:5 description 11 125:22
u_— ' 23: :
24 Debtor-in- delays 144:24 a6 193
dance 118:23 possession . design 26:4 digits 80:25
93:7 deliver 1384.6) 97:17 28:9 81:9,14 143:21
DAS 11:19 13:4 delivered 37:1,6 39:11 4148:25
debtors 6:8 5543 138:3
dash 47:15 14:8 ' , designation diminished
404:8 deliveries 104:20 102:12 122:6
December 47:10 55:23
data 11:6 102:24 113:7 . ° designed dims 67:7,11
20:15,20 24:24 122:4 138:6 delivery 47:3 30:17 32:19 dire 92:2.10
24:41,12,14 143:17 146:21 52:19,20,22,24 | gatail 14-24 ”
28:2 84:22 . 53:18 55:5 : ao. direct 7:10
decide 30:5 . : 15:7 59:7 62:10 : .
date 21:25 90:4 121:7 122.4 74:12 135:20 11:12,24 15:5
100:10 101:13 | decimals delved 109:25 108:7 145:22
43:24 ° detailed directed
dates 91:12 demand 26:2 109:42 irecte
. decision 44-15 116-25 145:24
David 6:19 114:8,14 . ° details 21:17 directi
16:5 23:16 1143 9717 148:12 rection
57:16 83:4 decision- demanded a 428:25 129:8
126:13 130:16 making 91:5 determination Lig
: : 133:7 1419:42 directions
tatstg 138:8 decisions denying determi 8:20 129:10
. . e
89:20,22 90:3 135:16 A directly 14:12,
day 27:20 115:5 14,16 33:7
105:20 133:22 | decking 43:11 dependent determined 34:18 40:4
. . 32:5 115:6 42:11 46:15
days 132:4 dedicated

47:12,16 48:17,

Kentuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com
www. kentuckinnareporters.comt

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 165 of 184. PagelD #: 606

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential 163
20 53:7 55:17, {27:22 dropped 126:4 104:7 105:19 68:5 72:9
21 56:2 60:13 ' . 108:17 109:8 75:19,21 86:3
65:9 84:1 94:19 alsbieased DRV 26:17 142:41 118:12 97:24 106:6
95:14 146:8,16 ‘ dry 56:6 70:17 119:4 122:15 147:17,20
137:6 139:2 dispute 95:23 74:12 efficient! 137:25 143-1,
142:11 143:15 108:4,20,23 dual 112:6 5793 y 18 144:5,9,10
145:17 146:1 429:9 145:3 uate 447-1 148:2
disagreement distance 88:1 duct 65:19 efforts ar? 149:
128:24 distributing due 46:23 “ ended 83:16
disbursement | 53:10 a Fag 133:6 99:6
. . : di 6B
s 48:1 distribution 104:22 105:8 elected 13618) Oe “4
disclose 63:1 116:23 {25:10 13:24 electrical 28:9 .
: , bode ends 79:1
disclosing distributor dwell 96:44 electronic 144-45
90:24 94:2 30:24 94:14 97:19 30:13 48:15 ,
93:13 119:14 146:8 64:9 70:11 75:6 engage 92:20,
145.4 divested 114:5 E electronical 23
t . . d :
discord 83:11 divestiture TE7 engage 83:11
97:13,16 98:25 . e-mail 134:14 ’ 91:3,23
99-6.21.22.24 14:4 153:2.3 ‘ electronics
ee . : * 30:1 53:24 54:4 engaging
128:10,13,15 divulge 89:23 earlier 22:40 70:7 76:16 34°41 80-23
discords docket 99:4 36:23 44-24 94:12,13 94:8,14
128:21 104:2 45:14 57:4 toe 422:5 Engine 27:7,8,
discovery document Soba todd , 15 119:12
49:4 59:6 43:10,25 44:2 : ‘ elegantly '
AB:9 50:23 52:5 106:8 119:23 46:18 102:21 engineering
discrepancy 62-6 77:5 97:20 120:20 140:12 36:25
95:19 152:20 40444 102115, early 222 eligible 126:23|  gyeure 30:78
discuss 8:4 19 112:25 25:17 30:14 eliminated 143:23
40:18 13:5 113:2 120:18 34:1 36:11 4114:7 .
‘4 36: u
57:21 152:4 121:14 123:3,4 46:21 86:19 ensuring
133:12,13 ‘ . employed 131:25
discussed “ 97:26 101:16 26:15,2251:8, | Enterprises
20:17 25:10 documents 1o9i14 123:19 12 110:12 122.
2711 43:2,8 49:15,19 43:3 129:23 137.26 112:1,4
73:19 75:3 97:2 50: 10,11 140:14 employee enthusiasts
99:13 106:8 450:17 154:5, easier 74:21 ploy 34:12
26:11,16,22,25
113:25 125:17 23 : ti .
440-42 150-18 easy 63:10 27:1,6,7,18 entire 62:11
, . dollar 88:11 51:9 110:3 71:4
discussing 95:24,25 EBM 66:6 442:14 115:4 “as
48:24 19:14 entities 12:10
eo dollars 74:2 ecosystem employees 113:13 115:6
29:21 34:25 ' . 34:23 37:3 : ,
78:14 82:7 123 37. 410:6,7 112:9, ,
42:2 68:1 98:22 407:4 116:8 dae 124-4 49 entitled 63:1
. : : edge .
101:16 419:25 127:8, employment 96:5,6,11,12
discussion 10 193:24 education 06319 97:44 entity 14:19
32:2 57:17 141:2 142:20., 21:8 is ,
498:47 f {12:47 entrepreneur
clominant 35:1| effect 125:15 10:1,8 25:13
: : enacted 91:16 :
discussions draw 100:4 effective 134:7 26:6
32:5 89:2 100:2 444: encode 134:5
416:18.19 6 effectively entry 54:19
‘ drive 116:25 98:42 37:13 end 12:13 18:5 105:24 106:3
display 77:4 86:24 103415 23:10 48:18

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS

502,589,2273 Phone
$02,584,0119 Fax
schedule@kentuckianareporters.com
www-kentuckianareporters,comt

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 166 of 184. PagelD #: 607

The Deposition of DAVID STANFILL,

taken on April 13, 2022

estate 10:14,20
44:21 12:3 14:3

Esther 69:19
estimate 56:15

estimates
79:10,14

Ethereum
86:22

evaluation
66:6

eventually
15:6 23:17
31:22 33:14
35:4,18 146:25

everybody's
92:16 148:4

exact 13:20
21:17 54:13
89:5

exam 19:13
402:3,14
412:23

examination
7:10 15:24
46:13,17 48:21,
25 19:17,22
20:1 111:4

excess 43:3

excessively

80:23

exhaustive
11:3

exhibit 36:9
42:43,18 43:14
51:16,18,19
57:22 61:7,23,
25 62:5,13
99:5,7 101:1
102:3,5,7,11,
12,13,47
112:22 413:5
116:1 123:1,7
127:22 129:18,
19 141:14,18

exhibits 62:16,
18

exist 151:22
existed 36:4,6

existing 33:11
1474

exists 133:21
exited 24:6

exiting 26:16
147:25

expect 105:13,
45

expected
33:24 53:17
142:8

135:2

explanation
32:24 138:6

explicitly
126:20 145:16

exploring
91:22

exposure
77:20

expound 121:1
extend 121:12

extended
107:12 147:8

extent 19:23
21:23 58:16,21
62:9 89:24
95:20 111:13
135:9,14

eyeball 62:9

F-a-c-t-o-r-y.
com. 153:5

F-P-G-A
{28:20

faced 121:25
facilities 14:22

114:19 115:19
424:23 128:13
439:23

fairly 36:9
77:12 95:14
423:20 140:14

faith 63:15
116:17 138:15

fall 107:2
falling 83:25

familiar 27:25
34:23 36:10
44:2 65:9 82:22
410:17 132:25
134:21 143:9

fan 66:18 70:17
71:13, 79

fans 64:25 65:4

far-right
120:14

favorable 30:8
FD 93:24

FOLD 91:17
13674

February
114:9

feeder 66:17
70:24 72:13,14

feeders 66:18

Confidential 164
EPA 67:15 18:15 expecting 90:8 facility 118:10 feel 29:1 60:3
75:21
epic 70:24 exchange expense 50:1, fact 65:6 60:6
equipment 106:20 409:22 2 54:16,20 97:21 1414:13 Feng 54:22
: : :6, 120:23 125:10
73:10,11 93:25 142-19 130:21 132:6,7 426-2 13847 FFi2 66:17
101:9 147:21 exchanged expenses 139:9,10 FFQ4FS 72:13
ity 11:5.10 108:6 148:16,20,23
equity hs: {50:44 factors 91:1 FF24NS 71:18
92:16 exclusively
: jence factory 14:19 FGPA 98:24
ESD 65:24 ™ M1624 27.20 e517
72:16 excuse 71:20 Fiat 107:3,718
: tually 58:19 .
essence execute 28:5 Oe aa factually fiberglass
147315 , , failed 85:11 70:6,9
executed expertise
establish 32:9, 94:18 136:14 od falr 36:238:23 | fidelity 45:10
17 55:8 executive , 73:18 75:8 52:3
; : explain 29:23 81:21 86:23 . .
establisned 114.24 36:22 95:18 89:21 90:1 98:1| figured 125:6
48-24 . exercise 68:2 126:18 134:24 96:16 100:22 figures 127:12

file 90:6,18

filed 14:14
21:19 23:9,12
24:3 61:8,10
95:16 97:10
99:2 122:17
134:19 139:44
140:3

filing 14:8,11
119:10 142:9

filled 34:16
138:6

filling 109:7
filter 67:16
finf/bcu 71:2

final 79:20
80:3,9,13,25
81:3,7,14 89:19

finalize 41:20

finally 132:23
133:3

finances 106:2

financial 89:7
118:14

find 36:8 69:25
62:12

finding 123:48,
23

Kertucklana Reporters
P.O. Box 3983
Lonisvilie, KY 40201

KENTUCKIANA

— COURT REPORTERS

502.589.2273 Phone
502.584.0119 Fax
schedule@kentuckianareporters.com
yan. kentuckianareporters.com
Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 167 of 184. PagelD #: 608

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 165
fine 8:16,17 follow 13:24 founded 24:9, fully 53:12 75:10 86:15
44:25 12:25 46:11 19:7 410 28:19 36:5 88:19 408:7 109:1
13:25 42:21 36:18 91:18 96:18 ae 421:14 123:17
43:20 56:25 128:23 functionalities 4135:17 149:14
, . . founder 83:19 39:14 : :
62:4,17 63:13 forced 32:2 150:10
64:13,18,19 ‘ founders functions 34:2 eneral-
68:25 69:1 foremost 96:3 44:24 . g
82-24 94:14 ' ' i fund 30:21 purpose 94:21
98:3,4,14 orest 117:6 ounding 34:9 funding 30:10 generally
{00:24 162:6 forget 8:12 foundried 150:21 18:20 45:14
151:14 152:14 : ‘ : :
. 54:16 28:20 funds 46:17,20 leer.
fins 65:6 forgive 127:16 four- 47:6 48:9 49:24 93.95 95:7
fire 69:13 14013 millimeter 104.9, 13,20 403:9 107:25
65:4 106:25 107:8
136:22 137:18 forgot 141:19 4082122 108:1 113:2
firm 6:7 forgotten fourth 77:25 109:5 126:14 ton a9 og.
firmware 39:9 110:15 144:23 | FPG 30:1 Moe ate 442:21
fit 14:9 form 60:8 FPGA 27:16, 148:15,21 generate .
64:15 78:24 22,23 28:8,42
fives 127-25 a-13 123 28:8, 149:3,12 30:20 140:3
68:5 93:24 150:24 151:2 aeration
five-minute formally 36:6 94:16 137-24 fungibilit ord
128:2 94:25 FPGA's 98:24 Mn-19 y
: . : . generators
fixed 137:15 Os fpga.jand 46:9 furthering 67-417
FIR 67:9 71:15 25:6 31:1 33:3, | FPGAS 32-1 24:16 gentleman
Fleur 139:15 7 35:5 41:8 33:15 future 28:17 83:11
40:9 82:23 84:18 fraction 138:4 30:21 32:20
116:22 122:13 37:14 143:25 Germany
flow 11:17 131-19 fractions 41:17
49:19 104:25 76:20 igabyte 67:6
409:9 131:25 formed 9:12 G og ah 8,
132:4 137:19, 22:1,7,11 23:2, | frame 41:4
20,22 146:7 9,12 24:20 France 141-17 G-O-U-L-D give 7:411:3
. 25:10 31:11 99-15 25:15 27:21
Mowes 4g:2 82:21 84:10,12| frankly 85:43 31:6 54:9 66:10
106:7 Fred 6:13 gains 106:20 57:5 60:1,4
flows tit | Forsell 6:10 | Freedom 128 |  9avanized ened
fluctuations 7:13,17 43:17 13:5 66:24 Me 494013
106:24 95:40,24,25 game 89:21 vf Tea.
. frequent 132:2 ‘ 137:11,13
fly-by-night 96:4,23 98:23 90:4
oP 101:6 front 47:4 ates 28:11 giving 17:6
Forsell's 101:4 65:15 96:3 8 , 1et:28
focus 31:10 420:4 125:9 gathered 47:6, GKGGs 71-3
forthcoming 7 104:16 °
focused 37:1 50:14 fulfill 4#38:15,17 4 glass 56:7
: . gears 95:
forward 58:1 fulfillment go-to 46:4
folks 23:23,25 94:25 O7-44 48:25 49:2 Generac
41:16 42:5 449-19 120:24 full 0:3.15 44:6 67:17, 19 goal 64:5 118:2
57:42 86:24 3,15 14:
96:16,20,21 found 83:9,10 83:15 87:16 general 13:11, goals 64:21
97:24 1441:45 435:15 136:4 22 15:4,8 19:3 good 10:2 16:1
413:23 126:5,9 foundational 138:15 142:3 36:19 57:9 25:14 57:5,8
144:47 146:16,19 59:21 64:5 63:3,15 73:5
74:11,15,24

Kentuekiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS

502.589.2273 Phone
502.584.6119 Fax
schedule@kentuckianareporters.com
www. kentuckianareperters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 168 of 184. PagelD #: 609

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 166
81:19 98:8 32:8,15 34:17 16:11 hesitate 17:17 87:12
15:47 12:18, 40:21 42:49 happy 68:20 18:4 hope 59:19
21 138:45 90:16 Hey 40°21 8a:8
153.2 Group's 15:4 hard 35:15 on, “we horse 92:25
oods 75:13 ps ts 56:15, 18 73:5 us 93:1 110:7
goo ‘ groups 32:7 115:18 417:2,3 high 34:44
103:3 105:24 451-9 68°5.14 77:22 horsepower
116:5 119:25 grow 117:12 , ace, 69:13
126:6 146:4
120:16 123:20 rowth 30:21 hardware hosted 134:5
424:3 gro 10:17 24:10,14,| high-end 68:7
Gould 22:45 GTS 67:20 wat Og higher 75:9 hosting 134:14
23:3 29:17 42:81 guaranteed 26.2.4.18 27-47 138:20 hour 17:14
GPU 128:10,16 70:42 29:2,4,6 30:1 highly 79:6 56.23
GPU-AP-B guards 71:20 oh aaa oa Hill 70:25 hours 115:4
80:17 sons so 37:1 39:9 45:17| Hindsight hover 133.14
GPU-AP-RA , ’ 47:9,13 48:16 87:15 HP 66:10
80:17 A7:24 49:8 68:3) 59-99 60:5,11
83:9 87:3 te ane 79 hire 39:6 51:7 HR 37:8 39:21
GPUS 28:1 ’ 6B:5 70:3 72:24
Ioeto lao 83:14,17 84:21 110:7 54-11
grab 56:7 454-9 85:8,19,25 86:2] hired 50:25 HTB0750
135:18 88:6 92:8 93:23 51:9 111:1,8,9 79:20
ui . 98:24 104:6 .
graduate 21:2, o90.03 , 4,5,8 124:7,11, historically human 17:13
4 ’ 44 12611 ,3,25 409:40
429:25 136:6, . hundred
grain 76:78 H 40,20,23,25 misrory 26:13 433:24
grains 76:23 eae 139:2, 32:10 hundred-foot
granted 19:1 habit 136:14 head : hit 36:1 55:22 72:14
. ead 126:24 ttl . .
graphics 28:1 half 17:44 hitting 89:7 hundreds 74:1
52:11 67:5 82:6] heading 76:7
ay. hoarder
gray 65:5 67:3, 90:10 106:3 {06:44
128:10,16
5 142:2 115:22
headlines hobby 25:18
great 57:11 hand 7:3 18:25 25:20
97:23 128:3 39:9 BG15 hold 13:44 . :
health 148:12 35:18 44:16 15-100 67:23
Greene 26:17 handful 142:24 409-16 idea 13:22
Gritzan 23:16 hear 64:5 83:16 : 29-40 34:48
ritzan 23: handle 58:7 422:24 :
41:22 110:11 996,11 101:25 | holder 11:5,10 34:7 127:2
412:3,14,18 earing 57:19 holders 92:16 i
. handled 143:4 ideally 46:13
115:3,8,9 heat 65:2,6,7, holding 14:4
. pPMrity 16:4 1043412 ON 51:19 61:25
142:40 67:9 70:8,10 . ; :
gross 103:3 ; 450:20 99:7 102:7.17
' 74:15,16 72:2 : f,
106:9 120:17 Haokai 64:22 ' holdings 113:5 123:7
ground 36:2 happen 152:2 heavily 30:2 14:42,15 12:3,4 144:48
40:23 happened held 35:14 ee identified
group 11:12,15 405:25 134:24 41:2,22 104:21 5,10, 25:18 60:18
4 13: 107:1,12 22:43,20,22 123:4
12:4 13:14,19 495:21 1A7:5 th : :
414:14 124:16 25:4 26:21
14:4,2,5,10,25 . . 42-40 identifier
15:44 22:43,24 happening 144:6 150:25 , 89:23
26:24 30:13 36:20 51:2 homework

Keatuckiana Reporters
P.O. Box 3983
Lanisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS ~~

502.589.2275 Phone
302.584.0119 Fax
schedulegékentuckianareporters.com
www. kentucklanareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 169 of 184. PagelD #: 610

The Deposition of DAVID STANFILL, taken on April 13, 2022

P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

wwe COURT REPORTERS

Confidential 167
identify 58:12 incorrect 92:13 96:17 interested investor 85:15
60:20,23 68:24 44:24 97:14,15 99:12 10:22 62:13,15 93:1
69:5 74:21 incremental 103:22 104:8 76:21 83:47 investors
immediately 150711 119:9 126.8 84:20 135:8 129:8
131:18 436:6
46:23 63:18 incurred 40:1 invoice 101:5
93:2 initially 32:3 intermediate " ° Sr
impact 126:23 indebted 120:9 33:16 83:21,24 148:16
449:48 84:24 91:19 internal 66:7 invoices
imply 100:6 on 95:17 131:5,8 . 4 101:8,16
indicating . : 408:8 110:17
436:24 143:19 133:23 134:17
important 76:8 , .
: 4144:16 internally . wa
18:3,5 73:25 indirect! 39-19 142:2 invoicing
114:14 AAD y initiated 146:8 104:25
impossible soos instance international invoke 62:21
. individual . 141:25
67:42,25 126:19 ’
54:24 76:6,20 interpreted involved 10:4,
improperly 77:16 instances OB 7,8,12,14,19,25
106:5 individually 426:16 132:3 ‘ 41:21 24:21
improve 25:22 45:21 130:21 instantiation interrupt ta:t2 25:5 29:16,18
: . 68:2 63:23 84:4 86:9
improved individuals 58:3 59:23
ett 3.7 8-04 oA 61:18 81:25 interrupted involvement
. , “"e 82:48,20,25 54:18 40:13 105:77,
improving indulging 62:4 83:6,9,20,28 intimate 20 129:44
425:15 : : 84:25 85:4
industries 86:5.7.9 88:7 105:44 IP 24:22,24
inaudible 18:8 87:19 44 Qa oar 39:7
75:7 93:25 92:4,11 93:5 intimately
429-44 440-6 industry 10:40 110:4,6,13,15 82:22 84:7 irrespective
26:18 27:5 411:2 112:8 110:17 419:11
1485 34:25 35:2
imbound 77:49 BOA5 instantiations introduce issue 17:22
. . 138:19 139:1, 42:19 55:14 594.5
141:21,25 87:9,11,16 .
11 146:25 . 78:20 87:9
, : 93:21 94:6,8 . introduced : .
inception " : 1472 {27:21 138:9
422-42 116:23 146:3 23:21 63:8,16 440:42 154:45
. influence instruction 83:18 85:12 46 . us
incidentally a ; 28:3,6 435:22 136:5
406:1 inf 4 integrations 439:7 issue 413:18
include 60:14 062 39:8,10 introduction .
69:26 mf | oo Intel 28:4 74:13 83:21 issues 87:11
inchided 39:8 imrorma . intelligence inventory Italy 141:17
63:25 64:11 information . 104:8,71 .
27:19 item 64:15,21
includes 64:6 50:8,9 62:18, 416:20 121:24 78 77:3 4
Includes o*: 99,23 64:17 intended 33:23 124:15,16 fe
21:21 89:23 108-16 447:9.12 79:20,23 80:3,
includ 14538 . intention ™ 8,9,13,24,25
oy0e19 tHe 410:9 invest 92:15 81:3,7,8,10,13,
{22:17 149:3 ee intentiona! investing 14 82:15
mcome 103:1 . 10:4 108:25 119:5 items 52:19
106347 12:13 ina oe interest 23:8, investment So teat te
424:6,22 12574 . . 18 42:4,5,7,9 10:14 85:10,17, AtAd F4ey
32:13, 16,21 58:18 82:25 21 109:8 16 69:11 717,
incorporated 33:9,10 45:16 83:5 90:5 02-19 . 47 ,22,23 72:20,
14:6 30:25 46:21,23 47:9, 403-14 144:5 investments 23,24 73:19
34:22 46:8 15 54:7 68:22 119-7.8.18 89:3 133:5 74:7 23 76:2,5
§3:25 55:20 85:19 86:2 88:5 ue 76:13,18 77:6,
Kentucklana Reporters ia hone

schedule@@kentuckianareporters.cons
www. kentuckiansrepotters. cori

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 170 of 184. PagelD #: 611

The Deposition of DAVID STANFILL,
Confidential

taken on April 13, 2022

168

7,9,11,15,16,21 22:16 80:13 10 125:4 leaning 75:24
80:10 81:21 126:12 127:13,
119-43 160-44 K-L-N 26:24 Lab 9:12 54:25 44 428:11,20 learn 82:17
__ keeping 50:12, labeled 132:17 429:2,6,15,24 learned 82:23
2,42 : :
j 24 labels 67:23 130:2,4 . 83:8 87:1
Keith 22-46 132:20 133:3, leasing 10:24
OA 4-8 jabs 7:17,22 20,23,25 134:2,, ‘Casing
fay ea ote, 8:3,15 9:5,7 41,15 137:6 leave 40:16
Kent 24:3,14 41:6 14:9,12, 140:8 144:4
142:6 11357 Kentucky 612) 10:22 18:3 16:8) 143:22 144:14, Lebert 67:15
138:7 146:21 entucky 9: 20:7,20 21:20 19,25 145:12 led 136:16
JCC 70:19 keyboard 22:1,6 23:1,8 146:11 148:16
42:21 24:9,20 25:7 149:18,22 ledger 53:22
JCG2N 72:19 27:6 29:21 150:2,21,24 105:6 108:2
kind 7:13 10:13 30-14 34:2.5.14 130:5 133:11
Jessica 23:15 Ad 11 34:2,5, Labs’ 35:5
12:12 15:4 17:5
44:22 110-14 28:23 29:11.20 33:3,8, 16,49, left 91:20
412:3 115:8,9 . oe 22,25 34:7,16 Labs's 115:2 113:20 12721
: 6,9, 23 36:11 39:21 ' , '
18 130:16 95:17 36:1,5, . 147:8
42:2 45:14 12.94.04 37°9 lack 129:11
Jimenez 5217 69:16 18,26 38:18 ladder 70:16 legal 19:10
131:20 57:9 68:22 39:22 40:2.14 20:24 58:17,22
i 69:10 74:15 17.24 4B , laid 52:14 59:13 64:14
Jiminez 23:16 77:20 78:21 “4 Aa, 89:24 91:8
' . 42:11 43:12 language &:1 : '
job 29:9 83:5 86:14 ° 96:10 100:4,6
j 44:6,12,16,18, 17:7 436:15,16
$7:13,20 88:23 93 45-3 B25 108:4,20
journal 106:3 92:1,2 94:6 464.90 47:20 large 54:1 4143:16 149:12
judgment 95:10,13 97:2, AB? 45.4924 66:15 85:7 435:10 138:10
93:15 23 98:23 99:12, oA 49:36. 10 117:11,12,14 151:9
16 100:8 101:7, 12144820 — 134:18 139:14
Juki 66:17,18 25 105:7 ee legally 96:5
July 44:7,14,17 23 117:25 53:4.6 5517 larger 23:20 legitimate
45:8 46:1,12 127:18 128:24 58-3. 13 606.7 55:9 91:20
: 429:16,25 ™ o
47:20 48:2,11 43219 138-20 65:12 82:2,9 largest 94:10, lender 93:7,8
52:8 90:9,10 : 83:4,10 84:25 43.16
99-19 100:20 136:22 137:17 85:3,9 89:1 , lesser 39:12
105:22 130:3 144.14 90:5 94:22 late 22:2,3 letterhead
inds 137:15 95:4,7 96:1,18 25:17 35:10 101:19
jumped 144:18| 1999:17.23 || 04:2 55:1,23
jumping KISS 67:17 400:3 101:9,17, 56:17 146:15, letting 38:14
144:44 kits 66:6 25 102:14,25 21 148:13 75:16 113:1
. 103:25 104:4, Jaunch 30:15 level 12:23
June 35:11 kitten 117:5 evel 12:
37:11 46:22 13,19,23 105:1 33:25 36:25 25:18 32:11
96:19 99:14,19 | knowledge 108:2,8,24 37:4 39:21 47:5 87:3
400:49 161:13 21:24 38:3 39:5 107:14,19,20, launched 108:15
403:4.12.44 45:23 55:48 22 108:7,12,24 aunene
406:7 137.25 6S:7 76:9 83:19 409:3,1 | 43 36:23 leverage 140:3
438-4 84:2 94:6 110:4 111215 lawsuit 133:7 leveraged
405:11 108:15 112:8,10,15,16 140:8 136:15
Jungle 31:22 414-15 126:13 443:4,7,10,22,
70:19 435:12 147:2 25 114:6,14,20,] fay 11048 Libre 70:17
_ eae lead 31:18 35:2 licensing
5 48:22 132:22 24:23 39:7
K L 419:3,5,24
120:9 121:25 lean 117:2 lien 118:19,20,
K-E-]-T-H L39050put5r 122:13 123:5, 241,24 119:11,
502.589,2273 Phone

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS ~~

502.584.0119 Fax
schedule@kentuckianareportess.com
www. kentuckianareporiers.cona

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 171 of 184. PagelD #: 612

The Deposition of DAVID STANFILG, taken on April 13, 2022

Kentucklana Reporters
P.O. Box 3983
Louisville, KY 40201

GS

KENTUCKIANA

— CAURT REPORTERS

Confidential 169
43,17 120:10 50:12,17,21 losses 106:20, made 23:19 {24:7 124:11
te. a. 51:5,6,8,12 23 108:11 25:13 30:12
life 9:14 159:6 52:12, 18 53:6 425:17 34:17 44:24 man 110:18
lifetime 53:21 54:6,11,13 56:4 . . 47:20 83:21 managed
laht 70:25 104:19,20,23 ec 85:19,23,25 52:49
oA 404:5,7,12,16, ° 86:3,7 90:3,10 '

18,21 105:2,3, lot 13:4 17:4 95:22 96:23 oe
likelihood 7,8,14,18 106:9 28:22 63:21 97:7,13 99:41 ’

145:6 109:13,15,16, 75:16 84:24 100:7 103:20 manifolds
likewt 20,25 110:2,4 86:25 87:22 105:6 406:3 e714
10328. 413:7,14,19,24,] 92:45 120:28 109:3 114-11 snct

as:23 24 114:5,12,15, 12:6 128:18, 117.20 118-13 | Manufacturer
limited 91:24 49,23 115:1,3, 19 124:2 129:24 131:5,8, 1181

4101:6 7,16 128:12,15 129:23 17,22 13:14 Maranda
. 429:1,12,16,24 . 136:19,20 494:19 135:21,
lines 145-11 430:6,10,13 eo 439:6 145:15, 92 136:5
lining 127:22 132:15,18 . 20,23 146:24 438:18 139:2,3

133:3,15,19,22,) Louisville 6:12 .
Lis 139:15 95 134:12.16 ouisvill Magni 12:4 Mare 6:6 56:16
list 10:311:1,4,) 1513.4 LRC3636 79:3 | magnitude 1026 8
39.93 64:20 54:44 138:24 145:10 150:21
' ° LLC's 33:11 LT 81:4 11:25

75:5 80:5,6 LTC360 78:25 66:9 144-22 March 41:6
. loan 132:8 TOR 82:19 86:3,11
listed 54:16 144-14 LTC3636 79:9 148:25 88-7 114-10
ro oe loans 131.22 | LTC3636EUFT| major 94:9 116:4,9,18

80:19 422:20 417:13 120:2,
listen 7:13 location 6:5 704413 majority 10:9 40 135:23
lithography log-in 142:13 81:11 50:13 53:23 margins 125:9

28°16 : . 64:8 76:13
logic 28:10,11 LTC6908CS6 73:43 74:23 mark 63:11
live 8:23,24 long 8:7 17:10 80:25 81:3 76:12 81:22,23,1 MARKED
LL 107:13 36:4 64:17 LTC7150 24 85:3 103:13, 51:19 61:25

81:20 120:24 78:12,13 47 124:24 99:7 102:7,17
LEG 8:2,14 424:43 132:22 430:23 4495 123-7
11:6,7,9,11,18 . LTR 63:18 :
140:15 . . 144118

4-8 13:18 luck 138-10 make 8:11 11:4

14:3,7,18,19, longer 17:14 uG . 47:7 18:8,16 market 25:22

20,24 15:5,13 26:15 31:18 lunch 86:11 25:16 30:16 30:15 31:23

22:13,23 23:3 36:16 98:2 98:20 34,47 40:7 32:18 34:1,4

: : 2 47:8, : :

24:8,18,21 looked 47:18 43 14,2 78 37:4 44:20

26:25 27:1 31:3 19:95 73:4 M 16 §1:22,25 45:18 46:4

32:25 33:4,8 >: 56:12 58:14 47:15 77:23

0 79:49 102:5 “9 Ba:

17,18,19 35:13, 403:23 122:40 64:2 63:10 406:25 107:2

25 36:4,6,13,20 494.9 430-7 M-A-G-N-} 12:6 64:13 78:22 423:418,25

37:5,17,20,23, ‘ , M2. 65:22 74:24 88:3 89:19,21 424:4 125:41,

25 38:17,20 losing 87:22 . , 90:1 92:8 97:16 44 126:2,4

: 2pcie &7: 145:22

39:1,3,4,5,15, loss 102:13,25 M2pcle 67:2 marketed

23,25 40:1,6,7, 106:13,21 machine 67:18] makes 60:25 37:23 40:16

410,15 46:14,13 407.6 15 O48
47:8,11,15 412-23 113:3 macro 73:11 markup 125:7

: . . maki 33:15 :

A8:1,2,8,10,12, 416:3 123:2,5 mad 47:15 aking 33 197:3

13,14,17 49:10, 4147-24 404:8 58:24 59:13 married 23:18

45,16,20,22,25 ‘ , 64:14 71:5 :

87:22 118:9
502,389,2273 Phone

502,584.01 19 Fax
schedule@kentuckianareporters.com
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 172 of 184. PagelD #: 613

The Deposition of DAVID STANFILL, taken on April 13, 2022

meeting 16:18
19:18 24:25
83:10 95:10,22

microsd 74:2

Microsoft

minority.io
46:7,16 108:5

Mouser 53:25
133-1

mouth 35:22

Confidential 170
masking 106:23 109:4 134:13 minority.io's 56:5
420:23 424:17 128:9 mmid-2018 108:8 move 32:3
master 150:6 megabytes 98:25 minority.lo. 58:17 73:4
master's 24:12 A3:3 middle 10:3 407:17 108:20 74:16 91:25
' : 402:10
match 44:11 member 432:14 minus 79:11
52:14 105-19 Midwest 11:6 minute 127:25 moved tau
memory 23:25 20:14,20 24:20 79:19 96:16
matched MOA 387 ‘ — ‘ minutes 17:11, 116:20 140:25
143:20 , . millimeter 14 57:4,7,12 142:2 144:7
material 73:12 mee 7:12 67:5 72:2,3,14 98:10 127:23 moving 57:25
150:11 , million 52:11 miscellaneous 80:12 81:6
materials mentioned 54:10 82:7 65:24 66:2,8,15 97:14 98:13
75:13 33:24 101:23 403:2,3,4,25 69:7,14,17 437:18
, 408:16 125:25 104:15 105:23 70:21 74:14
mats 72:16 406:9,17 107:4 MT25QU
ats fe: merged 26:24 711689 | ~~ ‘Missed 38:7 77:10,11
matter 16:20 Merklin 6:6,24 417:13 119:25 | missing 141:2/ | MT25QU512
max 149:25 9:22 19:14 420:17 421:15, mode 7:14 77:25 79:4,17
90:2,6 42:15,24 24,22 124:21,
MAXS4406TET) 43:19 56:9,20, 92 125:2 144:2] model 38:24 MTS 86:25
Gt 80:14 25 67:2,10 145:17 149:19,] wr tex gorts muffle 38:10
Mcconnell 58:15 59:10 20,23 150:1 OB ‘ 56:6
60:24,25 51:4 62:15,20 63:3, | iltions 28:11 muffled 12:12
13 73:24 82:11 moment 11:23
Mcdowell 6:7 90:23 91:10 Milo 54:22 57:22 71:21 muffling 38:13
20:4,6,10,13,19| 93:12 98:3,9,14 ind 48: 94:10 114:8 75:15
91:3,14,23,25 mind 18:18
402:8,18 139:42 :
440:20.25 42:15 56:14 multi-year
MCP9a04 4B AA% 76:16 91:6 money 58:18 85:9
79-19 441:18 113:12 97.24 99-46
427-17 128:1 . ' . multiple 97:7
i 95:15 104:4 P
meaning 25:2, 429:4 13571 mine 55:20 : 400:18
3 63:5 119:24 440:15 147:18 97-6 126:5 126:5 137:6
4908 127-45 454:1.13,15 136-5 438:21 139:24 multitude 94:1
430:24 140:21 452-6. 12.13.23 ,
446-14 6,12,18, minimis 73:20 monn ot Mushroom
97:99 Merklin'’s 80:16 102 44.28 .
means 27: 61:13 14, .
( minimum 442:24 113:8 muted 57:20
meant 29:24 message 419:2 135:24 416:7 123:2,6 MX 67:4
89:11 108:1 100:13 136:4 132:4 144:9
measurable method 121:8 minimus 73:23 month-to- N
mic 742:17,20 mining 14:24 month 106:16
mechanism 8943: 113:4 N-A-P- 26:23
64:4 Michael Me Oe
434:19 135:22 vad BA. months 35:8 name's 83:45
mechanisms 136:5 93:25 124:6,13, 116:5,8,10,21
39:7 109:6 20 125:3 417:7 1418:6 named 54:22
119:6 microphones minority 23:20/ {21 Ae
medical 27:5 46:6 47:13 14317 144:3 names 8:4,15
microprocéss §5:16,23 morning 19:14 54:23 63:4 68:6
meet 90:14 or 28:18 107711 150:8

naming 71:8
Napkin 26:23

Kenluckiana Reporters
P.O, Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS eo

502.589.2273 Phone
$02.584.0119 Fax
schedule@kentuckianareporters.com
ww. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 173 of 184. PagelD #: 614

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 171
narrative non- 68:6 96:6 42:6 110:3 18 40:24 87:25
144:18 Oo 441:14 142:19 .
non- : opposed 28:15
443:21,22
naturally bankruptcy : 90:22
oath 16:22 126.11
425114 92:25 “4 options 91:21
nature 34:4 18:41 officers 40:25 ‘
none object 58:16 44:9,21110:10 | order 30:7
40:19 52:23 cancelable J ou
24 94:42 35:25 42:16, 17
87:13,20 5:7 146217 offices 49:9,
. . , 140:20 111:42 43:10,15, 18,22
114:13 117:6 ' ' 14,15
441-7 146-18 non- 20 46:24 47:1,5,16
. , b Ohio 6:9,15 54:14 56:12
150:12 returnable blecti
55:8 96-7 objecting 8:24 26:17 62:2,4,6,12,14
necessarily 446-17 4 63:12 84:12
38:5 68:5 77:19 objection one-time 30:19) 93.47 94:21
17:15 . . ii 34:13 96:7 103:11,12
needed 34:42 neon 42:24 58:20,24 | online 34: ‘7 103:41,12,
47:1 63:17 rie . open 18:72 44 7:79 126:24
09-99 94:99 normal 27:73, 73:16 82:14 33:8 34:6 85:20 439°6 135-24
97:12 118:3 14 136:24 99:2 113:12 120:12 122:21 436-4 13742
negative 103:4] notation 43:14 147-18 4436 147-14 19,20,22
105:24 106:9, 50:5 plicati 440.09 150-1 149:24 150:1
. ophganuon : . +
17 120:17 notified 55:12 tots | 152:10,13
121:14,20 opened 44:19 | oydered 93:18
notoriously bligat!
neglect 10:3 109-24 obligations operate 26:6 49:23 72:17,18
90:15 744 133:2 144:13
neglected November
102:2 occasional operated 46:9 | ordering 146:7
141:16 143:17 490:45 ,
negotiate 145:18,18 4 119:13 124-16 orderly 137:21
. occur 174:4
136:23 nozzles 72:4,8 operates orders 30:14
negotiated occurred 35:9 105:14 31:17 33:10
number 10:2 46:22 114:2
136:8 ' operating 47:4 48:23
23:20,22,25 4114:9 134:23
iati 30:6 37:15 45:7 ’ . 44:24 52:16 52:20 118:6
negotiating 0:6 37: : 144:5
137:8 51:16 64:13 88:4 125:8 120:24 121-4
oe 61:22 70:7 71:31 occurring {37:47 144:20 126:47 13422
negotiations 78:6 102:12 114:3 11613 448:45,23 432:22 137:8,9,
136:2 139:10 408:13 115-20 149:44 150:11 10,24 138.46,
un October 50:24 : 17,19,20 139:5,
negotiator 24 134:3 4132:43 133:4 operation
‘4, 11
136:14 144:15,22 41 145:18,20 32:11 84:23
3 ake 142:3 90:7 124:7 ordinary 37:20
nest 14:3 65:1 offer 34:24 432:9 144:3 109:2,11
89:24 72:4 numbering
. . . 122:22 130:18
42:25 offered 34:18, operations
nests 66:8 23 62:10 19:2 37:18 38:4 131.10
numbers 237: :
net 47:2,13 42:15,20 62:22 | offering 23:19 48:25 55:19 organization
53:13 103:19 70:20 80:6 34:5,16 45:17 84:8 90:14 26:4
13 196 eee 81:16 103:10 85:9 114:4 oriented
25: . : ,
124-19 offhand 13:20 | opine 138:23 128:24
NF 66:17 eros 7 office 6:9,14, oppor 25:14 a
nice 80:22 14 68:4 134:14} portunities Bett 42 68:10
niche 86:24 Nunce 101:6 officer 9:4,17, 32:4 108:19 1474
NVIDIA 28:2 24 13:6,7,10
nomenclature D047 24-49 opportunity originally
27:12 41:12, 14 20 26:2 30:16, . ‘

Kentuckiana Reporters
?,G, Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS ~~~

502,589,227) Phone
502.584.0119 Fax
schedule@kentuckianareporters.coma
www. kentuckionareporers.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 174 of 184. PagelD #: 615

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 172
82:1,10 paid 26:833:19| partially 70:20 116:21 PDUS 72:12
originals 35:14 47:1,2,8 136:25 paste 65:21,25 PEM 72:14
65:18 48-7,12 49:16, articipate 70:18
20 52:25 53:12 BOOB ty penalty 18:11
originated 88:79 95:25 . pay 40:24 endin
30:25 143:15 96:4 107:9,10 | participates 46:15,23 52:6 | Pad
outstandin 108:14 112315 126:4 53:7,18 54:16, ,
133-03 g 120:6 126:23 articipatin 20 115:15 people 24:2
127:6 132:23 Ce 119:23,25 27:24 86:19,20
owe 120:8 133:24 138:20 , 120:3 129:24 87:21 88:3
d 96:15 142:18 144:20 participation 432:17 134:10, 89:14,15
eee tae. 146:14 147:15, | 9314 11 146:10 126:16 137:3
114:20 139:24 17,20 148:20, 147:13 143:11
147:20 23 149:25 parties 6:3
d 14:4.40 , 24:6 34:16 payabie percent 13:18,
oD 4 16.32. , paint 66:12,23, 39:13 40:16 420712 422:21 20,24 16:11
hat 24 51:22 59:6 22:12 23:2
45:3,6,10,14 A414 BBB payback 132:8 A014 4625
22:12,13,14 paliet 70:21 7A, ‘ ,
54.2 418-10 94:20 13416 paycheck 67:8 94:17
: pallets 66:15 partner 29:17 144:9,10 103:22 104:9
On el e ioos 70:16 32:12,15 34:24| payee 48:6 Moon
8136146 panel 67:20 107:11,16 130:19,21
21:19 22:14,15,| paperwork 137 payer 131:10 percentages
16 27:12 115:3, 146:7 partners 29:44 paying 47:13 "
6 parcel 114:6 AG: 104:7 48:13 130:12 perfectly
107:9 114:12 64:19
owners 22:5,8, . : : 134:2 143:7
Pardon 32:22 41521 125:7 .
10,17 23:4 , : period 42:3
89:1 128:25 129:14 payment 34:3
131:13,16 30:18 4c 14 ATAB 85:24
: parent 140:13 partnerships tyre dee 405:4 107:13
ownership 46:8 124-10 19 49:25 54:5,6 409-4.14
11:11,72,24 parentheses , . 104:9,418 106:4 444-10
23:7 24:6,8 74:19 parts 64:25 121:8,12 ,
30:13 40:24 arenthests 66:5,6,7,9,12, 432:17 perjury 18:14
44:21,23,25 P 44,22 69:20
: 7416 : : payments permanently
42:1,4,5,7,9 73:12 78:12 30:18 20 46:3 OBH16
82:25 90:16 Parmsco 79:5,7 136:2 94 47-14 20 , ‘
128:24 151:16 67:16 party 137:4 49:22 52:5,8 persisted
owns 110:15 part 14:22 13:9 53:2 54:3,4,5,7 °
45:10,13 35:16 . 96:18 103:22 person 16:5
p 38:20 48:19 pass 109:16 405:6,7 407:12 75:22 83:22
56:5 58:3 59:6 pass-through 129:24 130:6 114:14 143:9
62:6,19 66:16 30:20 40:1 432:15 133:14
P&l 106:21 68:16,22 74:45 117:25 443:5 personal 12:9
4447 76:2 76:6 80:5 13:8 16:20
: aaa passed 108:11 payout 142:20 20:11,21 34:12
P-E-M 72:14 81:4,16 94:1 .
109:13 35:18,24 39:5
99:2 101:1,15 payroll 54:10 39.99.93 O44
P.M. 153:8 09:40 114:6, passive 67:9 134:26 oe
24 115:5 11731 99:25 10:4
pads 65:4 67:3, oat passive-used PC 74:1 126:14 129:11
5 121:9 1244 740
129:13 130:18 , PCIE 69:8,14, personally
pages 58:4 133:14 134: passives 65:6 19 45:19,25 25:5,
63:20 69:12 435:24 147-4 6 35:17 44:2
75:4 78:23 past 13:16,17 PDF 51:25 52:4 sos 86:6.13
80:24 partial 70:19 52:18 56:16 . 104:10 44324
143:25 73:4 115:22 PDU 66:7 , ,

Kentuckiana Reporters
P.O, Box 3983
Louisville, K¥ 40201

KENTUCKIANA

—— TOURT REPORTERS.

502.589.2273 Phone
562,584,0119 Fax
schedule@kentucktanare porters.com
www. kentuckianaceporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 175 of 184. PagelD #: 616

The Deposition of DAVID STANFILL,
Confidential

taken on April 13, 2022

173

126:11,13,24
427:20 128:18
142:25

perspective
96:5 108:18

petition 14:13
21:26 23:9, 12
95:18

petitioned
85:16

phase 70:22
126:9

phone 83:16
136:7,8

phrase 90:9
126:15

physically
118:4

pick 17:3

piece 28:19
30:4 54:9 77:23

pleces 39:11,
21

pipeline
119:20

place 30:14
34:4 49:1,12
51:14 68:25
73:9 87:24
99:19 121:4
436:18

places 71:9
placing 33:10

plan 57:9
129:2,5,6

planned 32:4
44:22

planning 34:20

plate 65:19
71:13

plates 65:8
67:4

plausibly
82:12

played 408:3
player 93:20
pleading 97:21
plenty 57:2

point 15:3 16:4
45:19 64:8 63:3
TUT 74:21
91:4,5,8 96:3
100:22 109:15
112:6 173:10
114:22 122:16
130:24 131:13
{32:18 133:21
134:25 148:1

pointed 121:23

points 114:25
12324 127:5
130:17

policy 97:14
port 67:14
portal 46:9

portion 59:12
75:9 97:24
104:13 114:20,
23 119:2 420:3,
6 423:17 124:6
430:5 132:13
133:13

position 11:9
12:16 20:24
92:22 135.4,9,
17 138:21
139:22 140:4

positioning
12434

positions
161:9,12

positive 33:11
92:14

positively
423:15

possession
151:17,18,20

possibly 82:6
post 26.14

post-founding
41:5

post-
secondary
21:8,11

posts 100:2

potential 34:41
85:13,17,21
108:19 124.12

potentially
28:10 34:24
35:9 70:8 78:9,
10 83:14 84:21
85:10,14,20
87:25 89:3

power 66:9,10
414:16 115:6

pre-marked
42:14

pre-orders
118:9

precise 17:6
52:14

preferred
{37:24

preliminary
31:14,15 92:7

premium
123:24

preparation
19:16, 18

prepare 19:7,
40,13

prepared 36:9

prepaying
53:17

present 6:9
9:24 69:16

president 9:7
89:17 134229

press 36:10
413:17

pressed 44:20

presume
134:16

pretty 34:14
35:19 130:6
432:25 136:13

prevalent 32:2
prevent 35:4

previous
44:20 72:9 75:2

previously
16:13,17 27:11
58:2 104:3
4115:10 123:4

price 47:1
68:10,14 79:9
123:18,24
137:4,8,15
138:19

prices 123:21,
22

pricing 30:1

primarily
11:18 20:4
36:25 37:14
46:5 83:23
107:7

primary 12:10
125:13 434:12

principal 9:4
56:20

principally
53:25

principle 74:6
printed 43:4
printer 67:23

prior 14:8,11
19:15 25:6 34:4
32:2 33:2 34:9
35:5,9 44:22
46:1 49:6 62:26
84:3,6,17 86:10
91:14 94:15
96:19 101:23
402:3,11
112:23 120:9
128:11 129:22
130:7 145:8

private 23:19
86:9 91:15

privative 78:15

privilege 19:9
90:24 91:9
93:13 119:14

privileged
439:17 145:4

PRM 65:6

problem 17:11
63:7,16 78:24
121:20 151:21

problems 56:6

procedure
141:20

proceed 93:5

proceeding
56:18

proceedings
6:1,8

process 59:7
97:5 98:23
132:1 137:21

processed
§5:3,20,24

processes
28:16 136:24

processing
24:24 28:1,3
34:3 38:20
54:41 102:1

processor
46:14

procured
48:14 130:13

procurement
39:16 54:11
{50:10

procuring
130:10

produce
134116 151:5,
19

produced
51:23 105:16
140:20 142:6
481718

Kentucklana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS —

502,589,2273 Phone
302.584.0119 Fax
schedule@ékentuckianareporters.com
sw. kentucklanareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 176 of 184. PagelD #: 617

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

174

product 30:9,
15,17,19,25
35:16 37:4
45:25 46:4
48:17,20,22,23
49:2,5,11,17
§3:3,13 54:8,10
55:7,12 88:16
96:6,8,12,17
116:13 417:14,
16,21,23 118:7
119:19 125:6,8
{30:70 146:14
148:13 149-4,
14

production
26:4 52:1
73:10,11 75:6
116:22 118:8

products
32:20 33:25
34:5 37:1 48:14
49:24 100:13,
17,19 117:5,24
418:1,3

professional
91:2 93:14
405:14 119:15

professionally
105:15 128:18

professionals
94:9

profit 40:7,11
402:13,25
103:4 105:23
106:3, 73
112:23 113:3
416:2 117:11
118:17 120:17
423:2,5,10
124:9,14

profitability
12417

profitable
418:15

profits 30:20
125:8

program 28:12
141:9

programmers
28:4

programs 28:5

project 37:21,
22

promised
138:2 148:14

proof 101:4

prospects
25:15

protection
441:9,11

protective
43:10,18,21
62:2,3,6,12,14
63:12

prototypes
31:21 72:19

provide 20:24
56:1 59:19
64:20 68:22
74:24 132:3
135:10,19
439:21

provided 31:6
37:10,12 38:1,6
39:1,2,12, 15,24
40:15,17 54:13
5O7 72:22
73:14 77:8,12,
13 87:4 115:12
118:9 119:18
441:10 143:25

provider 67:25

providing
32:17 37:25
38:18 40:20
400:6

provisions
63:5 100:20

public 33:25
62:5

publicly 44:24
pull 93:2 97:11
pulled 64:11
pump 69:13

purchase
30:13 35:17
49:21 57:24
58:18 61:7,16
68:17 70:3
79:21 80:12
81:1,6 82:10
84:42 85:8,19,
25 86:2,7 88:7,
25 92:8,15
94:16 96:24
100:9 104:8
{03:17 110:8
116:13 117:14
{32:10 136:9,
11,19,21,22
139:4 14712

purchased
33:13,17 54:44
58:12 59:2,8,24
60:13,25 61:1
63:25 67:7,13
76:25 78:5 80:7
88:17 94:15
96:16 101:6
42031 144.47
147:3

purchases
44:24 52:18
97:7 117:19
150:70

purchasing
33:9 83:14,17
85:7 92:12
123:20 124:10
126:16 136:6

pure 12:3

purpose 19:3
28:20 109:9,20

purpose-built
25:21

purposes
12:10 49:24
28:24 30:7
64:12 100:1

pursue 90:17
pursued 145:6

PUS 67:22
70:22

put 8:17 10:6
25:3 35:21 43:5
49:1 64:13
69:10 72:21
79:13 84:4
87:18 404:20
415:13 118:22
435:23 148:19
152:19

putting 44:6
87:18 136.14

Q

QFR 74:13
QSFP 65:1
QSFT 67:18
qualifies 16:19

quantity 67:15
74:14 117:9
435:24 136:4

quarter 124:20

quarterly
94:12

question 16:5,
10 17:20,23,24,
25 23:10 28:25
29:7 36:19
37:24 38:9 39:5
42:42 59:11,25
60:2 64:8 73:16
75:10,20,22
94:7 94:2
111:11,21,24
113:44 119:23
4126:16 148:48
149:8,17

question-by-
4114:21

questions
17:4,5 79:1
31:7,10 32:23
58:21 62:16
74:42 1111149
128:23 140:24
145:9 152:5,7

quick 87:25

quicker 8:4
32:3

quickly 36:9
37:3 58:5 60:15
99:13 104:10
426:4 137:18

Quickpay
443:5,7,10

Quickpays
143:14

Quote 137:1
quotes 31:17

R

racking 70:16
raise 7:3
ram 67:6,10
ramp 26:3
ramped 37:9

range 27:3
56:21 78:7
82:8,12

rant 52:5

rapid 136:22
13717

rate 37:20
raw 94:21

re-engaged
92:1

reached 34:16
83:12 89:5,8

read 64:15,19
78:25 425:20
152:16,17,21,
25

reading 17:25
48:7 63:22
64:21

ready 65:3
66:5,13 69:24
714

real 10:14,20
14:20 12:3 14:3

realize 110:14
121:18

Keatuckiana Reporters
P.O, Box 3983
Louisville, KY 40201

KENTUCKIANA

—-~ COURT REPORTERS -

562,589.2273 Phone
502.584.0159 Fox
schedyle@kentuckianareporters.com
www. kentucklanareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 177 of 184. PagelD #: 618

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential

175

realized 92:9
124:9

realizing 137:2

realm 19:3
21:47 26:23

reason 29:5,22
126:3 130:8

reasoning
104:20

reasons 37:16
442:12 132:4

rebate 149:4,
13

recall 23:24
27:2 35:19 46:7
55:19 88:11
97:17 126:20
145:16

recalled 10:4

receivable
442:10

receivables
149:20

receive 46:12,
43,19 144:23
146:14,16,49

received 31:16
43:2 49:5,7,13,
47,21 52:21
§3:3 88:16
96:19 103:24
104:18 108:13
419:15 129:25
146:20 149:4,
13 150:19

receiving
46:25 54:21 24
142:16 150:18

recently 94:15

reciprocated
123:24

recognize
43:25 44:3
120:16

recognizing
74:4,5 77:18
82:5

recollection
14:23 23:6
40:4,12 44:11
49:10 55:24
78:6 108:5

recollections
79:10

reconciled
44:25

reconciliation
43:11 61:2,23
429:20

reconciling
50:24

reconfigured
28:14

reconvene
56:7 57:6,8
98:6

reconvening
98:19

record 6:2,18,
21 8:4,17,21
16:3 17:2,6
18:1,7 43:1,7,8,
9,13, 19 52:5
54:19 57:13,14
59:13 61:13
63:17 71:6,18
72:24 73:16
75:4 77:3,5,6
79:13 91:7
98:17,18
100:18 101:5
118:22 1719:9,
17 128:4,5
429:19 133:10
140:16,18
449:10 150:14
452:2 153:7

record's 69:11

recorded 50:9
406:5

records 15:1
50:14 54:17
69:14 85:23
88:10 105:16
108:6,8 120:4
22:11 145:20
151:11,16

recovery
{08:19

red 65:22 69:13
452:19

redacted
141:15

reduce 135:25
reduced 114:8
reduction 29:3
reals 76:17

refer 16:4 24:7
25:11 29:4 43:4
418:21 142:13

reference
44:19

referenced
36:15 98:25
407:8

referencing
100:16

referring 16:4,
6 26:9 29:12
30:23 47:21
54:19 78:1
400:13 133:17

refers 8:13,14
50:23 65:15

reflect 106:3

reflected
53:22 103:18
413:17

reflacting
134:12

reflective
116:14

reflects 133:5

refund 55:2,4,
41 95:13 96:6,
10,12 100:11,
15,20 126:10,
14,22,23 127:8,
43 133:7,8
444:23 45:12,
15 146:12

refunded
422:8 126:16

427112 144:16,
25 14711

refunds 55:14,
15,21,24 56:1
96:8,22 97:14,
15 122:6 127:4,
5,6 134:3
144:20

refused 96:8,
12 146:12
147:8

register
109:21 132:14

registered
109:19,24

regular 39:13
412:19

regularly 39:6,
15 127:19

reimburse
143:11

reimbursed
127:6 132:10
{34:15

reimbursemen
t 130:22 492:7

reimbursemen
ts 132:6 143:3,
10

related 10:10
20:23

relations
128:16

relationship
33:12 65:16
94:23 95:1
148:14

relationships
410:23,24
111:13

relative 54:12,
44 120:7

release 36:10
113:78

released 36:11

relevant

4442.17 150:23
reliance 91:20
Reliant 91:19

relied 54:2
55:25

remained
105:2 413:24

remaining
147:14

Remedy 27:2

remember 8:9
24:47 61:24
88:8 106:22
116:11 146:14

remind 8:8,19

remitted 48:9
49:22

remitting
107:13

removed
61:10 140:5,9

recrient
144:18

repaid 132:5
repeat 32:23

rephrase
413:44

report 107:7
108:13 129:20

reporter 6:2,
16,20,25 7:2,8
12:11,18,22,25
18:3,7 22:18,
22,24 24:12,16
38:7,9,15
42:20,23 43:16
54:15,20 67:14
61:21 62:1,7
75:14,19,25
94:1 98:8,18
128:5 140:17
149:7 152:9,412,
15 153:1,6

reports 43:11

repository
134:6

Keninckiana Reporters
P.O. Box 3983
Louisville, KY 40204

KENTUCKIANA

——» COURT REPORTERS -

502,589.2273 Phone
402,584,0119 Fax
schedule@kentuckianareposters.com
www. kentuckianareporters.cons

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 178 of 184. PagelD #: 619

The Deposition cf DAVID STANFILL, taken on April 13, 2022

Kentuckiana Reporters
P.0. Box 3983
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS —~

Confidential 176
represent 7:16 22 8:3,14 9:5,7, 20,23,25 134:2, returned 92:2 run 9:20 117:6
42:26 43:4 12 11:6 14:9, 11,15 137:6 132:7 134:25
1 . . t=
1St3 12,18,22 18:3 140:8,26 . returns 19:4 running 29:22
vepresentative 16:8 20:7,20 143:22 144:14, 33:99 362
p 21:20 22:4,6 19,25 145:11 reva4 77:4 “oe
7:24 15:24 16:7 52:17
30:7 30.4 73:5 23:1,8 24:9,20 146:11 148:16 98:2
83.19 108-18 28:7 27:6 29:21 149:18,22 48 13 50 Rustoleum
: 30:11 34:2,5,11 450:2,20,24 “ues 66:23
140:1 152:7 : .
33:3,8, 16,19, resell 137:2 review 14:25
represented 22,25 34:7,10 19:15 33:6 S
15:17 ,24,25 35:5,17,25 reseljing 32:8 , d
20:10,13, 15,24 36:5,12,21,24 vvati reviewe
75:12 102:16 37:9,18,25 abt 5 fon 45:21 $-C-U-R-R-Y
128:14 38:18 39:22 , reviewing 80:5 14:44
. 40:2,11,17,21 reserve 62:20 82:14 106:4 S-E-N-S-E-L
representing 44:8 42:10 104:8,11 125:25 34:24
20:14 61:6 43:12 44:6,12, "
163:13 428:11 46,18,23 45:3, residual 37:12 rework 67:21 S-H-O-A-F
represents 8,25 46:4,20 resist 151:23 REM4M 72:19 22.17
117314 124:24 47:20 48:2,15, ALE:
19.21,24 49:3, | resold 60:13 rich 87:25 aoe
reprogramma 6,8,9,12, 14,16, 147:6,9,12 right-hand .
ble 27:23 20 50:19 51:1, | resolution 06:15 safe 15:2 28:23
3,5,9,10,13 114: 29:3
reps 1466 52:16 53:4,5 6 rights 102:23
reputation 54.25 58:17 resolve 18:5 435:15 137:13 salary ots
55:10 58:2,13 60:6,7 14012 risers 72:2 494.95
reputational 85:12 82:2,9 resolved
55:22 89:4,40 84:26 112:13 127:24 | River 6:16 sale 3:16.19
85:3,9 89: 139:14 road 63:9,17 soe
request 95:13 90:5 94:22 “ 82:16 85:10,14
100:11 105:13 95:4,7 96:1,18, resonated Rocky 6:14 88:13,15 90:17
3:23 145-12, : 423:24 . .
3 Ae 12 19 99:17,23 Rodriguez 97:15 147:4
22, 100:3 101:3,17,1 resource 54-99 sales 25:6,11
requested 25 102:14,25 36:19 114:2,7 26:4 34:24
50:10.14 103:25 104-4, role 13:14 41:2, 3012 14 34:3
eA 1 OG 13,18,23 105:4 resources 22 86:5 89:17 ae
105:13 126:10 18, a4 an. 37:2 45:16,23
446-12 154.2 106:2,8,24 32:11 36:16,17 412:6 113:24 468 97-48
. , 407:14,19,20, 37:6,7,8,9, 10, 114:15 135:13 99:19 407:8.9
requestin : 12 134:3,5,7 . ' oe
ete 108:7,12,24 rolling 69:21, 108:13 116:25
ee thts respect 130:22] 22 41721 124:7
requests 55:2, : , . 424.12 125:13
11993 145-15 | [120.1618 respond 151:5/ rolls 69:18 437:9,12 146:6
: vee espon :2 :
require 53:11, 25 114:6,14,20, response 99 room 24:24 Sam &83:18,22
12 23 115:2,11,14,] rest 66:19 roughly 56:10, 84:4,20 85:12
required 46:19 29 118:3,12 138:5 11 139:7,9,10
74:13 “ee restate 149:17 round 91:15 sample 73:5
120.9 12129 99:12 104:9 78:21 80:22
requires 58:16 122:13 123:5, resulting . ‘ 81:19 82:5
we 10 125:4 103:3 route 67:9 : ,
requiring 426:12 127:13 sampling
58:22 44 128:14,20 retail 147:25 routed 48:18 72:29
rescue 136:2 loge retroactively row 116:6 sand 76:18
research 7:17, 132:19 133:2, rumors 34:17
502,589.2273 Phone

502.584.0119 Fax
schedule@kentuckianareposters.com
www. kentuckianareporters.comt

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 179 of 184. PagelD #: 620

The Deposition of DAVID STANFILL, taken on April 13, 2022

Confidential a7)
sat 16:13,16, section 57:17 separating shift 88:24 side 50:17
48,19 139:11 71:4,22 72:14, 113:20 116:5 seus 90:43 139:23
44 74:17 43414 shifting 95:14
savings 45:5 ‘ ‘ hifts 94:14 sides 50:18
scenario 144:2 sections 69:12 separation $ ‘ 139:19
‘ secure 47:9 36:12 114:2 ship 30:3 53:13 Sidney 22:15
schedule 93:8 , September 65:3 66:5,14 93:3 42-8 .
68:17 43 wo Ot 69:24 99:15,19 SOE:
security 58:18 MaaAdr {00:16 117:5 sign 43:21
scheduled 59-14 119:7.8 131:14,15 432.23
442:14 ~~ ov 133:2 145:19 ‘ signature
18 shipment 452:17
schedules seed 115:7 serial 70:19 BO-16 96:8 12 .
66:15 142143 : 74:3 ' a signed 43:18
seeking 85:10 99:16 100:17
scheduling ‘ server 70:24 {03:20 126:9 significant
19:24 segregated : 132:22 144:16 24:22 48:22
448:22 Services 146:17,19 52:9 72:22
school 21:10 37:18,21,22,24 447:8 76-9.11.44.19
Schwag 43:20, Selective 38:1,5,20,25 22,23 104:43
Q 4: 67:17 39:13,23,24 shipments 10623 109-14
Schwieg 6:13 40:6,7,16,15, 96:22 118:9 : .
74 147-29.24 sell 32:13 47:20 54:12 116:40,12,20
448:6 3 , 45:25 94:17 434:6 43.14 shipped 48:20 117:8,9 119:7,8
™ 17:14 122:7 ue 49:3,11 133:3 120:7 121:24
science 21:7, 123:22 136:25 session 72:9 449:13 22:14 124-1
16 138:18 sat 46:12,13 shipping one Iayte
scope 111:7,20 selling 33:15 51:11 117:20 1947:23 148:13 440-25 444-4
34:8 100:15 143:25 , ‘
scrap 66:7 417:24,24 Shoaf 22:17 significantly
671 425.6 4469 shading 77:25 23:4 24:1,7 407344 114:8
screen 43:5 semi-regular share 19:8 42:9 122:6 125:11
47:22 69:16 130-8 g 24:2 135:11,13 | Shoaf's 23:18 126:2
i430 somiconducto| shared 42:14 short 27:24 silicon 90:13
. r 90:13 49:9,14 62:18 31:7 88:1 117:6 121:4
screws 71:20, * 85:15 412:22 140:43 silicone 28:16,
21 send 43:12 434:4 shorthand 49
: 48:17 101:10 .
scroll 80:8 1375 153.2 shareholder 148313 similar 16:22
107:5 120:15 20:16 23:14,18, shortly 136:19 94-98 71:8
121:16 sense 8:11 17 90:11 aed , ,
scroiled 80:24 nook ero oa shareholders show 48:6 similarly 98:24
81:13 106:42 , oe 14:12,14,16,18 . ine. simple 97:20
Sensel 34:19 45:7 23:7.20 57:21,24 106:9
scrolling 66:3 55-49 ‘ ; 1441113 simply 30:5
412:25 shares 24:3 shown 116:17 59:13 60:18
sentence {24:14 104:19 105:2
scurry 17:12, 400-8 shows 12:23
43,14 13:4,14 . sharing 36:16, 420-18 . single 51:25
14:1,2,5,10,25 separate 10:16 20 114:2,7 ‘ 52:3 78:19
15:13,14 22:13, 14:20 413:13 124:10 134:8 $153305-B-GM 81:21
20,22 23:2 25:4 129:3 141:20 she'd 115:13 79:22 single- 70:21
26:24 42:9 ted $153340 79:1,5
Scurry'’s 15:4 eis +310 shelf 138:2 ou sink 65:14,15
curry’s : ro 147:9 $15340-B 70:8,10 72:2
sealing 116:4 tel Shielded O17 sinks 65:6,7,17
secondary eee ey 67:10 $15345A-DGM 67:10
93:18 ‘ 80:15

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS -~

502.589.2273 Phone
502.584.0119 Pax
schedule@kentuckianareporters.com
wie. kentuckianareporiers.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 180 of 184. PagelD #: 621

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 178
sir 21:2 43:6 slow 126:9 sorted 68:10 66:10 §1:1,3,4,5,5,8,
72:10 111:25 144315 sound 22:3 spring 22:2 9,40,12,49
Sisto 6:10,23 slowly 113:1 25:13 62:13 91:14 92:14 53:4 5.6 64:6
7:8,11,16 9:23, 82:21 106:18 SQ 8: 42564
25 12:11,16,19,, Small 30:6 d 8 58:2,13 60:6,7
23 13:2,3 22:25 36:26 53:4 sounds ee SQRL 8:6,14 3547 82-29.
34:47 38:12.16 60:42 74:12 68:23 86:1 98:8 ABT 7245 2,
19:12.29 426 127:15,16,21 148:1 83:4,10 84:25
* Peee 134:3 140:23 SQRL's 73:25 85:3,8 90:5
17,24 51:15,17, 443-40 source 30:10 94:22 95:4.6.25
21 66:13,22 81:17 137:23 squirrel 9:7 96:17,19 99:23
57:1,3,11,15 smaller 54:3,7 41:6 55:47 a ,
wis fy 100:3 101:9,17,
58:23 69:15,16 | 23 55:11 sounoedd 95:22 | 84:42 88:25 49.20,93.94
61:22,23 62:5, 432:16 , 89:1 122:13 4102:14.24
:6,14,18 : oy “oR ANd:
ape | smoothly sources 125:1|  auirrel's 103:25 104:1,5,
76:1 94-234 52:47 sourcing 76:6 54:25 99:17 7,12,43,18,20,
1 94:2,3, 24,22 105:1,2,
98:6,12,15,19, SMT 71:14 space 10:21 squirreis 7:17, 3781418
24 102:6,9,20, 78,14,
: snakes 87:16 15128 21 8:2,3,5,10, 108:2,8,24
22 110:22 speak 6:1 14,18 9:5,12 107:13,14,19,
ivaage| sostled w8/ “aietea | TESMES] maz ire
136:5.7 140-19 sob 126:21 19:21 128:19 79.10.1148 24 109:2,11,12,
9° 447:19 UT Te 13,15,16,19,25
147:23 148:3,7,| — software 10:18 19,20,22,24 110:2,3 114:15
9 149:7,9,11 24:22 26:17 speaking 18:6 15:3,5,13 16:7 112:7,9,15,16
150:13 151:8, 27:5 37:7 39:8 100:2 17:22 20:7,20 113:3,6,10,11
14,25 152:8,9, 21:20 22:1,6, 39 04 91
" 434:5,6 speaks 87:2 bo oat a8 49,21,22,24,25
sold 35:16 enecific 19:9 n4.8 9 48 3034 1744:5,6,12,14,
sit 56:19 38:20 40:6,8,10 peene oe 15,19,20,23
: 55-6 56:3. 8 28:20 29:7 35:7 25:6 26:25 415:1.2.3,7,40,
site 46:9 50.99 60:8 8 36:18 62:24 aa ° one 5 14,22 118:3,12
sits 28:17 42.24 B17 63:1 100:13 71134. ’ 1419:2,5,24
75-40.13 84:25 {08:2 135:10 41 32:25 33:3, 420-8 121:25
sitting 19:16 Te oe e: 4,7,8,11,16,17, 422:13 123:5
4479 82:4 85:3 88:8, specifically 48 19.22.25 ° Os
20 94:20 96:8 16:4 34:14 34:7.10 35:4 10 126:4
situated 98:24 99:14 100:10 126:15 130:11 13.16,04,.25. ee
: 3:3 105: . Tee. V1, t2,
situation 69:10 thas aa speculation 36:4,5,6,14,12, 14,20 129:1,6,
20 117:17 115,16,20,
439:4 9,17,20,23,25 130-1.6.10.44
124:3,8 139:1 speed 96:21 38-3. 17.18.20 10, TU a,
ize 53:1 65: . TEST, 12,13 132215,
size 53:1 65:5 146:24,25 44:13 39:1.3.4.5.45
78:18 103:24 147:21 spell 11: Fa be AO 18,19 133:2,3,
422:18 12:5 34:20 22,23,25 40:1, 45,19,20,22,23,
. solder 65:21 2,6,7,10,14,15, 434:2.11.12
’ spend 126:5 28 194-2,11,12,
skip 66:19 25 67:18 P , 17,21 41:8 15 137:6 140:6
129:44 42:10 43:11 8251415
skipped 74:25 idered 70:8 ! , ‘
PP s0 , spent 114:14 oo aasaae 4143:21 144:14,
slate 28:13 solemnly 7:3 3 45:3,8, .
y split 44:9 125:7 46:4.11.13,20 Wee sate
slay 67:22 solicited 90:16 ‘an aa 4 ‘ 18
y Hl spools 67:23 te oy oie 22 150:2,20,24
slightly 77:40 solution 70:10 he We, :
on an spot 92:18 13,14,17,18,24, 113.4
slip 8: someone's + i
p omes spray 66:12, 24 49:3,6,7,9, sarees
slips 89:14 . 23,24 Monon toe :
a 2,25 50:
m s I 1 . 1 *
slot 69:23 something spreadsheet 17 19.24 stable 148:16

Kentuckiana Reporters
P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

COURT REPORTERS

502.589.2273 Phone
$02,584,019 Fax
schedule@kenluckianareporters.com
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 181 of 184. PagelD #: 622

The Deposition of DAVID STANFILL, taken on April 13, 2022

19:25

Confidential 179
staff 40:23 47:7 statement 138:10 success 125:4 sworn 18:11
49:15 50:20,21 43:19 59:24 145:6
: : stretching sync 65:2
401124 82:3 97:12,16
100:7,14.23 409:9 successful 71:15,16
staffing 12:4 102:14 106:13 } strictly 96:10 ns 94:25 system 67:19,
stake 40:22 112:24 113:3 structure . 20,21 69:18
41:24 115:7,8 116:3 122:10 M047 successfully systems
: 123:2,5 144: , :
{29:16 144:10 structurin 36:1 26:17,18 27:2
stall 138:46 statements 494-14 g succinct 51:13 62:17
talli 90:12 51:24 95:27 . 438-14
ee 90:9, 11 103224 | struggle suffice 138:10 T
stance 92:25 104:17 109:3 114:16 128:24 .
131:9 143:24 suggest 56:20
standard 4441 struggles 89:7 hows table 93:18
8:
48:12 stating 414-40 Studio 26:23, summary tables 69:8
standing 94:7 24 38:14 .
tandpoint stations 72:13 tudy 21:4 138: tall 124:13
stan omn Stu 115
90:8 p stave 109:9 y summer 22:2 takes 71-4
, stuff 59:8 68:7 109:4 117:6 taki 17:13
Stanffll 6:17,19 steel 71:20,21 93:3 . aking 17:
7:2.18 8:22 supplied 31:2, 351 47-14
46:5 22:18 song Sub- 24:23 3 56:11 118:8
42:14 43:25 sub-cards supplier 30:22 421:7 140:13
52:4 56:5,17 stick 17:3 150:7 93:24 talk 12:42
: 3:1 : . . :
ees ete subject 43:10, suppliers 55:6 4448 57:7
a34 04.6 97.25| Sticky 136:15 15 62:12,13 417:22 137:23 82:16 83:13
98:22 102:15 stipulating 63:4,12 1517 | supplies 35:15| talked 6.21
412:24 123:3 6:22 submission 66:10 68:4 soap os “48
126:13 128:7 43:13 22 62:3 74:
430:16 150-13 | Stock 100:10, supply 26:3 128:8,23
, 147346 subpoena 35:15 81:4 talker 16:25
Stanfill's 59:3 stocking 92:25 451-7 90:12 123:18 talking 8:2
start 29:11 93:1 110:7 124:2 138:1,16 16:12,24 29:9
44:21 146:4 119:20 subsequent support 26:3 36:11 41:5,7
23:17 34:48 39-44,19 52:1 73:7 86:4
started 29:15 stood 48:25 aes : 7 {00:8 116:2
73:7 86:20 438:49 subsidiaries 34:3 37'3,7 °
oR 4" 38:19 39:13,16 127:3,9 190:26
112:8 124-11 41:17,22 16) nod
: _. store 119:24 La 21 83:12 90:19 .
432:23 137:4, subsidiary 140:9 145-2
47 144.43 story 126:21 14:2,5 i. Tallmadge
tarting 34:17 139:16 “ue B28
starting 34: : substances
38:10 84:22 straggling 18:16 oho rted tank 67:16
1439:4 {32:22 , :
substantial supporting tape 69:18
stan 29:23 straight 130:4 47:9,16,17 40:2 taped 72:15
: . . 49:11 88:13,14
traight-lin , .
state 6:3,17 fe 06:23 119:1,2, | suppose 96:2) fx TAS
24:3,14 22:49 . 18 f22:1 141:7 148:18 team 36:25
64:3 straits 92:10 | cubstantially | surprise 97:23) 97:1 146:6
stated 45:12 strange 146.4 48:16 90:14 suspect 50:13 een tort
151:2 strategy 27:16| substantive 723 127:
AG:4 e493 swear 7:4 140:12

Kentuckiana Reporters
Pt, Box 3983
Louisville, KY 40201

KENTUCKIANA

— COURT REPORTERS --~

502.589,2273 Phone
502,584,9119 Fax
schedule@kentuckianarepotters.com
www. kentuckianareporters.com

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 182 of 184. PagelD #: 623

testified 95:9

104:15 108:14

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 180
technical there'll 17:4 31:13 34:25 toad 65:22 transfer 46:15
134.4 thermal 65:4 ee od ap-3 today 7:20 ani?
technically 67:3,5 70:10,18 44:22 ABA . 9:22 16:24 transferred
15:24 thing 15:16 48-1 1,23 40:23 18:47,24 19:40, 107:19,20,22
16,19 20:6 142:1
technologies 95:13 50:13,19,22 99:19 86-22
24:26 thi 10:13 51:11 52:7 53:8 ‘ , transfers
technol ade 98:99 35 54:25 58-1 told 16:19 46:11 47:16
echnology Ee 56:10 58:1 138:1 145:25 49:24 50:22
39:8 eo emia 74:14 81:20 tom 34:18 108:22 131:18
tedious 7:25 ei 84:11 85:8,18, om oe: 141:25 142:1
62:22 63:15,23, 55:19
87:18,24 60:16] 94'68.5.9460:5| 24 914.8.21, trash 69:24,22
63:22 64:4,16 a. . 24,25 94:10,17 tongue 89:14 ,
13:24 74:22 101:12 103:10 traveling
telephone 61:25 82:8,9 104:4.5.49 toolkit 67:21 436-7
99:25 98:13 114:3 aa
4105:4 107:13 tools 73:10
telli 437:7 437:24 138.1 409-5 114:43 150-44 trays 65:25
ening Tet 139:7 144:7,12 1941525 74:15
temporary 150:12,14 146211 147:7 top 47:21 50:23 tremendous
thinking 41:21 118:6,12,24,25 top-level 11:20 115:4
ten 67:9 72:16 i 119:40 120:2
98:12 thinks 139:24 {24:5 122:7,16 topic 73 truck 93:2
lene 127-7 third-party 128:15 129:11, 144-19 true 82:4
NS Neh 55:16 15 130:11,17 topics 108:22 427:18 134:7
term 26:19 131:6 132:1,16,
93-6 419:47 thought 25:24 22 136:7,13 total 45:7 47:1 trustee 6:14
120:24 roene 0228 139:24 145:28 48:4 S410 truth 7:5,6
terminated 104:15 149:16 149:17,23 106:15 107:5
112:9,11,13 thousand 180-49 116:5 120:7,16 | tube 72:12
terms 10:11 127:9 133:24 timeframe totaling 133:15; tubes 65:21
30:8 46:26 thousands 17:15 35:11 totally 42:24 tubing 70:23
53:14 115:24 3 497% 41:7 85:22,24
74:2 127:8 7 85:22, 52:10
147:8 120:13 96:23 100:20 turn 18:6
124712 131.7 threatened 445:17 touch 22:9 46:17,20 116.1
136:12 137:13, 133:7 oo 417:14 118:16
1 threats 1996 | *meline a7 | loys tian? turned 74:19
reals Tev. 33:5 65:13 ; . urne :19,
territory 89:20] three. 88:24 89:5,6 tracking 50:22 20 123:10
test 72:12 millimeter timely 138:18 train 149:16 twirls 145:11
118:4 65:5 - 436-6 transacted

two-millimeter

throw 138:14 times 31:18 442:20 65:4
10414 106.22 thunder 65:23 42:1 109:12 . type 24:19
{20:20 129:23 429:22 134-46 transaction 32:18 34:13.24
et tied 29:19 941:16,19,20 , nn
testifying 415-19 timing 35:7 420:10 136-14 46:5 50:8 92:6
16:21 18:12 46:18 108:21 7, “ 101:11 130:8
' fight 92:18 147:3
testimony 7:4 J tips 31:3 transactions ‘
62:10 152:18 till 98:42 es 28:2
tired 48:15 45:24 108:2 YP
text 400:9 time 11:2 . 134:17 141:4,7
ae 40. 14:17,20,22 title 9:6,14 142:15,23,24 U
that'll 12:15
47:9 21:14 23:5 titles 9:9,14 transcript
there'd 54:15 24:3,6 25:22 62:42 152-40 UCL1C102
98:6 29:95 to-date 115:14 16 oo 84:8
Kentuckiana Reporters oe eeotere

P.O. Box 3983
Louisville, KY 40201

KENTUCKIANA

woe COURT REPORTERS

schedule@kentuckianareporers.com
www. kentucktanareporiers.con

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 183 of 184. PagelD #: 624

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 181
Uh-huh 17:2 unregulated 42:12 43:12 66:23 67:1,4 works 57:10
Uh-uh 17:2 grat Ventures 27:2 ways 81:24 126.18 1465
: . Unshielded : / nan. world 10:13
ultimate 31:24 67-6 verify 118:4 web 37:6 39:10 31:93 74:12
ultimately . version 27:21, website 86:24 94:19
34:24 122:3,7 upbeat 92:14 24 61:9,10,11 113:19 122:5
137:1 138:18 upfront 7:24 65:10,12,13 , \
146:16 147:8,9 63:11,12 90:2 week 142:2 worth 74:1
. video i7:1 78:5 82:8
448:6 : weeks 35:9
umbrella 45:5, 24:24 id’
10 25:4 upgraded whichever wouwreys
, 65:11.13.18 view 33:11 4148:24 20:24 35:9,11
unclear 72:18 coe 62:25 140:1 . 48:13 49:7,19
ups 19:7 451:18 white 69:21 §3:3,23 55:2,25
uncommon 65:12,17 68:10
132:9 144:8 upside 124:12 viewed 32:14 wholesale 78:13.44 88:14
underlying upstream 109:8 119:4 118-1 89:6 94:24
34:2 103:10 53:15 55:6 viewing wholly 10:16 101:15 104:6,
106:2 {09:7 147:22 122:1 {01:11 44:4 77:8 22 105:8 120:6
: 24:3 : : . 422:21 127:4,3,
128:20 1 4 (23:21 viny! 70:22 wildly 118:15 .
137:24 12 431:19
nderstand wire 46:11,15 : :
weet 17.20 28 utilized 46:6 volume 30:2,7 ATAT 144:25 442:8,14,20
48-10 20 40-13 32:16 34:3 442:6,8,16,20 143:1,3,12,15
5 ta 46 46:24 47:1,5 143:15 144:2 146:24 147213
44:7 61:3,15 Vv toa 4
76:25 79:12 . , Wired 66:2 wrapped 148:3
151:8 values 126:6 volumes 146:5 104:10 write 28:4
understanding} = yariance 53:14 wires 141:24 write-down
16:23 18:23,25 W . 422:8 126-1
52:10 74:15,23,|  Vaties 116:6 eee Shee.
25 83:25 varlety 39:6 W-2. 26:8,10,16, : write-downs
110:18 70:18 130:21 22,25 27:1,3,6,| withheld 105:8 124:21
understands 131:3 7 29:9 112:15, wood 66:15 writing 39:9
135:2,3 19115:4 137:9
vary 53:8 aaa. word 11:20
understood vast 10:9 53:23 wait 118:7 61:5 108:10 wrong 1714:4
16:9 17:26 64:8 74:23 waive 152:17, 114-1 139:18 143:6
undertake 75:12 81:22,23 24 words 35:21
430:23 . . .
unhappy 26:4 32:9 49:18) work 24:12
114:13 vendor 53:10 46:44 83:13 24:19 48:19 X2g 69:24
65:22 66:1 97:2 99:1 : .. vn
unique 124:11 FAQ TIAA 51:4,5 63:15 Xilinx 30:24
: warehouse 96:9 110:2,4 34:3,6 32:5
units 28:4 30:6 94:17 97:4 48:21 49:12 11416 115:22 33:2 34:18
78:3 88:9 137:7 99:18 122:1,20 94:14,16,17
123:21 134:3 warehouses worked 26:5,9, 444-1419
University 132:24 133:1 49:3 17 29:24 a4
21:3 1416 418:18 448:1,12,17,24,
‘ warehousing 25 146:1,5,9
unopened vendors 30:18 48:25 worker 26:10 148:10
72:42 . .
A Oia. warned 136:13 working 25:16
unrefunded (Pou 29:11 30:14 Y
Veneman water 56:7 112:46 year 51:2

Kentuckiana Reporters
P.O. Box 3984
Louisville, KY 40201

KENTUCKIANA

—— COURT REPORTERS,

502,589,2273 Phone
592.584.0119 Fax
schedule@@kentuckianareporters.com
www. kentuckianareporters.con:

Case: 5:22-cv-01454-CEH Doc #: 58-4 Filed: 03/03/25 184 of 184. PagelD #: 625

The Deposition of DAVID STANFILL, taken on April 13, 2022
Confidential 182

106:6,10
115:22 123:2,5,
9,10 124:22
125:2,5,12,18,
at

years 29:16
36:7 118:17

yesterday
43:2 57:19

Yup 42:23

Zz

Zoom 1214:47
Zurn 20:5

, $02,589,2273 Phone
Kentuckiana Reporters 502,584,0119 Fax

. P.O. Box 3083 er te schedule@kentuckianareponters.com
Ouse, KENTUCKIANA winw.Kentucklanareporters.com
— COURT REPORTERS ~~

